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      1              UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF OHIO
      2                    EASTERN DIVISION
      3    IN RE: NATIONAL             )    MDL No. 2804
           PRESCRIPTION OPIATE         )
      4    LITIGATION                  )    Case No.
                                       )    1:17-MD-2804
      5                                )
           THIS DOCUMENT RELATES TO    )    Hon. Dan A.
      6    ALL CASES                   )    Polster
                                       )
      7
      8
      9                              __ __ __
     10                        Monday, May 13, 2019
                                    __ __ __
     11
               HIGHLY CONFIDENTIAL - SUBJECT TO FURTHER
     12                 CONFIDENTIALITY REVIEW
                               __ __ __
     13
     14
     15
     16           Videotaped Deposition of JAMES E.
            RAFALSKI, held at Weitz & Luxenburg PC, 3011
     17     West Grand Avenue, Suite 2150, Detroit,
            Michigan, commencing at 9:20 a.m., on the
     18     above date, before Michael E. Miller, Fellow
            of the Academy of Professional Reporters,
     19     Registered Diplomate Reporter, Certified
            Realtime Reporter and Notary Public.
     20
     21
     22
                                        __ __ __
     23
                          GOLKOW LITIGATION SERVICES
     24                877.370.3377 ph | fax 917.591.5672
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     25

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     1   A P P E A R A N C E S:                           1   A P P E A R A N C E S:
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     2     MARCUS & SHAPIRA LLP                    2
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     6                                             6
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     1   A P P E A R A N C E S:                    1              DEPOSITION EXHIBITS
     2     FOX ROTHSCHILD LLP                                      JAMES E. RAFALSKI
           BY: STEPHAN A. CORNELL, ESQUIRE
                                                   2                May 13, 2019
     3
                                                   3   NUMBER              DESCRIPTION        PAGE
              scornell@foxrothschild.com           4   Rafalski-1 9/30/96 Zimmerman Letter       78
              (via teleconference)                              ABDCMDL00215791 -
     4     2700 Kelly Road                         5            ABDCMDL00315794
           Suite 300
                                                   6   Rafalski-2 10/29/96 Gitchel Letter,   90
     5
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           Warrington, Pennsylvania 18976          7            ABDCMDL00315790
           (215) 345-7500                          8   Rafalski-3 7/23/98 Good Letter,      109
     6     Counsel for Prescription Supply Inc.                 ABDCMDL00315783
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     7
     8
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           MORGAN LEWIS & BOCKIUS LLP             10            Letter, ABDCMDL00269685 -
           BY: CAROLYN A. SILANE, ESQUIRE                       ABDCMDL00269694
     9                                            11
              carolyn.silane@morganlewis.com           Rafalski-5 2/6/18 Nicholson Letter,   141
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    10     101 Park Avenue                                      MCKMDL00561147
                                                  13
           New York, New York 10178                    Rafalski-6 5/10/19 GAO Publication      147
    11     (212) 309-6000                         14            on Prescription Drugs
           Counsel for Rite Aid                                 [No Bates]
    12                                            15
    13   VIDEOGRAPHER:                                 Rafalski-7 10/25/04 CSRA Memo            216
    14      David Lane,
                                                  16            w/Attachment(s),
                                                                ABDCMDL00315829 -
            Golkow Litigation Services            17            ABDCMDL00315861
    15                                            18   Rafalski-8 McCarty Memo to Mays          219
    16                                                          w/Attachment(s),
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    19                                                 Rafalski-9 9/11-12/07 Meeting        235
    20                                            21            Agenda, DEA Diversion
    21                                                          Control Division
    22
                                                  22            [No Bates]
                                                  23   Rafalski-10 10/98 Report to the U.S.  246
    23                                                          Attorney General,
    24                                            24            CAH_HOUSE-002207 -
    25                                                          CAH_HOUSE-002298
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     1          DEPOSITION EXHIBITS                          1   requested Touhy clearance on before
     2
                                                             2   disclosing some of their expert
         Rafalski-11 Ingredient Limit Report, 261
     3            CAH_MDL_PRIOROD_DEA07_01465435 -           3   reports.
                  CAH_MDL_PRIOROD_DEA07_01465712             4
     4                                                                I've been asked to remind that
         Rafalski-12 Regulatory Agency Contact 277           5   the DEA wasn't noticed of this depo,
     5            Sheet,                                     6
                  CAH_MDL_PRIOROD_DEA07_00868973                 even though he's a former agent, by
     6                                                       7   the defense. They weren't necessarily
         Rafalski-13 Declaration of Michael A. 299  8
     7            Mon?,                                          happy with that. They asked for
                  CAH_MDL_PRIOROD_DEA12_00014053 - 9             everybody to comply with the Touhy
     8            CAH_MDL_PRIOROD_DEA12_00014081 10
     9   Rafalski-14 1/10/08 Brantley Memo     307               authorization, which, similar to the
                  w/Attachment(s),                 11            other authorizations in this case,
    10            CAH_MDL2804_00000606 -
                  CAH_MDL2804_00000618             12            allows the witness to testify to --
    11                                                      13
         Rafalski-15 Rafalski Expert Report    338               well, a little different with Rafalski
    12                                                      14   because he's reviewed a lot of the
         Rafalski-16 Witness' Copy of Rafalski  338         15   documents produced by all the
    13            Expert Report
    14   Rafalski-17 Henry Schein SOP,         397          16   defendants, testified from the
                  HSI-MDL-00404226 -                        17   discovery produced in this case and
    15            HSI-MDL-00404228
    16   Rafalski-18 7/17/12 Rausch Memo         314        18   anything nonprivileged as set out in
                  w/Attachment(s),                          19
    17            CAH_MDL2804_00000204 -                         the Touhy authorization.
                  CAH_MDL2804_00000219                      20        MR. NICHOLAS: Okay. There's
    18                                                      21
    19                                                           too many things to argue about in this
    20                                                      22   case to get into a big argument --
    21                                                      23
    22                                                                MR. FULLER: Sure, sure.
    23                                                      24        MR. NICHOLAS: -- but I will
    24
                                                            25   just say that he's your retained
    25

                                                  Page 11                                         Page 13
     1               PROCEEDINGS                             1   expert. You've had this letter for a
     2            (May 13, 2019 at 9:20 a.m.)                2   month; you're just giving it to us
     3            (The following proceedings were            3   today.
     4       conducted off the videotaped record.)           4        So I don't get the part where
     5            MR. NICHOLAS: Before we get                5   the DEA -- if the DEA is unhappy,
     6       started, Mr. Fuller, counsel for                6   maybe they're unhappy with you guys,
     7       plaintiffs, just handed me a Touhy              7   but they shouldn't be unhappy with us
     8       authorization letter that's dated               8   because he's your person.
     9       April 12th of 2019. This is the first           9        But like I said, we don't need
    10       we've seen it. I'm going to proceed            10   to spend any more time on it.
    11       with the deposition.                           11        THE VIDEOGRAPHER: Ready to
    12            I will reserve our right to               12   begin?
    13       come back if there's anything about            13        MR. NICHOLAS: I am.
    14       our receipt of this or something in            14        (Whereupon the videotaped
    15       the letter that requires us to come            15   record begins.)
    16       back and ask more questions since              16        THE VIDEOGRAPHER: We're now on
    17       we're seeing it for the first time,            17   the record. My name is David Lane,
    18       and that's what I wanted to say.               18   videographer for Golkow Litigation
    19            MR. FULLER: Sure. And we'll               19   Services. Today's date is May 13th,
    20       put on the record that as everyone             20   2019. Our time is 9:22 a.m.
    21       here knows, Mr. Rafalski is a former           21        This deposition is taking place
    22       DEA agent, therefore Touhy                     22   in Detroit, Michigan in the matter of
    23       authorization would have to be                 23   National Prescription Opiate
    24       obtained, similarly to the 20 former           24   Litigation. Our deponent today is
    25       DEA employees that the defendants              25   James E. Rafalski.

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     1            Counsel will be noted on the            1        A. Could I make a little
     2        stenographic record. Our court              2   correction to that?
     3        reporter is Mike Miller, and he will        3        Q. Sure, of course.
     4        now swear in the witness.                   4        A. So when I first started, it was
     5            JAMES E. RAFALSKI,                      5   at a $200 rate. And then at some point I was
     6           having been duly sworn,                  6   approached and it increased to 300. So my
     7           testified as follows:                    7   initial rate was at $200 an hour.
     8               EXAMINATION                          8        Q. When did you start?
     9   BY MR. NICHOLAS:                                 9        A. August of 2017, I signed my
    10        Q. Good morning, Mr. Rafalski. My          10   retainer.
    11   name is Bob Nicholas. I represent               11        Q. Okay. And so your August 2017
    12   AmerisourceBergen. I'm here to ask you          12   retainer had a rate of $200 an hour?
    13   questions in connection with the MDL opioid     13        A. Yes, sir.
    14   litigation and specifically the Track 1 and     14        Q. And how long was that your
    15   Track 2 -- just the Track 1 cases that are      15   rate?
    16   currently scheduled to go to trial in           16        A. Until -- I believe it was
    17   October.                                        17   October of 2018.
    18        A. Good morning, sir.                      18        Q. Okay.
    19        Q. Good morning.                           19        A. Either August or October of
    20            You are here as a retained             20   2018.
    21   expert on behalf of the Track 1 plaintiffs in   21        Q. And you said you were
    22   this case; is that right?                       22   approached. What do you mean -- who
    23        A. Yes, sir, I am.                         23   approached you?
    24        Q. Okay. And you are being paid            24        A. Well, in discussions with one
    25   for your time?                                  25   of the attorneys, my original retainer
                                               Page 15                                             Page 17
     1       A. Yes, sir, I am.                           1   expired and we had some conversations about
     2       Q. Tell me what you're being paid            2   my rate. It came to my attention that other
     3   in terms of just what's your rate?               3   experts of at least equal skill were
     4       A. $300 an hour.                             4   receiving $300 an hour, so when I brought
     5       Q. Okay. And is that for                     5   that topic up, there was an agreement to pay
     6   everything you do or is that for -- just for     6   me $300 an hour.
     7   reviewing papers and in connection with your     7       Q. Okay. So it was in the form of
     8   report?                                          8   a negotiation; is that right?
     9       A. It's for everything I do.                 9       A. Well, I guess you could
    10       Q. So are you -- you're not being           10   consider that. It was more of a
    11   paid a different rate to testify?               11   conversation, came up in conversation so
    12       A. Yes, sir.                                12   there was no need to negotiate. It was just
    13       Q. You are being paid a different           13   agreed upon when it was brought up.
    14   rate to testify?                                14       Q. Okay. I'm going to get back to
    15       A. Yes, for my deposition, or for           15   the work you've done in a second, but let me
    16   this deposition today, it's at $500 an hour.    16   just ask you just a couple of basic questions
    17       Q. Okay. And if there's a trial             17   about yourself.
    18   and you testify at the trial, that would be     18            You were a police officer for a
    19   at $500 an hour?                                19   number of years, right?
    20       A. That's never been discussed, so          20       A. Yes, sir.
    21   I don't know what rate that would be.           21       Q. Okay. How many years?
    22       Q. Okay. Might be higher?                   22       A. 27 total with two different
    23       A. I would guess it at least will           23   police departments, police agencies.
    24   be $500 an hour.                                24       Q. Okay. Which were the police
    25       Q. Sure. Tell me, if you could --           25   agencies?
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     1       A. The first one was the Wayne               1      Q.      Okay.
     2   County Sheriff's Department, 1976 to 1981,       2      A.      Sorry.
     3   and I left employment at the Wayne County        3      Q.      It's okay. 2004 to 2017.
     4   Sheriff's Department, which would be in          4             Now, during the time that you
     5   Detroit, Michigan, all of Wayne County,          5   were at the DEA, what was your position?
     6   that's where we're at today. And then I          6        A. Diversion investigator.
     7   moved to Romulus Police Department, which is     7        Q. Okay. Did that job ever
     8   Romulus, Michigan. That's the community          8   change?
     9   where probably most everyone flew in. It's       9        A. My title, no, sir.
    10   around the Detroit Metropolitan Airport.        10        Q. Your title, yeah.
    11       Q. Okay. So 27 years as a police            11        A. No, sir.
    12   officer, right?                                 12        Q. Okay. And in 2017, did you
    13       A. Yes, sir.                                13   retire, full-time retire or what?
    14       Q. Okay. And then you joined the            14        A. Yes, sir, that was my
    15   DEA; is that correct?                           15   intention.
    16       A. At some point. I retired in              16        Q. Okay. But then you got this
    17   2002. I did not join the DEA until 2004.        17   thing?
    18       Q. What happened in those two               18        A. Yes, sir.
    19   years? Just retirement?                         19        Q. Okay. Now, just so I know a
    20       A. No, I kind of had an aspiration          20   few more things, you are not -- let me start
    21   to be a teacher, so I started to do some        21   again.
    22   teaching. I got a vocational certification,     22             Have you ever been certified as
    23   and I was a teacher with -- I did some          23   an expert witness in a case before?
    24   substitute teaching and some baseball           24        A. I have not been certified
    25   coaching with the Romulus school district,      25   before, no, sir.
                                              Page 19                                                Page 21
     1   and then I did vocational certification with     1       Q. Have you ever served as an
     2   the Livonia Public Schools and I taught there    2   expert witness on a consulting basis before?
     3   for one year before leaving for the DEA.         3       A. No, sir, I have never served as
     4       Q. What did you teach?                       4   an expert in the capacity of a consultant.
     5       A. I was called a shared time                5       Q. Okay. Have you ever written
     6   teacher. So in Michigan, property owners pay     6   any articles that were published?
     7   property taxes which fund the public schools,    7       A. No, sir.
     8   while private schools are tuition based. So      8       Q. Have you ever written anything
     9   there was some kind of decision, and I don't     9   of any kind that was published?
    10   know the law or the legality of it, but -- I    10       A. As a police officer, I wrote an
    11   shouldn't say legality, but what caused it.     11   article at the request of the Detroit News.
    12            So then public school teachers         12   It was in regards to the effectiveness of the
    13   would go into private schools and instruct      13   DARE program.
    14   private students, mostly religious schools,     14       Q. Okay. So you wrote something
    15   faith-based schools. So I taught computers,     15   for the Detroit -- is it the Detroit News?
    16   some mathematics and some physical education.   16       A. Detroit News, it's the
    17       Q. Okay. And after a couple of              17   publication.
    18   years of that, you joined the DEA; is that      18       Q. Did that used to be the Detroit
    19   correct?                                        19   Free Press or is that a different paper?
    20       A. Yes, sir.                                20       A. Different paper. Still two
    21       Q. And you were with the DEA from           21   papers in Detroit.
    22   when to when?                                   22       Q. Okay. Was that like an op-ed,
    23       A. 2014 until June 2017.                    23   like an editorial kind of thing?
    24       Q. 2014 or 2004?                            24       A. Sure. They published two, I
    25       A. 2004.                                    25   guess, opinions, a pro and a con opinion.
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     1   Mine was the pro opinion of DARE, and there      1   and the guidelines of what information would
     2   was a side-by-side con opinion of the            2   be required. It was around that time when I
     3   effectiveness of that program.                   3   had a pretty clear understanding of what I
     4        Q. Okay. So you wrote that. Is              4   would give an opinion on.
     5   there anything else you've ever written          5             When I first started I was more
     6   that's been published?                           6   of a consultant than an expert witness, so,
     7        A. Not that I'm aware of, not that          7   you know, I wasn't exactly sure what I was
     8   I gave any authorization for, no, sir.           8   going to be asked to give an expert opinion
     9        Q. Okay. Have you -- and this is            9   on.
    10   pretty obvious, but you're not an attorney;     10        Q. So until the fall of 2018, is
    11   is that correct?                                11   it correct that you were working as a
    12        A. Not an attorney, no, sir.               12   consultant for the plaintiffs in this case?
    13        Q. So in giving your opinions              13        A. Well --
    14   today, you're not trying to give legal          14        Q. Starting in 2017.
    15   opinions; is that right?                        15        A. -- I guess that would be my
    16        A. Well, the opinion I'm trying to         16   capacity. I didn't do any testifying, so I
    17   give is based on my training and experience     17   guess I wouldn't be considered an expert
    18   and my knowledge of the law and the             18   witness. I don't know that there was a
    19   regulations that are required to be adhered     19   capacity at that time, so I think that's a
    20   to by the companies. I'm not publishing a       20   fair statement.
    21   legal opinion as an attorney.                   21        Q. But did you work -- did you put
    22        Q. Well, what I'm asking you is            22   work into this case from the time you were
    23   whether you -- are you offering today or in     23   retained in 2017 up until 2018 when you
    24   your report a legal -- a legal conclusion?      24   started working on the report?
    25        A. I think, yes, I am.                     25        A. I would say yes, but it would
                                              Page 23                                              Page 25
     1       Q. Okay. Let me ask you a little             1   be a different kind of work because obviously
     2   about the work you've done in connection with    2   when the discovery came in and the records
     3   this report.                                     3   were available and the depositions began,
     4            First of all, the report is 180         4   then there was a different kind of
     5   pages, I believe.                                5   information. But there was always a little
     6       A. It is, sir.                               6   bit of a process because I knew at some point
     7       Q. Did you write it?                         7   I was going to be potentially asked to
     8       A. Yes, sir.                                 8   publish an opinion.
     9       Q. Okay. You wrote it yourself or            9       Q. Okay. Do you know how many
    10   did you write it with help?                     10   hours you spent or how many days or how many
    11       A. I wrote it with help.                    11   weeks you spent working on the case
    12       Q. Okay. How much time did you              12   from two-thousand-and -- let's say from the
    13   spend preparing your report?                    13   time you were retained in 2017 until the fall
    14       A. Well, I didn't keep track if             14   of 2018?
    15   you're going to ask me the exact hours, but I   15       A. Somewhere a little below or
    16   would say a considerable amount of time. It     16   above 400 hours.
    17   pretty much consumed me.                        17       Q. Okay. And that takes you up to
    18       Q. When did you start working on            18   the fall of 2018, right?
    19   the report?                                     19       A. That takes me today.
    20       A. Well, probably in the fall of            20       Q. I see. So you spent about
    21   2018, I started having discussions about the    21   400 hours from the beginning of being
    22   type of documents and records that I would      22   retained until today working on this matter?
    23   need, some of the topics in potential           23       A. Yes, sir.
    24   depositions, questions I would need to          24       Q. Okay.
    25   answer. So I started to give the framework      25       A. I'd like to add that I'm

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     1   probably not as diligent on my billing as I      1   either -- not dismiss them, but review them
     2   should be. I know some people might bill for     2   and either incorporate them or not
     3   every minute. I don't do that, so -- but         3   incorporate them in my report.
     4   that would be an accurate amount of time that    4       Q. When you say people would
     5   I -- at least that I submitted for billing.      5   review things and send them to you, are you
     6        Q. Okay.                                    6   talking about the plaintiffs' attorneys?
     7        A. I probably spent more than               7       A. Yes, sir.
     8   400 hours on the project.                        8       Q. Okay.
     9        Q. So do you know how much in               9       A. Only the -- well, let me
    10   terms of dollars you have submitted for         10   correct that.
    11   billing?                                        11            My communications would flow
    12        A. Well, 101,000 and a little over         12   through just a couple of specific attorneys,
    13   that.                                           13   and they would come back from them. So I
    14        Q. Okay. Tell me how you made --           14   don't know if they were attorneys or legal
    15   tell me how you obtained the materials you      15   aides or -- I don't know exactly who would
    16   needed to prepare your report?                  16   draft some of the information I would review.
    17        A. Both in -- mostly in verbal             17       Q. What were the name -- who were
    18   requests and discussions. I think there were    18   you dealing with?
    19   some -- I crafted some e-mails, which had       19       A. Mr. Fuller, Mr. Elkins, and for
    20   specific types of documents that I would need   20   a period of time a Laura Baughman. I think
    21   and submitted them to the attorneys. That       21   she left her law firm. So those were
    22   started a discussion on the types of            22   primarily the three people.
    23   documents I'd need to review.                   23       Q. Okay. Did you have anyone else
    24        Q. Okay. And how did -- if you             24   assisting you with this report?
    25   don't mind my asking, how did you know what     25       A. No, sir.
                                               Page 27                                              Page 29
     1   to ask for? There are millions of documents      1        Q. Who typed the report?
     2   in this case and many, many depositions. How     2        A. I typed it.
     3   did you know what to request?                    3        Q. Now, you said that they
     4       A. Based on my experience in                 4   would -- that Mr. Fuller and Ms. Baughman and
     5   conducting similar type of investigations of     5   Mister -- I'm sorry --
     6   both distributors and manufacturers, I had a     6        A. Elkins.
     7   pretty good idea of the type of records and      7        Q. -- Elkins, who I guess is
     8   documents or questions I would need answered     8   sitting next to Mr. Fuller?
     9   to formulate an opinion.                         9        A. He is.
    10            Certainly there were things            10             MR. NICHOLAS: Hello,
    11   that -- documents that were submitted or        11        Mr. Elkins.
    12   deposition answers or questions that I hadn't   12             MR: ELKINS: Good morning.
    13   thought of, but they also became available to   13   BY MR. NICHOLAS:
    14   me.                                             14        Q. Would send you drafts of things
    15       Q. How did they become available            15   and you would review them. What do you mean?
    16   to you?                                         16   Did they send you drafts of portions of the
    17       A. Well, in drafting my report,             17   report?
    18   there would be certain topics regarding the     18        A. Sure. There may be a section
    19   maintenance of effective controls, suspicious   19   of the report, maybe a policy, or there may
    20   order systems. People would also assist me      20   be some specific documents that they would
    21   in reviewing the documents and they would       21   give an evaluation of or at least describe
    22   find articles or statements or policies that    22   it, and I would review it and make edits,
    23   would be brought forward to my attention,       23   corrections, deletions and either incorporate
    24   sometimes with a written explanation or draft   24   it into my report or not incorporate it in my
    25   explanation, and I'd review those and           25   report.

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     1       Q. And is it fair to say that                1   well, so you have not reviewed all the
     2   that's how the report was written, that the      2   documents that have been produced in
     3   plaintiffs' lawyers sent you draft sections,     3   discovery, right?
     4   you would review them and revise them as you     4       A. No, that would be impossible.
     5   saw fit, and that is how the report came to      5       Q. Right. Do you know whether
     6   be?                                              6   you've reviewed the most important documents
     7       A. I wouldn't say that's an                  7   in the case?
     8   accurate statement. I mean, I wrote the          8       A. I believe I have with the
     9   report, it's my report. I put pen to paper.      9   assistance I was provided, being I gave the
    10   There may be sections in here that I            10   guidelines of the type of documents I wanted
    11   incorporated, but every section would have      11   to be provided or reviewed. And I'm -- I'm
    12   been edited, drafted, corrected or reviewed     12   fairly confident -- I'm very confident that
    13   by me.                                          13   I've got enough information to make this
    14       Q. Right.                                   14   opinion, and I'm sure that if I've missed
    15       A. So there's no sections in here           15   some documents, I'm going to hear about it in
    16   that I just plugged in that someone else        16   the next two days.
    17   wrote. It's all my work product.                17       Q. Who -- who made -- who sent you
    18       Q. Which -- roughly, okay? Can              18   the documents? The plaintiffs' lawyers?
    19   you tell me how -- what percentage of this      19       A. Yes.
    20   report started with a first draft from the      20       Q. Okay.
    21   plaintiffs versus a first draft from you?       21       A. Primarily Mr. Elkins.
    22       A. I'm not really sure how to               22       Q. Okay. So, for example, if
    23   answer that. Are you looking for like a         23   there were -- I don't know how many
    24   percent or --                                   24   depositions have been taken in the case, but
    25       Q. I don't know. Number of pages.           25   there have been many, many depositions.
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     1   You know, how much of this 180-page report,      1            How did you know -- how did you
     2   how many pages -- for how many pages did you     2   know which ones to ask for, which transcripts
     3   write the first draft and how many pages did     3   to ask for?
     4   the plaintiffs write the first draft?            4       A. Well, at the beginning I
     5       A. Well, I'm unsure of how to give           5   started to read them, and I realized that it
     6   you a number, because I really didn't -- it      6   was impossible for me to read and take notes,
     7   wasn't a kind of draft where I knew exactly      7   so I read a couple at the beginning which, by
     8   how many pages the first time. It was            8   probably more luck than anything because they
     9   substantial at the beginning, I would say        9   just started to come to me in writing, not
    10   around the 100-page mark, and then as more      10   electronic, I read some depositions that were
    11   records were found, more documents, as the      11   key to the discovery -- I mean key to the
    12   report was written, one section would trigger   12   investigation.
    13   an analysis that would lead to another          13            At a later point, attorneys
    14   section and it would probably be a lot          14   obviously would know based on the type of
    15   thicker if I would have had the ability to      15   questions I wanted answered and the positions
    16   work around the clock and stay up all night     16   of the people who were being deposed that
    17   because it's -- you know, it's a complex        17   some depositions were more crucial than
    18   matter.                                         18   others.
    19            There's numerous companies,            19       Q. So the attorneys made the
    20   millions and millions of documents. I by no     20   decisions as to which of the depositions you
    21   means am trying to represent to you or the      21   should review, right?
    22   court that I've read every document in          22       A. I don't know if they made the
    23   regards to the discovery because I don't        23   decisions. I think they pointed me to
    24   think that's physically possible.               24   depositions where they thought there was
    25       Q. Do you know whether you --               25   content that would be important to me, and I

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     1   would review those sections of those             1        A. No, sir. I did prepare a list
     2   depositions.                                     2   of documents that I utilized and provided it
     3        Q. Okay. So just by way of                  3   to the attorneys at their request.
     4   example, do you know who Kyle Wright is?         4        Q. Okay. So there are documents
     5        A. I am -- I do. Yes, sir.                  5   that you reviewed for this report, and right
     6        Q. Okay. Did you read his                   6   now we don't know what they are because you
     7   deposition?                                      7   haven't identified them. That's all I want
     8        A. I believe I read a portion of            8   to know.
     9   it. I didn't read the entire deposition.         9        A. That's a true statement. There
    10        Q. Because I don't think your              10   were probably some depositions that I took or
    11   report reflects that you've reviewed his        11   some records -- not every record I looked at
    12   deposition. That's why I'm asking.              12   is documented in this report. There's
    13        A. I'm not sure that he had any            13   multiple, multiple depositions. There's
    14   information in his deposition I would have      14   5 million documents. I was never instructed
    15   used, but I did review -- I didn't review his   15   as a witness that I had to keep a laundry
    16   entire deposition, but I do recall that I did   16   list of everything I looked at or everything
    17   review some of it, yes, sir.                    17   I reviewed.
    18        Q. If you reviewed his deposition,         18        Q. Did you find anything in
    19   is there a particular reason why you didn't     19   your --
    20   say in your report that you reviewed his        20            MR. FULLER: Form to the last
    21   deposition? Was it just an oversight?           21        question.
    22        A. I don't know that I would be            22            MR. NICHOLAS: Say again.
    23   required to put that in my expert report,       23            MR. FULLER: Form to the last
    24   whether or not -- I reviewed a lot of           24        question. Counsel, you stated that --
    25   depositions and not all of them are --          25            MR. NICHOLAS: It's okay. You
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     1   there's no notation that that occurred in        1       made your objection.
     2   this report.                                     2            MR. FULLER: No. You stated
     3       Q. Well, I think we need to know             3       that there are documents in here that
     4   everything you reviewed in order to be able      4       he reviewed related to his report. I
     5   to ask you questions about your report, so if    5       think the testimony is that he
     6   there are -- are you saying there are things     6       reviewed documents but they didn't
     7   that you reviewed in connection with this        7       impact his report.
     8   report that you didn't identify as having        8            MR. NICHOLAS: They didn't
     9   reviewed? Kyle Wright's deposition is one        9       impact your report.
    10   example. Are there others?                      10   BY MR. NICHOLAS:
    11       A. Well, recently I reviewed a              11       Q. In your review of all of these
    12   portion of Thomas Prevoznik's deposition.       12   documents and all these depositions that you
    13   I'm sure there are some other depositions       13   read, did you find anything in any of them
    14   that I reviewed that aren't cited in my         14   that was in any way favorable to any of the
    15   report. Possibly those individuals didn't       15   defendants in the case?
    16   have any information that would have provided   16       A. There were a couple of things
    17   me with any guidance in my opinion.             17   that I thought were -- I wouldn't say
    18            For example, I recall reading          18   favorable. That I thought were a positive
    19   one on a sales personnel. Might have been       19   measure by the companies.
    20   from AmerisourceBergen or Cardinal, and         20       Q. Did you reference those in your
    21   really, there was nothing relative to that      21   report?
    22   that would help me make my expert opinion in    22       A. Both of the things that I'm
    23   regards to the conduct of that company.         23   thinking of happened right at -- the timeline
    24       Q. So you didn't identify that in           24   would have been right near the end of the
    25   your report as something you read?              25   2013 -- or, I mean, sorry, one was right
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     1   before 2017, and the other one was with a        1   knowledge how the system would work or
     2   company and right about when they were making    2   whether it was utilized.
     3   those changes, they gave up their authority      3             So it wasn't just -- just so
     4   or their distribution of controlled              4   I'm clear, I wasn't being spoon-fed just
     5   substances, so I did not make comment on         5   particular documents. I just want to make it
     6   that. It didn't impact their conduct during      6   clear to the court and to the judge that I
     7   the timeline of my report.                       7   couldn't physically look at every document.
     8       Q. That's one. What was the other            8        Q. How many documents did you
     9   one?                                             9   review, do you know?
    10       A. Well, there's two. One was               10        A. Well, no, I have no idea.
    11   right near the end of -- in 2017, they were     11   Extensive.
    12   making some changes to their suspicious order   12        Q. Okay. Did you speak with
    13   monitoring system that I thought were pretty    13   plaintiffs' lawyers in connection with
    14   positive and significant, but it was right at   14   drafting this report?
    15   the very end of the timeline. That was one      15        A. Could you explain that
    16   company. That would have been McKesson.         16   question?
    17            And then CVS made some changes         17        Q. Did you talk to Mr. Fuller or
    18   right near the end of the time they handled     18   Mr. Elkins or Ms. Baughman about the content
    19   controlled substances. I think it was around    19   of the report?
    20   2000 -- I don't want to say a date. I want      20        A. I think there was some general
    21   to check my report. I don't want to be          21   conversation, just -- just not what to write,
    22   inaccurate. But at some point they just gave    22   but I've never written an expert opinion,
    23   up distributing controlled substances, and it   23   report before, so obviously I needed a little
    24   was right near that time period.                24   bit of guidance on how it would flow. So how
    25       Q. Are these two facts in your --           25   it's laid out, the beginning with my
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     1       A. No, sir.                                  1   experience, somehow how it's divided by
     2       Q. You didn't put those in your              2   company. I mean, some of the general
     3   report?                                          3   formatting, you know, that I had to come to
     4       A. No, sir.                                  4   some conclusions.
     5       Q. Other than those two things, is           5            I was told what topics that I
     6   there anything that you reviewed in all of       6   would be expected to give an opinion on. I
     7   the documents that was in any way positive or    7   was also told to stay within the guidelines
     8   favorable to any of these 12 defendants?         8   of those opinions, not to, you know, get into
     9       A. I would have to say, sir, in              9   topics that were outside of that, those -- my
    10   looking at all the records, in the records      10   opinions.
    11   that I asked for -- and I'm going to restate,   11       Q. And what topics were you told
    12   I didn't read all 5 or 6 million documents      12   to give an opinion on?
    13   that were provided. The documents that I        13       A. Maintenance of effective
    14   reviewed or that were provided to me, I would   14   controls to prevent diversion, which is both
    15   have to say no.                                 15   in the law and federal regulations, and
    16             There was -- I was actually           16   suspicious -- designing and operating a
    17   somewhat shocked by the level of failure in     17   suspicious order system, CFR 1301.74(b).
    18   the documents that I reviewed, by the           18       Q. Did you ever meet with any of
    19   companies.                                      19   the other experts in the case?
    20       Q. The documents that were sent to          20       A. I have.
    21   you by the plaintiffs' lawyers?                 21       Q. That are -- let me start again.
    22       A. And that I elected to review             22            Did you ever meet with any of
    23   based on what they were, policies,              23   the other experts in the case who were
    24   procedures, descriptions of systems,            24   working with the plaintiffs?
    25   particular depositions where people that had    25       A. Yes, sir.
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     1       Q. Okay. Who did you meet with?              1   calls from plaintiff attorneys that had
     2       A. Physically I had a meeting with           2   questions about the data that they had
     3   Mr. McCann in Arlington on two different         3   received. And I received no calls, so it
     4   occasions.                                       4   was just -- sat in a room, had a casual
     5       Q. Okay.                                     5   conversation with Mr. McCann, but it wasn't
     6       A. By telephone, there was an                6   in regards to any of the analysis or any of
     7   expert witness, and I hopefully have his name    7   the work.
     8   correct. I think it was Seth Whitehill or        8       Q. Okay. I need to -- I think I
     9   Whitehall.                                       9   need to understand this just a little better.
    10       Q. Uh-huh.                                  10       A. Sure.
    11       A. And then there was another               11       Q. So the first meeting with
    12   expert opinion and -- I was anticipating this   12   Mr. McCann had to do with the ARCOS data and
    13   question, I was trying to remember. I           13   making it sort of more understandable?
    14   believe -- I only remember her first name. I    14       A. Yes.
    15   think it was Hui, but I don't -- I'm sorry --   15       Q. Right?
    16   I don't -- you know, I have a recollection --   16       A. So -- yep.
    17       Q. That was a phone call or a               17       Q. Okay.
    18   meeting?                                        18       A. So you want an explanation of
    19       A. That was a phone conversation.           19   it?
    20   One phone conversation with her. I had two      20       Q. No.
    21   phone conversations with Mister -- Seth. I      21       A. Okay.
    22   remember his first name. It was either          22       Q. I guess what I want to know is:
    23   Whitehill or Whitehall.                         23   Was anyone else there?
    24       Q. And two in-person meetings with          24       A. Yes.
    25   Mr. McCann? One?                                25       Q. Who else was there?
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     1       A. Well, I don't know so much that           1       A. There was a couple other
     2   I would call them meetings.                      2   experts -- well, I guess consultants, former
     3       Q. What would you call them?                 3   DEA employees were there present, and also
     4       A. Well, the first one is we went            4   there was one attorney, one plaintiffs'
     5   to his company in -- me and some other           5   attorney.
     6   people, and that's when they had received the    6       Q. Who were the other consultants?
     7   ARCOS data, and it came in in a native           7       A. James Geldhof. I'm trying to
     8   format, just as a string of numbers, EDI         8   think who was all there. Frank Younkers, and
     9   format. I think they were maybe anticipating     9   I think there may have been one more. I'm
    10   it was going to come in in a different, more    10   not sure. And one attorney.
    11   readable style.                                 11       Q. Who was the attorney?
    12            So I met with them just to kind        12       A. Peter Mougey.
    13   of give them some guidance on what the ARCOS    13       Q. How long was that meeting?
    14   materials should look like. Would you like      14       A. Well, I wouldn't really
    15   an example?                                     15   consider it a meeting. It was kind of a --
    16       Q. Not right now. Let me ask                16       Q. Were you in a room together?
    17   you --                                          17       A. Yes.
    18       A. And then the second meeting?             18       Q. Okay.
    19       Q. Yeah.                                    19       A. So it wasn't like a formal
    20       A. The second meeting was right             20   meeting where we had discussions. There was
    21   after Christmas. There was some kind of a       21   just basically some back-and-forth on trying
    22   work product that Mr. McCann did, and it went   22   to understand how to get the ARCOS into a
    23   out to some groups of people, and I was asked   23   usable format.
    24   to go to his office and sit in the              24       Q. Whether you call it a meeting
    25   conversation room in case I received any        25   or all sitting in a room together and

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     1   talking, how long was it?                       1   before?
     2       A. Oh. It was the better part of            2       A. That's correct.
     3   a day. The first day, six or seven hours.       3       Q. You were introduced by the
     4   The second day it was a partial part of the     4   plaintiffs' attorneys basically?
     5   day.                                            5       A. Yes, sir.
     6       Q. Okay. So it was a meeting that           6       Q. Okay. And the phone call with
     7   occurred over two days?                         7   Mr. Whitehall was about what?
     8       A. Yeah.                                    8       A. Well, my expert opinion has to
     9       Q. And that was in Arlington,               9   deal with the companies' actions and
    10   Virginia?                                      10   compliance with regulations and the law, and
    11       A. Yes, sir.                               11   my -- I guess my understanding of what
    12       Q. All right. Had you ever met             12   Mr. Whitehill does is he looks at the
    13   any of those guys before?                      13   companies for more of a larger corporate type
    14       A. I had. Well, I had not met              14   of compliance, maybe how the companies set up
    15   Mr. McCann before.                             15   their compliance in more of a big, broader
    16       Q. Okay.                                   16   overview.
    17       A. But I had met Mr. Frank                 17            I really didn't see any
    18   Younkers and James Geldhof. There was          18   connection between what his opinion was going
    19   another expert, and his -- I remember his      19   to be and my opinion, but at the request of
    20   name. David Schiller. I had never met him      20   plaintiff counsels, we had a couple of
    21   prior to that day. He was a former DEA         21   discussions.
    22   employee also.                                 22       Q. So you talked more than once?
    23       Q. And Younkers and Geldhof you            23       A. Yes, sir.
    24   knew from what, DEA days?                      24       Q. On the phone?
    25       A. Yes.                                    25       A. Yes, sir.
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     1       Q. Okay. I don't want to get into           1        Q. Were lawyers on the phone with
     2   a big thing about it, but where did they --     2   you when you talked?
     3   how did you know -- how did you know them       3        A. Yes, sir.
     4   from DEA days? What did they do?                4        Q. Who were they?
     5       A. Mr. Geldhof, he was the                  5        A. Well, for sure I knew Amy
     6   diversion program manager.                      6   Quezon was on the phone. She's the one who
     7       Q. Where?                                   7   arranged the phone conferences. I believe
     8       A. Let me back up.                          8   Mr. Fuller might have been. I'm not sure. I
     9       Q. Yeah.                                    9   think he might have been off and on. And
    10       A. When I first started, he was my         10   it's possible Mr. Elkins. It wasn't the kind
    11   immediate supervisor for a short period of     11   of a formal meeting where everyone announced
    12   time, and then he was promoted, so he was in   12   themselves. There was an introduction
    13   the Detroit division office as the diversion   13   between me and Mr. Whitehill, and I think
    14   program manager, which would be one level      14   Amy, Ms. Quezon, helped with the
    15   above my supervisor.                           15   introduction.
    16            Frank Younkers was the group          16             So it wasn't where I took a
    17   supervisor in the Cincinnati DEA office,       17   roll call or notes, so I'm not sure, but I
    18   Cincinnati, Ohio. I did some cases in          18   believe those people at some point might have
    19   Cincinnati and I met him just as an            19   been on the conversation.
    20   introduction and say hi. I never really        20        Q. Were you ever on --
    21   worked with him or had any supervision by      21             I'm sorry, I didn't mean to
    22   him.                                           22   interrupt.
    23       Q. Okay. But Mr. McCann and                23        A. No, that's okay.
    24   Mr. Whitehall and the woman that you           24        Q. Were you ever on the phone with
    25   referenced are all people you'd never met      25   any of the other experts in the case or in a

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     1   meeting with any of the other experts in the     1   in a deposition that I missed or didn't bring
     2   case where there weren't also at least one       2   to my attention, so I would go back, take
     3   plaintiffs' lawyer there?                        3   some notes, review the deposition myself, and
     4       A. So, I know you -- we aren't               4   either find that it was useful and
     5   agreeing on the term "meeting." There were       5   incorporate it, or dismiss it.
     6   some periods of time where I was reviewing       6       Q. In connection with putting
     7   depositions and James Geldhof was also tasked    7   together your report, did you speak with
     8   with doing -- reading depositions.               8   anyone or interview anyone from Summit or
     9            So we would review depositions          9   Cuyahoga County?
    10   and then once a week we would meet and we       10       A. No, sir.
    11   would compare our review of those               11       Q. Did you visit any pharmacies in
    12   depositions. And at the conclusion we put a     12   Cuyahoga or Summit County in connection with
    13   product together to send to the attorneys. I    13   putting your report together?
    14   would put a product together.                   14       A. No, sir, I did not visit any
    15       Q. So you were working with                 15   pharmacies.
    16   Mr. Geldhof on your report?                     16       Q. Okay. Did you spend any time
    17       A. It wasn't on my report at that           17   in Cuyahoga or Summit County at all in
    18   time. I hadn't really started writing my        18   connection with putting together your report?
    19   report because the discovery material,          19       A. Well, in a broad sense I'd have
    20   really, wasn't available -- I don't know if     20   to answer yes, and that's because I attended
    21   it was in, but it wasn't available to me.       21   some of the court hearings at the request of
    22   But the depositions were underway. And          22   the plaintiffs' attorneys, so I was able to
    23   actually, I wasn't even aware they were         23   hear some of the presentations that were
    24   underway.                                       24   made, which I guess would be useful in some
    25            I remember receiving a phone           25   ways of guiding me.
                                               Page 51                                             Page 53
     1   call and kind of asked what I was doing, and     1            I wasn't -- I don't think I was
     2   I said nothing. I hadn't heard from the          2   requested to be there for that particular
     3   plaintiffs in a couple of months during the      3   purpose to use that information, but I think
     4   summer months, which I wasn't complaining        4   any information that I received in regards to
     5   about because I was enjoying my summer. And      5   this report and -- I keep calling it
     6   then they said they wanted to start sending      6   investigation -- my evaluation, was impactful
     7   depositions and for me to review them. So        7   in crafting my report.
     8   then boxes started to arrive at my house.        8       Q. Which -- do you remember which
     9            I immediately knew that I would         9   court hearings you went to?
    10   never be able to read all of the depositions,   10       A. I went to the one, and I don't
    11   so I started with one particular company and    11   remember the date, I'm sorry, where
    12   started reviewing those depositions.            12   Mr. Rannazzisi testified, and there was a
    13            Mr. Geldhof had already -- he          13   document presented on behalf of the DEA. I
    14   was a lot more diligent than me in reading      14   think it was -- it was a large hearing. I
    15   the depositions. So the ones that we both       15   know that.
    16   read, it wasn't like a concerted effort; we     16       Q. I remember it.
    17   would just meet and discuss our review of the   17       A. Okay. I was there.
    18   depositions.                                    18       Q. I was there, too.
    19       Q. All I'm really trying to                 19       A. Only because they made me sit
    20   understand is whether, for your report, you     20   up at the very front, which I wasn't very
    21   had anyone else working with you or for you,    21   comfortable with.
    22   whether it's Mr. Geldhof or anyone else?        22       Q. Well, get used to it. You may
    23       A. No, sir. No, sir. The only               23   have to testify in the case, you know.
    24   person I had those discussions with was         24       A. Well, I know. I understand
    25   Mr. Geldhof. Now, he may have seen something    25   that, but when everyone's in the courtroom
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     1   and you're told to sit up here in the front,     1   destruction day. And I'm sure that I met her
     2   kind of in front of the jury box, I was a        2   in that time period.
     3   little nervous up there.                         3       Q. Okay. And are you aware that
     4        Q. And did you go to any other              4   there came a time in 2015 when she actually
     5   hearings?                                        5   moved into one of the top positions at the
     6        A. No, sir.                                 6   DEA?
     7        Q. Okay. So did you review any of           7       A. Yes, sir.
     8   the deposition transcripts of any of the         8       Q. In fact, she and Mr. Milione
     9   Summit or Cuyahoga County officials?             9   kind of replaced Mr. Rannazzisi. You knew
    10        A. No, sir.                                10   that, right?
    11        Q. Okay. Did you ask for them?             11       A. Yeah, so -- and I don't know if
    12        A. No, sir.                                12   this would be something that your question --
    13        Q. Did the plaintiffs' lawyers             13   that I should have answered previously. She
    14   send them to you?                               14   was in her capacity near the end of my career
    15        A. I have numerous boxes of                15   where one of my cases, there was
    16   depositions at my house that I haven't went     16   negotiations, and she -- or discussions about
    17   through them all, so I can't answer one way     17   the case, and she was part of those
    18   or another if one of them may be in there.      18   discussions.
    19   So I have to say I don't know.                  19       Q. Okay. You did not -- your
    20        Q. Do you know who Demetra Ashley          20   report doesn't say that you reviewed her
    21   is?                                             21   deposition either. Did you review her
    22        A. I do.                                   22   deposition?
    23        Q. Did you overlap with her at all         23       A. I started to review it, but I
    24   in Detroit? Because she worked in Detroit as    24   would probably say maybe the first 20 pages.
    25   well.                                           25       Q. Just 20 pages?
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     1       A. So during -- we hadn't                    1        A. I think so.
     2   discussed this, but during my career as a        2        Q. Okay.
     3   Romulus police officer, I was actually a         3        A. Maybe a few more, but I did not
     4   sergeant, I was head of a narcotics unit for     4   read the full deposition.
     5   the city police department. So in the course     5        Q. Okay. Thank you for all that.
     6   of some narcotic investigations, I got an        6        A. Yep, you're welcome, sir.
     7   invitation from the DEA to become a task         7        Q. I apologize for taking so much
     8   force officer.                                   8   time on this background stuff, but someone's
     9            So I left my department for a           9   got to do it.
    10   period of about -- almost five years and        10        A. I understand.
    11   worked in the capacity that would be similar    11        Q. Are you familiar with the
    12   to an agent, which is different than a          12   regulation that discusses suspicious orders,
    13   diversion investigator.                         13   regulation 1301.74, subpart (b)?
    14            I believe she was there then.          14        A. Yes, sir.
    15   I'm pretty sure she was there then, so if I     15        Q. All right. And does that
    16   met her, it was just casually.                  16   regulation define suspicious orders?
    17            My only recollection -- to be          17        A. I think the regulation itself
    18   honest with you, I didn't know that diversion   18   is a broad regulation and, I think, for a
    19   even existed in my law enforcement career,      19   good purpose. I think it gives some guidance
    20   and -- not that I want to digress, but they     20   on a suspicious order, but I think the actual
    21   would destroy drugs once a month, so I'd come   21   full definition is up to the registrant,
    22   to work and everybody would be in the hallway   22   depending on a lot of factors; the scope of
    23   just getting rid of cough syrup and there       23   their business and the scope of those
    24   would be this awful smell. And it would be      24   customers that receive products from them.
    25   like kind of a joke that day, on drug           25            So I think -- I know there's a
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     1   lot of criticism about the -- or there's some    1            MR. FULLER: No, but he asked
     2   criticism about the regulation. I think it's     2       does the order tell the registrant.
     3   a perfect regulation for industry to adhere a    3            THE WITNESS: I'm sorry.
     4   specific program to.                             4            MR. FULLER: But you meant the
     5        Q. The regulation defines                   5       regulation.
     6   suspicious orders as orders of unusual size,     6            MR. NICHOLAS: Yeah.
     7   orders deviating substantially from a normal     7            MR. FULLER: Fair enough.
     8   pattern, and orders of unusual frequency; is     8            THE WITNESS: So is my answer
     9   that correct?                                    9       correct? I mean, not correct. Was it
    10        A. Well, that is what the                  10       on point? I'll take it back.
    11   regulation says, but -- but I'm not so sure I   11            MR. NICHOLAS: We're going to
    12   agree if you're saying the word "defines"       12       sync up your answer with my screwed-up
    13   says that suspicious orders could only be       13       question with the correction, and it's
    14   those things.                                   14       going to work.
    15            I think that's up to the               15            THE WITNESS: Sorry.
    16   registrant to -- because there could be other   16   BY MR. NICHOLAS:
    17   factors where a suspicious order could be       17       Q. So is it fair to say that the
    18   identified other than those three parameters.   18   determination as to whether an order is of
    19        Q. Does the order tell the                 19   unusual size is a subjective determination?
    20   registrant what is meant by an order of         20       A. No, I don't think so.
    21   unusual size?                                   21   Generally speaking, I think if --
    22            MR. FULLER: Form.                      22   hypothetically, I think that if a company,
    23        A. No, I think that's up for the           23   especially a large company, has sufficient --
    24   registrant to define based on their             24   sufficient data that they can come up with a
    25   application of their maintenance of effective   25   reasonable, usual amount that a customer
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     1   controls. You know, that question has come       1   would be expected to purchase, and I think
     2   up before. I think the important thing first     2   that a purchase that would exceed that as a
     3   for a company or a registrant is define what     3   system that would trigger that order to be of
     4   "usual" is, and that would be their due          4   unusual size, I don't think that's a
     5   diligence and their maintenance of effective     5   subjective nature.
     6   controls.                                        6            Certainly, I guess companies
     7            Many companies focus on trying          7   could just hire people to just look at orders
     8   to define an unusual order when they don't       8   and then say that's an unusual order and that
     9   sufficiently understand what a usual order is    9   would be more of a subjective, but I think
    10   in regards to what kind of business they're     10   any system that's designed takes the
    11   operating and the scope of their business.      11   subjective nature out of it.
    12            MR. FULLER: Bob, and not to            12            Now, subsequent decisions may
    13       pick on your flow, but your last            13   be subjective, but the actual identification
    14       question was does the order tell the        14   would not be.
    15       registrant.                                 15       Q. What do you mean by "subsequent
    16            MR. NICHOLAS: Oh, my mistake.          16   decisions"?
    17            MR. FULLER: That's why I               17       A. So an order is -- triggers as
    18       objected.                                   18   unusual order based on the size, and then the
    19            MR. NICHOLAS: I appreciate it.         19   company has a couple of decisions to make.
    20       Well, then I appreciate it.                 20   One, and this is based on my experience and
    21            MR. FULLER: But Rafalski still         21   based on the Masters case, is they could
    22       answered it.                                22   report it to the DEA and then not ship it and
    23            MR. NICHOLAS: That's fine.             23   that could be the end of it.
    24            THE WITNESS: I thought I had           24            So if they want to make a
    25       to.                                         25   determination on whether or not they want to
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     1   ship it, they have to dispel the fact that       1            So within those families,
     2   it's a suspicious order to make sure that        2   there's -- my experience in doing these cases
     3   it's not diverted.                               3   is there's generally a hierarchy of drugs
     4             So someone obviously would have        4   where some drugs are ordered more often than
     5   to gather some facts, and I guess make an        5   others. They're just generally prescribed
     6   evaluation of those facts. So what facts         6   more.
     7   that that person, he or she, gathers and         7            So during the course of when a
     8   their opinion on whether or not it's             8   potential diversion would occur, there could
     9   suspicious, I think there has to be some         9   be one strength of drug which actually
    10   level of subjectivity in there.                 10   occurred -- which really impacted what
    11             You could have a checklist and        11   happened in America -- the oxycodone 30
    12   you could have a lot of formal procedures,      12   product became a highly abused product. So
    13   but ultimately, someone has to make some        13   companies should or would want to monitor
    14   decision.                                       14   within that drug family if there was a change
    15        Q. I would ask you the same                15   in pattern where one drug started to get
    16   question about orders that deviate              16   ordered in a much greater amount than the
    17   substantially from a normal pattern. Is the     17   other drugs.
    18   determination of whether orders deviate         18            Along those same lines, another
    19   substantially from a normal pattern a           19   pattern is how companies order drugs.
    20   subjective determination?                       20   Typically in the old days they used DEA
    21        A. My answer is kind of going to           21   Form 222s. That's a paper form with ten
    22   run parallel to the size. I think an unusual    22   lines. Some companies generally order drugs
    23   pattern start -- you know, first a company      23   in the same manner.
    24   has to establish what's a usual pattern.        24            I've reviewed countless number
    25             In regards to the preparation         25   of forms, and as you go through the forms day
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     1   of my report and review of the policies, one     1   by day, you'll see patterns on how drugs are
     2   of the most common patterns -- well, I           2   ordered, certain groups together. In the
     3   wouldn't say common, but one pattern that        3   cases I've worked, when that pattern changes,
     4   some companies elect to look at are the          4   so an easy one would be all of a sudden you
     5   relationship between the purchase of controls    5   see an order form with ten lines and all ten
     6   and noncontrols.                                 6   lines have oxycodone 30. If a company would
     7            So they can establish with              7   start to change a pattern of orders like
     8   their own records what would be a normal         8   that, that would be an easy one.
     9   range of noncontrols related to controls. So     9       Q. Is it also possible that
    10   any change in the purchasing of that would be   10   patterns or size or frequency can change
    11   an example of an unusual pattern.               11   suddenly based on changed circumstances in a
    12            Another one that some companies        12   particular community?
    13   in my preparation of my report would be cash    13       A. Sure, anything is possible.
    14   payments versus insurance payments, so that a   14       Q. Well, I don't just mean
    15   change in the percentage there. That would,     15   anything is possible. I mean, yes, anything
    16   of course, only occur if the companies were     16   is possible, but I'd like to be a little more
    17   diligent, asked that question on a periodic     17   specific.
    18   basis.                                          18       A. Okay.
    19            There are many other patterns          19       Q. Let's say -- let's say a
    20   that are overlooked in my preparation of the    20   hospital opens up in an area. Would that
    21   report by companies. One of the easiest         21   change patterns and could it change ordering
    22   would be companies generally seem to be         22   patterns and size of orders and frequency of
    23   looking at drugs as families, and what I mean   23   orders?
    24   by that is lumping all the oxycodone products   24       A. Well, I think that obviously
    25   into one family or by their drug code.          25   has a possibility to cause some change. I'm

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     1   not sure that it would change the pattern.       1   in town or a pharmacy has a relationship with
     2   It may change the amounts or the types. So       2   a new long-term facility? You would stop
     3   another -- as was one of my examples, the        3   shipment of those drugs?
     4   types could change.                              4       A. I think that's what the
     5            Anytime a business model                5   regulation calls for, yes, sir.
     6   changes or a new contract -- a better            6       Q. Okay.
     7   example, if I could give you a better            7       A. Well, not the regulation, but
     8   example.                                         8   the maintenance of effective controls.
     9       Q. Sure.                                     9   Because to just go ahead and make shipment
    10       A. Is a pharmacy could enter into           10   without confirming that diversion is
    11   a contract with a long-term care facility,      11   occurring, I think the flipside of your
    12   and if they didn't provide guidance or          12   question is probably, you know, just as
    13   information to their distributor, they could    13   drastic, to allow drugs to go for a purpose
    14   just start ordering a controlled substance      14   when you've already identified that there's
    15   that would be out of the norm of something      15   the potential for diversion.
    16   they ever ordered before.                       16       Q. I mean, it's also drastic if
    17            That's kind of the essence of          17   drugs are not going to people who need them,
    18   the suspicious order system because you would   18   correct?
    19   hope the system would trigger to stop that      19       A. That's correct, but in most
    20   order. Then it requires some due diligence      20   cases, the drugs we're talking about -- well,
    21   where a company would actually call and they    21   let me stop to answer that way.
    22   would learn about that contract. And then       22            First, the situation would be
    23   subsequent to that, the distributor or the      23   as I would hope that companies would take
    24   person making the sale would probably confirm   24   into account -- or not that they would have
    25   that that actual contract occurred and that     25   to clear that order in a reasonable amount of
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     1   business relationship occurred.                  1   time, we're not discussing weeks or months.
     2            So...                                   2   And I certainly don't speak for the
     3       Q. So patterns can change?                   3   companies, but I'm certain that they act in a
     4       A. Sure.                                     4   fairly quick manner to resolve that. And,
     5       Q. Size can -- you know, unusual             5   you know, I'm not so sure that the drugs
     6   size can change. Frequency can change            6   we're talking about are -- in a long-term
     7   depending on the circumstances that occur in     7   care facility would be life-threatening, but
     8   a particular community, right?                   8   I'm not a doctor, so -- but just generally
     9       A. I've learned in my experience             9   speaking through my experience.
    10   that the ordering and distribution of drugs     10        Q. I guess I should have asked you
    11   is not static. It's heavily patterned,          11   at the beginning. You're not a licensed
    12   especially the more the customers, the more     12   physician, are you?
    13   the established pattern, sizes and frequency.   13        A. I am not.
    14   But new drugs could be introduced.              14        Q. You're not a pharmacist, right?
    15            There's a lot of reasons why it        15        A. I am not.
    16   could change. And that's not a bad thing,       16        Q. Okay. But it is correct, isn't
    17   but those are the things that would trigger     17   it, that the drugs we're talking about,
    18   your system to stop an order and then you to    18   opioids, do serve an important medical
    19   evaluate it to make sure that -- not you        19   purpose, correct?
    20   personally, but so that it's evaluated, and     20        A. Absolutely. I think there's a
    21   then there's no chance of diversion.            21   segment of the population in America that
    22       Q. So while that investigation is           22   need those drugs.
    23   going on, you're saying that those drugs        23             And I think that's an important
    24   should not be shipped to a place where let's    24   question and an important answer because, you
    25   say there's a new -- a new long-term facility   25   know, through my career there's a lot of

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     1   accusations that the DEA works to impede         1   discovery process.
     2   that, and I find that far from the truth. I      2       A. Oh, discovery process, okay.
     3   mean, the number one goal as far as I'm          3       Q. Depositions are part of
     4   concerned and in our mission statement is to     4   discovery.
     5   make sure that there's an uninterrupted          5       A. Understood. Okay.
     6   supply to those people who need those drugs.     6       Q. Now, when you discussed his
     7       Q. And sometimes those people need           7   ruling, you put four pages in the report on
     8   those drugs because they are terminally ill      8   his ruling. How did you know to do that? I
     9   and have a limited amount of time to live and    9   mean, how did you even know that that thing
    10   are in tremendous pain in their last days,      10   existed? Who told you about that?
    11   right?                                          11       A. It was provided to me by the
    12       A. There's all --                           12   plaintiffs' attorneys.
    13            MR. FULLER: Form, scope.               13       Q. Okay. And what did they give
    14            MR. NICHOLAS: Go ahead.                14   you? Did they give you his ruling?
    15       A. Sure. There's all kinds of               15       A. Yes, sir.
    16   reasons why those drugs are a necessity to      16       Q. Okay. And so is it your
    17   people that have a medical need for them. I     17   position that his ruling is the -- the --
    18   agree.                                          18   states the law with regard to the regulatory
    19   BY MR. NICHOLAS:                                19   obligations of the various defendants in this
    20       Q. Okay. I'm going to ask you               20   case?
    21   just a few questions, not many, about three,    21       A. Well, my understanding is his
    22   four pages in your report, pages 10 to 13, in   22   ruling kind of breaks down the Masters
    23   which you discuss something called Discovery    23   Pharmaceutical case and the appellate court
    24   Ruling 12.                                      24   decision that resulted from that case, and he
    25       A. Yes, sir.                                25   kind of gives a general understanding of what
                                               Page 71                                              Page 73
     1       Q. Do you remember that? Do you              1   my -- my section was the suspicious order
     2   know what I'm talking about?                     2   system, how it works, the reasonableness of
     3       A. Yes, sir.                                 3   it, and the maintenance of effective
     4       Q. Okay. And this is a discovery             4   controls. And his was an interpretation.
     5   ruling that was issued by Special Master         5        Q. An interpretation?
     6   Cohen; is that right?                            6        A. Of -- well, I wouldn't say an
     7       A. Yes, sir, in regards to the               7   interpretation because obviously he's not
     8   Masters Pharmaceuticals case.                    8   going to interpret the appellate court
     9       Q. And you understand that the               9   ruling. I think it's kind of a common sense
    10   Special Master's role in the litigation is to   10   or just kind of a good written product of the
    11   address discovery issues, right?                11   Masters Pharmaceutical case. That was my
    12       A. Generally speaking, yes, sir.            12   investigation.
    13       Q. Okay. And he is not -- he's              13        Q. And so you referenced Discovery
    14   great, but he's not the judge, right?           14   Ruling 12, and then I didn't see any
    15       A. Understood.                              15   reference to his next ruling on this motion,
    16       Q. Okay. And he's not the jury              16   which had to do with withdrawing a portion of
    17   either.                                         17   Discovery Ruling 12.
    18       A. Understood. I -- so I think              18            Do you remember that?
    19   that's one of his roles. I only -- I say        19        A. I don't think I reviewed that.
    20   that because when I read some of the            20   I wasn't provided that.
    21   depositions, I see there's some conversation    21        Q. Okay. So you weren't provided
    22   back and forth about we may have to call        22   with Special Master Cohen's follow-up ruling
    23   Cohen, so I think he maybe makes rulings in     23   on Discovery Ruling 12, correct?
    24   regards to deposition matters too.              24        A. I do not recall that.
    25       Q. Yeah, and that's part of the             25        Q. And you wouldn't have known

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     1   about it -- I mean, you wouldn't have known      1              MR. FULLER: Form.
     2   to ask for it because you didn't know it         2      A.       I do not recall seeing that.
     3   existed, right?                                  3              MR. NICHOLAS: Okay. Let's
     4        A. Right. I was provided so many            4        take our first break, if that's okay.
     5   documents, I don't have any recollection of      5        Five minutes.
     6   reviewing it. But I'd like to leave the slim     6              THE VIDEOGRAPHER: Going off
     7   chance that maybe I did and I just don't         7        the record, 10:26 a.m.
     8   recall. I know it's not referenced in my         8              (Recess taken, 10:26 a.m. to
     9   report.                                          9        10:38 a.m.)
    10        Q. Right. Okay. So maybe there's           10              THE VIDEOGRAPHER: We're back
    11   a slim chance. I didn't see it in any of the    11        on the record. The time is 10:39 a.m.
    12   documents.                                      12   BY MR. NICHOLAS:
    13        A. Well, you know what, I'm                13        Q. Mr. Rafalski, it's correct,
    14   drawing a blank on that particular, but there   14   isn't it, that there was a time when the DEA
    15   is a possibility that I guess at some point.    15   approved suspicious order monitoring
    16   I get so many of these documents that it may    16   programs, correct?
    17   have been provided to me.                       17        A. Sir, I'm never aware of any
    18        Q. Okay. So you don't know that            18   time where there was an approval of a
    19   Special Master Cohen wrote that his -- and      19   particular system.
    20   I'm just reading from his follow-up report,     20        Q. Okay. If there was ever an
    21   which you have -- his follow-up ruling, which   21   approval of a particular system, that would
    22   you did not see: Second, the discourse was      22   be like highly relevant information, right?
    23   not meant to be authoritative or conclusive     23        A. Well, it could be, but I'm just
    24   on how all suspicious order monitoring          24   testifying from my review of records and my
    25   systems must work. As distributors note,        25   experience, mainly my expertise and my
                                              Page 75                                               Page 77
     1   resolution of whether their SOMS met             1   training with the DEA where it's clearly
     2   applicable legal requirements over time is a     2   stated from the day I was employed that the
     3   question for another day.                        3   DEA doesn't approve systems.
     4            So you didn't see that?                 4        Q. Okay. Did you ever review any
     5            MR. FULLER: Form.                       5   documents in this case that have been
     6       A. No.                                       6   produced in the case having to do with
     7   BY MR. NICHOLAS:                                 7   AmerisourceBergen's suspicious order
     8       Q. Okay. And you didn't --                   8   monitoring system?
     9       A. So -- I'm sorry.                          9        A. I'm sure I did in the
    10       Q. Well, I just want to know                10   preparation of my report. If you want to --
    11   whether you remember seeing that.               11   is there a particular document that you want
    12            MR. FULLER: You can finish             12   to...
    13       answering that question. Go ahead.          13        Q. There is.
    14            MR. NICHOLAS: Yeah.                    14             MR. NICHOLAS: Let me start
    15       A. I don't remember seeing that             15        with -- let me start with Tab 17. So
    16   particular statement.                           16        just for everybody's information, we
    17   BY MR. NICHOLAS:                                17        have -- we didn't bring like 20 of
    18       Q. Okay. And so you also don't              18        these things, all right, but I have
    19   remember -- or do you remember seeing this      19        one for the witness. I have one for
    20   statement: In sum, distributors are correct     20        me. I have one for Mr. Fuller and
    21   that Discovery Ruling No. 12 was exactly        21        then what do we have? Maybe one
    22   that, a discovery ruling, and not a             22        other? We have six copies. The rest
    23   definitive pronouncement on their legal         23        of you guys can share.
    24   obligations.                                    24             MR. FULLER: They're stickers.
    25            Do you remember seeing that?           25        You just peel them off and put them
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     1      on.                                           1       A. Can I ask a question about the
     2             MR. NICHOLAS: Okay.                    2   document? It seems I have a recollection
     3             (Whereupon, Deposition Exhibit         3   that there were other documents before and
     4       Rafalski-1, 9/30/96 Zimmerman Letter         4   after this document.
     5       ABDCMDL00215791 - ABDCMDL00315794, was       5   BY MR. NICHOLAS:
     6       marked for identification.)                  6       Q. I'm going to show you each --
     7   BY MR. NICHOLAS:                                 7   I'm going to show you all the documents I
     8       Q. You can take a look at this.              8   have. I'm going to show you the documents I
     9   This is a letter written -- dated                9   have.
    10   September 30th, 1996. It's on Bergen            10       A. Okay.
    11   Brunswig Corporation letterhead. Now, Bergen    11       Q. Yeah. Okay. You ready?
    12   Brunswig was the predecessor company for        12       A. Yeah, I'm ready.
    13   AmerisourceBergen. You knew that, right?        13       Q. All right. So Mr. Zimmerman
    14       A. Yes, sir.                                14   wrote to the DEA and explained that
    15       Q. Okay. So Mr. Zimmerman writes            15   AmerisourceBergen would like to go to a new
    16   this letter, Chris Zimmerman. Did you ever      16   enhanced program for the monitoring and
    17   meet Mr. Zimmerman before?                      17   reporting of customer orders, right?
    18       A. No, sir.                                 18       A. Say that question one more
    19       Q. Okay. And he's been with the             19   time, sir.
    20   company for many years, involved with their     20       Q. Mr. Zimmerman was writing to
    21   suspicious order monitoring program. And you    21   the DEA to seek permission to replace
    22   see he's written a letter to Thomas Gitchel,    22   Amerisource -- to replace Brunswig -- Bergen
    23   who's the chief of liaison and policy section   23   Brunswig's current -- let me start again.
    24   for the DEA, the Unites States Department of    24            Mr. Zimmerman was writing to
    25   Justice.                                        25   the DEA to express -- to request permission
                                               Page 79                                             Page 81
     1             Do you see that?                       1   to replace Bergen Brunswig's current manner
     2        A. Yes, sir.                                2   of daily suspicious order reporting with a
     3        Q. And you can see from this                3   new daily electronic facsimile report, right?
     4   letter that he is introducing to the DEA a       4       A. Yes. So if I understand this
     5   new system under development by Bergen           5   correctly, and part of my answer I think is
     6   Brunswig Drug Corporation to monitor and         6   my recollection of the other documents, is
     7   report customer orders of controlled             7   the crux of the conversation is the
     8   substances which fit the suspicious order        8   authorization to provide them in an
     9   criteria outlined in 21 CFR, Section             9   electronic or facsimile manner, and not in
    10   1301.74(b).                                     10   regards specifically to the system. If
    11             Do you see that?                      11   that's my recollection -- but that's taking
    12        A. I do.                                   12   into account some other documents.
    13        Q. Okay. And you can take a                13       Q. Well, let's look at page 2 of
    14   minute to review the report -- to review the    14   the letter.
    15   letter if you need to, but let me start by      15       A. Sure.
    16   asking you: Have you seen this letter           16       Q. Mr. Zimmerman writes: Our plan
    17   before?                                         17   involves the creation of a computer program
    18        A. I believe I have.                       18   that compares a customer's controlled
    19        Q. Okay. Then so you recall its            19   substance orders (expressed in metric units
    20   contents?                                       20   of the active ingredient) against a standard
    21        A. No, I'd like an opportunity to          21   representing an average of the customer's
    22   read it, if I could have a minute or two.       22   prior four months of orders. Customers whose
    23        Q. Sure, why don't you take a              23   orders exceed by a specified percentage their
    24   minute to look at it.                           24   prior four-month average order history would
    25             (Document review.)                    25   be printed on a summary report.

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     1            BBDC's mainframe computer in            1   registrant to disclose any orders which fit
     2   Orange, California would automatically fax       2   the suspicious order criteria, and it has
     3   this report simultaneously to each respective    3   always been BBDC's position to adopt a
     4   DEA field office daily in the early AM hours     4   conservative and thorough approach on matters
     5   after the distribution center has completed      5   involving controlled substance regulatory
     6   order processing review.                         6   compliance.
     7            When DEA offices open each day,         7            So were you aware that at this
     8   the summary report will be waiting for their     8   point of time in 1996, as of 1996, Bergen
     9   review. DEA offices could also elect to          9   Brunswig was telephoning the DEA, DEA field
    10   receive a month-end version of this report      10   offices, 12,000 -- 12,000 times a year to
    11   via US mail.                                    11   report excessive purchase orders or
    12            Do you see that?                       12   suspicious orders?
    13       A. Uh-huh.                                  13            Did you know that?
    14            MR. FULLER: Form.                      14       A. No, sir.
    15       A. Yes.                                     15       Q. Okay. And was there
    16   BY MR. NICHOLAS:                                16   anything -- is there anything in your mind
    17       Q. So it's more than --                     17   that was wrong with that?
    18       A. Yes. I don't -- yes, sir. I              18       A. Well, that's a pretty broad
    19   don't want to say uh-huh. I'm sorry.            19   question. Which --
    20       Q. That's okay.                             20       Q. Well, just --
    21            So it -- this also describes           21       A. Calling 12,000 times a year?
    22   exactly what standard would be used. It         22       Q. Yeah.
    23   describes a four-month average to be sent to    23       A. If a registrant has any type of
    24   the DEA, correct?                               24   system that requires contact with the DEA
    25            MR. FULLER: Form, misstates            25   12,000 times a year, I think -- and without
                                              Page 83                                               Page 85
     1       the document.                                1   having the full information of the system, I
     2       A. This -- I guess your statement            2   would say that there's a problem with that
     3   is what this document says.                      3   system.
     4   BY MR. NICHOLAS:                                 4        Q. Does that mean -- well, what do
     5       Q. Uh-huh.                                   5   you mean by -- do you mean that if a system
     6       A. But I think the purpose of the            6   is -- if a system -- do you mean that there
     7   document is asking for the method to turn        7   should not be 12,000 suspicious order reports
     8   the -- send these reports to the DEA. I          8   a year?
     9   don't think it's asking for approval or          9        A. I'm not saying whether there
    10   guidance on the suspicious order system. I      10   should or not. What I'm saying is that when
    11   think it's just an advisory of what the         11   I see the number 12,000, that would bear for
    12   company, I think at the beginning, says that    12   me, if I was aware of that, it would bear
    13   they're under development. So I'm not sure      13   some scrutiny because it would seem like --
    14   this is exactly what they are going to do.      14        Q. It's a lot.
    15             But again, because there were         15        A. Yes, extremely large number on
    16   other documents, I'm pretty sure this started   16   a yearly basis. 365 days a year, I guess how
    17   out with just changing how they sent these      17   many customers, it's -- if you average it
    18   reports to the DEA.                             18   out, that's a large amount of calls every day
    19       Q. I also wanted to show you, like          19   to call the DEA.
    20   if you go a couple of paragraphs up, it         20        Q. So your expectation is that
    21   says -- Mr. Zimmerman says: I can appreciate    21   there really shouldn't be 12,000 suspicious
    22   DEA's belief that 12,000 BBDC telephone calls   22   orders reported a year, right?
    23   per year may be, quote, overdoing it, if not    23        A. I really don't have an
    24   for the fact that the regulations clearly       24   expectation of any particular number, but I
    25   place the responsibility solely on the          25   think 12,000 would exceed -- in my experience

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     1   and years of doing these investigations, I       1       A. I guess there's one statement
     2   would find it unusual that there would be        2   in here where it says: This value would
     3   12,000 reports in a year.                        3   directly impact the size of the report.
     4        Q. Okay. Now, look at the -- look           4             So in designing a suspicious
     5   at the end of -- look at page 3 and the          5   order report, the goal is, is to identify
     6   second half of the paragraph at the top,         6   suspicious orders, not to try to design it to
     7   where it starts -- where it reads as follows:    7   limit the number of reports or have a design
     8   There are some key questions that DEA would      8   which lessens reports that a registrant would
     9   need to provide input on before the report is    9   have to submit to the DEA.
    10   finalized. One question would be assignment     10       Q. Oh, no, I completely agree.
    11   of the percentage value that a customer's       11   Read the next sentence. You can read it out
    12   order would have to exceed before that order    12   loud.
    13   would appear on the report. This value would    13       A. It says -- well, let me read
    14   directly impact the size of the report.         14   the first one: This value would directly
    15            Working with DEA's input, we           15   impact the size of the report. Working with
    16   hopefully will identify the optimum             16   DEA's input, we hopefully will identify the
    17   percentage value that will yield DEA the        17   optimum percentage value that will yield DEA
    18   highest quality information without             18   the highest quality information without
    19   sacrificing administrative cost and             19   sacrificing administrative cost and
    20   efficiency.                                     20   efficiency.
    21            Once the field office test is          21       Q. Is there anything wrong with
    22   concluded and the recommendations               22   trying to work with the DEA to yield the
    23   incorporated into the final product, then we    23   highest quality information without
    24   can coordinate with your office to introduce    24   sacrificing administrative efficiency?
    25   the report to the entire DEA system.            25       A. Well --
                                               Page 87                                             Page 89
     1            Do you see that?                        1       Q. Is there anything wrong with
     2       A. Yes.                                      2   that?
     3       Q. Okay. Anything wrong with                 3       A. There's nothing wrong.
     4   that?                                            4       Q. Okay.
     5       A. I think there's several things            5       A. But that's a registrant's
     6   wrong with it.                                   6   responsibility under the regulation. I would
     7       Q. What's wrong with that?                   7   hope every registrant was designing some
     8       A. Well, first of all, I don't               8   system for optimum results.
     9   believe that it's DEA's obligation to provide    9       Q. Well, obviously
    10   input or guidance on an optimum percentage      10   AmerisourceBergen was trying to do that if
    11   value. I think that's a decision that has to    11   you read this, right?
    12   be made by the registrant. That's their         12       A. Well, I think that's their
    13   regulatory obligation.                          13   regulatory responsibility.
    14       Q. So just on that, you don't               14       Q. And they were doing it, right?
    15   think that Bergen Brunswig should have asked    15       A. Well, they're attempting to do
    16   the DEA about this at all?                      16   it.
    17       A. I think they can always submit           17       Q. They were attempting to do it,
    18   questions, but I think all registrants          18   okay. And they were asking the DEA to work
    19   throughout many years with interacting with     19   with them, correct?
    20   the DEA are aware that the DEA won't give       20       A. But I'm going to restate again
    21   specific answers in regards to thresholds or    21   that it's --
    22   establishing thresholds or percentages. I       22       Q. I'm just asking whether they
    23   think -- let me just read this one more time.   23   were asking. Were they asking?
    24   There's one more comment I'd like to make.      24       A. They were --
    25       Q. Sure. Of course.                         25             MR. FULLER: Let him finish his

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     1       answer. Let him finish his answer,                   1   you're speaking of? The --
     2       Counsel.                                             2   BY MR. NICHOLAS:
     3            MR. NICHOLAS: Okay.                             3       Q. The request to --
     4   BY MR. NICHOLAS:                                         4       A. To facsimile -- to change how
     5       Q. Were they asking the DEA to                       5   the reporting goes?
     6   work with them? Yes or no?                               6       Q. He didn't shut down the request
     7            MR. FULLER: Form.                               7   for permission to change their suspicious
     8       A. Well, it's not a yes-or-no                        8   order monitoring program. He didn't shut it
     9   question. They were making the request from              9   down, right?
    10   the DEA, but by making that request, these              10            MR. FULLER: Form.
    11   companies -- or this company probably had,              11       A. I could see where you could
    12   most likely, knowledge that the DEA doesn't             12   draw this conclusion from this letter.
    13   give guidance on how to specifically design a           13   BY MR. NICHOLAS:
    14   system. That's up to the registrant.                    14       Q. Okay. Let's look at the second
    15            MR. NICHOLAS: Okay. Let's go                   15   paragraph. We've reviewed your proposal --
    16       to Tab 19. We'll make this Exhibit 2.               16   I'm reading from it -- and feel that it could
    17            MR. FULLER: When you say                       17   be a viable alternative to the current
    18       Tab 19 --                                           18   system. It is our understanding that a
    19            MR. NICHOLAS: I'm sorry. I'm                   19   computer program has been created that can
    20       talking to Abby over here.                          20   compare a customer's controlled substance
    21            MR. FULLER: Got it.                            21   orders to an average of the customer's orders
    22            MR. NICHOLAS: We've got these                  22   for the prior four months. Customers' orders
    23       things in our own peculiar order.                   23   that exceed their four-month average order
    24            (Whereupon, Deposition Exhibit                 24   history by an as-yet-unspecified percentage,
    25       Rafalski-2, 10/29/96 Gitchel Letter,                25   would be shown on a summary report that would
                                                       Page 91                                              Page 93
     1        ABDCMDL00315789 - ABDCMDL00315790, was              1   be sent to the appropriate Drug Enforcement
     2        marked for identification.)                         2   Administration (DEA) field office on a daily
     3   BY MR. NICHOLAS:                                         3   basis.
     4        Q. You can take a look at this                      4             As proposed, the summary report
     5   letter.                                                  5   would include the customer's name, address
     6             (Document review.)                             6   and DEA number, a description of the item
     7             MR. FULLER: Is this Exhibit 2?                 7   ordered, the NDC number, date ordered, active
     8             MR. NICHOLAS: Exhibit 2.                       8   ingredient, volume ordered and shipped, and
     9   BY MR. NICHOLAS:                                         9   the customer's allowance or average order.
    10        Q. Okay. So Exhibit 2 --                           10             Do you see that?
    11        A. Go ahead, sir.                                  11       A. Yes, sir.
    12        Q. You've reviewed it. So                          12       Q. Okay. So a couple of things
    13   Exhibit 2 is a letter back to Mr. Zimmerman             13   about this.
    14   from Mr. Gitchel, the chief of liaison and              14             First of all, Mr. Gitchel is
    15   policy section, Office of Diversion Control             15   summarizing here the fact that customers'
    16   for the DEA. It's dated October 29th -- at              16   order -- he repeats that customers' orders
    17   least it's stamped October -- well, it was              17   that exceed their four-month average order
    18   received on November 4th, 1996. Let's put it            18   history by an as-yet-unspecified percentage
    19   that way.                                               19   would be shown on the report, correct?
    20             And Mr. Gitchel says a number                 20       A. Yes, sir.
    21   of things that I would like to ask you about.           21       Q. Okay. It's interesting because
    22   First of all, I see he didn't shut down the             22   this last sentence also says: As proposed,
    23   request, correct?                                       23   the summary report would include the
    24             MR. FULLER: Form.                             24   customer's name, address and DEA number, a
    25        A. Could you clarify what request                  25   description of the item ordered, the NDC

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     1   number, date ordered, active ingredient,         1   1996, and the DEA's interpretation of the
     2   volume ordered and shipped, and the              2   regulation in 1996 was the same as it is
     3   customer's, quote, allowance or average          3   today and even previous to this date.
     4   order.                                           4        Q. Well, if it was the same as it
     5            You see that sentence?                  5   is today, why in 1996 was the DEA saying --
     6       A. Yes, sir, I see that sentence.            6   why was the DEA acknowledging right in its
     7       Q. Okay. So Mr. Gitchel                      7   letter that it understood that customer
     8   understood that these suspicious orders were     8   orders that exceed their four-month average
     9   being shipped, didn't he?                        9   order history would be sent to the
    10       A. Well, I can't comment on what            10   appropriate DEA field office; the summary
    11   Mr. Gitchel thought about the letter. I         11   report of those orders would -- would include
    12   can -- I can make some comment about the --     12   certain information, including when those
    13   what was written here.                          13   orders were shipped?
    14            I'm not sure that it's clear to        14            I mean, are you really saying
    15   me that that paragraph describes suspicious     15   to me that it is not clear to you that the
    16   orders.                                         16   DEA understood in 1996 that orders that were
    17       Q. Okay.                                    17   reported as either excessive or suspicious,
    18       A. That -- meaning that                     18   whatever word you want to use, were being
    19   Mr. Gitchel is making a comment that this is    19   shipped? Is that your testimony, having read
    20   in compliance with 1301.74(b).                  20   this paragraph?
    21       Q. Do you have any question that            21        A. We can read it again. My
    22   Mr. Gitchel understood that orders that are     22   testimony would be as, first of all, I'm not
    23   being reported to the DEA are being shipped?    23   going to make a comment on what Mr. Gitchel
    24       A. That's what this paragraph               24   believed this paragraph actually complied to.
    25   says, yes.                                      25   If it was some kind of a database submission,
                                              Page 95                                              Page 97
     1       Q. Yeah.                                     1   I know there was excessive purchase reports
     2       A. Yes.                                      2   being submitted to the DEA at that time.
     3       Q. Okay.                                     3             I know the first sentence in
     4       A. So I'm just going to restate:             4   the next paragraph is: We note that unlike
     5   In this paragraph, this particular paragraph,    5   the program that generates Bergen Brunswig's
     6   I'm not -- my answer when I say that's what      6   monthly suspicious order report -- which
     7   the paragraph says, I'm not trying to            7   would differentiate that this paragraph might
     8   indicate what Mr. Gitchel believed he -- what    8   be speaking to a different topic than the
     9   his thoughts were on whether he wrote this       9   first statement -- first sentence of the next
    10   paragraph, whether those were, in fact,         10   paragraph.
    11   suspicious orders.                              11             So I'm just -- I don't think
    12            Could have been some other kind        12   it's possible for me to make a comment on
    13   of a database that was being provided to the    13   this communication by just looking at this
    14   DEA. I mean, it's 1996. I think -- I don't      14   letter.
    15   really have a comment on Mr. Gitchel's          15        Q. Okay.
    16   beliefs.                                        16        A. I'm not going to disagree that
    17       Q. Things were different in 1996,           17   that's what that paragraph says, because it's
    18   weren't they?                                   18   written words.
    19            MR. FULLER: Form.                      19        Q. It is written words, and maybe
    20   BY MR. NICHOLAS:                                20   we'll just have to let the words speak for
    21       Q. You just said it. It was 1996.           21   themselves.
    22       A. Well, it's a long time ago.              22        A. I think we will. Or
    23   Only because I don't have knowledge of          23   Mr. Gitchel.
    24   something that occurred in 1996. I would say    24        Q. Yeah. Well, I think he has.
    25   that the regulation was exactly the same in     25             Now, you'll see that
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     1   Mr. Gitchel has gone ahead and said in this      1            So object to form.
     2   letter, in the next paragraph -- the last        2            MR. EPPICH: I'll object to
     3   sentence of the next paragraph says: It is       3       that representation. I don't know
     4   therefore requested that each DEA office         4       that that's true, Mr. Fuller.
     5   continue to be provided with the monthly         5            MR. NICHOLAS: Anyway, we can
     6   reports in addition to the daily facsimile       6       move on.
     7   reports.                                         7            THE WITNESS: Yeah, I don't
     8             It would also be helpful to our        8       know if there's a question pending.
     9   investigators if the quantity of drugs           9       If there is, I need it --
    10   ordered were expressed in dosage units rather   10            MR. NICHOLAS: Not the biggest
    11   than by the weight of the active ingredient.    11       point in the world. I was really just
    12             So Mr. Gitchel is clearly             12       bickering back and forth with you
    13   engaging with Mr. Zimmerman and there's a       13       because you said something, so I'm
    14   dialogue about what the DEA would like to see   14       going to --
    15   in these reports, correct?                      15            THE WITNESS: I don't want to
    16             MR. FULLER: Form.                     16       bicker. I just want to give you some
    17       A. I would agree, that's what this          17       facts.
    18   letter says.                                    18            MR. NICHOLAS: I know. I'm
    19   BY MR. NICHOLAS:                                19       self-correcting.
    20       Q. Okay. Now --                             20            THE WITNESS: I apologize if I
    21       A. Can I also just make a                   21       engaged in bickering.
    22   clarification?                                  22            MR. NICHOLAS: As do I.
    23       Q. Of course.                               23   BY MR. NICHOLAS:
    24       A. So when I look at this letter            24       Q. Look at the last -- the last
    25   and I read the content and I -- of what         25   sentence on the page, which says: We agree
                                               Page 99                                            Page 101
     1   Mr. Gitchel wrote, I just want to bring to       1   that it would be prudent to test this new
     2   your attention, and you may know that in '96     2   program before instituting it nationwide and
     3   the DEA had a DEA investigator's handbook,       3   concur with your suggestion to use the DEA
     4   and there was a clear statement in '96 of        4   Los Angeles division office for the beta
     5   what the expectation was of a suspicious         5   test.
     6   order report, and this particular -- if what     6             Do you see that?
     7   you're saying is you think that Mr. Gitchel      7       A. Yes. I see that's a statement,
     8   is accepting this, that would be in conflict     8   yes, sir.
     9   with that investigator's manual.                 9       Q. So -- well, you see it's a
    10       Q. That manual that you're talking          10   statement. Reading it, what do you think it
    11   about, that's not a publicly available          11   means?
    12   manual, right?                                  12       A. I think it means whatever this
    13       A. Well, I think it was released            13   new system that AmerisourceBergen is talking
    14   out to the public.                              14   about, or Bergen Brunswig Corporation is
    15       Q. I don't think all of it was.             15   talking about, and they're going to implement
    16   It was, in fact, as recently -- as recently     16   whatever they intend to give to the DEA,
    17   as this litigation, the plaintiffs' lawyers     17   Mr. Gitchel is telling them to run a test on
    18   tried to prevent the manual from being          18   the program before he institutes it
    19   produced in discovery, so I don't think the     19   nationwide, which is pretty typical guidance
    20   whole thing is public even now.                 20   that any registrant would receive from the
    21             MR. FULLER: That's not true.          21   DEA anytime that they're going to design a
    22       And actually, Cardinal did have a           22   system or change a system.
    23       complete version of the '96 manual          23             In my experience of doing
    24       that was in their production, as well       24   investigations and looking at records,
    25       as other defendants.                        25   companies generally always run some -- I

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     1   guess they call it beta test, but test the        1       A. Well, that's a correct
     2   system to make sure that it appears to be         2   statement, but at this same period, you have
     3   operating properly.                               3   to -- and I'm sure you know. You have to
     4             I say "appears" because, you            4   recall that there's these excessive purchase
     5   know, if it identifies suspicious orders in       5   reports that are being submitted to the DEA
     6   the new system, generally there should be         6   and the voluminous amounts of paper. Even
     7   some kind of due diligence that would tell        7   though I wasn't there in '96, I'm aware of
     8   them whether or not it's actually identifying     8   that.
     9   suspicious orders or it's not.                    9            So that just makes me wonder
    10        Q. Now, did you ever see this               10   what exactly this discussion is about. And I
    11   letter before?                                   11   just find it difficult to make comments on it
    12        A. I'm not sure. I remember the             12   with, you know, I'm not Mr. Gitchel, and I
    13   first letter. I'm not sure if I did or not,      13   don't know what Mr. Gitchel was trying to do
    14   sir.                                             14   with this letter.
    15        Q. Okay. And you don't think that           15            But I do agree that he wrote it
    16   these two letters were worth -- I mean, you      16   and that the words that are on this letter
    17   wrote, I don't know, eight, ten pages about      17   would appear to be Mr. Gitchel's.
    18   AmerisourceBergen in your report, and you        18       Q. We can at least agree on that
    19   talked about their program in 19- -- you         19   much.
    20   know, in the '90s going up to 2007.              20       A. Okay.
    21             You didn't think that this was         21       Q. And he is -- he's not just some
    22   worth talking about?                             22   guy. I mean, he's -- at this period of time
    23        A. No, sir.                                 23   he is the chief of the liaison and policy
    24        Q. Okay. That was your decision?            24   section of the Office of Diversion Control,
    25        A. Yes, sir.                                25   right?
                                               Page 103                                             Page 105
     1        Q. You don't remember this letter,           1       A. That's what the letter says.
     2   so you don't even know if you saw this one.       2       Q. Well, do you --
     3        A. Well, in reading the first                3       A. I have no reason to believe
     4   letter, I still believe there might be some       4   that he's not. But I don't know Mr. Gitchel
     5   other communications that start this              5   and this was obviously a little before my
     6   particular discussion off about just              6   time.
     7   facsimiles versus phone calls. Not that I'm       7       Q. Yeah.
     8   accusing you of not showing me all the            8       A. So I don't disagree that's what
     9   documents, but I had a recollection of some       9   the letter says.
    10   other documents.                                 10       Q. Now, what happened in your
    11             This one, I'll go back to my           11   knowledge -- I mean, did the DEA ever
    12   previous statement. I'm not really sure what     12   actually approve a new program or no? This
    13   Mr. Gitchel is discussing or approving.          13   new program? Or do you not know?
    14        Q. Well, it's clearly more than             14       A. I do not know.
    15   just facsimiles or phone calls that they're      15            Can I make a correction to
    16   talking about at this point, right?              16   something I testified earlier?
    17        A. I would have no disagreement             17       Q. Yeah.
    18   that there's discussions outside of that in      18       A. Without going to my report. I
    19   this letter.                                     19   believe there is a mention of the four-month
    20        Q. I mean, they're talking about            20   average and the fact that the DEA is working
    21   four-month, you know, analysis. They're          21   with or that AmerisourceBergen said they're
    22   talking about the content of the report.         22   working with the DEA, and if you'd like me to
    23   They're talking about a percentage. They've      23   go to my report, I can find that area.
    24   clearly gone beyond facsimile versus             24       Q. That's okay. Let's just -- I
    25   telephone, right?                                25   want to stick with --

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     1        A. Just -- you characterized that           1        Q. Okay. So --
     2   I ignored it, and I'm pretty sure that I have    2        A. And the next statement talks
     3   a section in my report about that.               3   about the four-month rolling average.
     4        Q. That talks about the four-month          4             So just a clarification that I
     5   average?                                         5   think you -- we had a discussion back and
     6        A. It mentions it, and I believe            6   forth that I discounted the information in
     7   it says that the AmerisourceBergen says that     7   that letter, so...
     8   they're working with the DEA in regards to a     8        Q. Okay. And so you don't know --
     9   new system that included a statement, the        9   so they worked from 1996 to 1998 you're
    10   four-month average. How about if I look at      10   saying in your report on this new program.
    11   my report now?                                  11        A. I think I'm saying that's what
    12        Q. No, you can go back -- your             12   Mr. Zimmerman is saying --
    13   lawyer can do that with you later. I have       13        Q. Oh, all right. Okay.
    14   another question.                               14        A. -- in his deposition.
    15             MR. FULLER: No, if you want to        15        Q. Well, now, good news, we have
    16        go to the report --                        16   letters that confirm it because we have
    17             THE WITNESS: Well, if --              17   letters that say it. We don't just have
    18             MR. NICHOLAS: No, no, no.             18   Mr. Zimmerman saying it anymore, correct?
    19             MR. FULLER: Hold on. You              19        A. I don't mean to be
    20        don't ask permission. You go to your       20   argumentative.
    21        report.                                    21        Q. Okay. The point is it really
    22             THE WITNESS: I'd like to              22   did happen because not only did he say it but
    23        clarify that, so...                        23   there was also correspondence that confirms
    24             MR. NICHOLAS: Okay. Well,             24   it, correct?
    25        looks like you and Mr. Fuller are          25        A. His statement?
                                              Page 107                                             Page 109
     1       taking over the questioning for a            1        Q. Yeah.
     2       minute, but...                               2        A. Yes, sir.
     3           MR. FULLER: Just like any                3        Q. Okay. Now, you don't know
     4       expert, he's allowed to go to his            4   whether the DEA -- whatever happened to this
     5       report if he wants to go to his              5   thing, right, whether the DEA ever approved
     6       report.                                      6   it or not, correct?
     7           MR. NICHOLAS: Of course.                 7        A. I have no knowledge, sir.
     8       You're going to be able to question          8             MR. NICHOLAS: Okay. Let's
     9       him at the end of this thing. You can        9        turn to Tab 20, Exhibit 3.
    10       question him to your heart's desire.        10             MR. FULLER: Thank you.
    11           (Document review.)                      11             (Whereupon, Deposition Exhibit
    12       A. So it's on page 82, the second           12        Rafalski-3, 7/23/98 Good Letter,
    13   paragraph.                                      13        ABDCMDL00315783, was marked for
    14   BY MR. NICHOLAS:                                14        identification.)
    15       Q. Okay.                                    15   BY MR. NICHOLAS:
    16       A. It says: During the time                 16        Q. Have you read it?
    17   period of 1998 through 2007, ABDC implemented   17        A. I have.
    18   a new method of calculating threshold.          18        Q. Okay. It's dated -- this is a
    19   Mr. Zimmerman -- this was part of his           19   letter dated, or at least stamped as
    20   deposition --                                   20   received, on July 23rd of 1998, so some time
    21       Q. Yeah, yeah.                              21   has passed since the last correspondence we
    22       A. -- stated ABDC worked on a               22   saw. And it's a letter from -- it's a letter
    23   threshold project with the DEA for a two-year   23   to Mr. Zimmerman.
    24   period from 1996 through 1998 to provide DEA    24             I should say for the record,
    25   with more accurate information.                 25   Mr. Zimmerman at this time was the director

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     1   of regulatory compliance and security            1       Q. Is there any doubt in your mind
     2   services for the Bergen Brunswig Corporation.    2   having read this letter that the DEA
     3   That's in his letterhead.                        3   explicitly and in writing approved Bergen
     4            And this letter is written and          4   Brunswig's suspicious order monitoring
     5   signed by Patricia M. Good, who is now at        5   program on a nationwide basis?
     6   this point in time the chief liaison and         6            MR. FULLER: Form, misstates
     7   policy section -- the chief of the liaison       7       the letter.
     8   and policy section for the Office of             8       A. Well, I think the content of
     9   Diversion Control.                               9   the letter is open to the interpretation of
    10            Do you see that?                       10   the reader. I just would go back to, you
    11        A. I see that.                             11   know, my experience with the DEA and in my
    12        Q. So I guess there was a change           12   training is that the DEA doesn't give
    13   in personnel, and Ms. Good is now in this       13   approval to systems, and that was the same
    14   position, correct?                              14   information that was consistent in the DEA's
    15        A. You could draw that conclusion          15   manual at this time that this letter was
    16   since she now signs as the chief, yes.          16   issued.
    17        Q. And do you know who -- do you           17            So -- but I do acknowledge the
    18   know her?                                       18   content of this letter.
    19        A. Just the name, sir, not                 19   BY MR. NICHOLAS:
    20   personally.                                     20       Q. The content of the letter says
    21        Q. Okay. So can you read the               21   that the DEA is issuing an approval of a
    22   first sentence of the letter?                   22   system, right?
    23        A. This is to grant approval of            23       A. Well --
    24   your request to implement on a nationwide       24            MR. FULLER: Form.
    25   basis your newly developed system to identify   25       A. I don't disagree that that's
                                             Page 111                                             Page 113
     1   and report suspicious orders for controlled      1   what this letter says when you read it.
     2   substances and regulated chemicals as            2   BY MR. NICHOLAS:
     3   required by the federal regulation.              3        Q. Yeah.
     4        Q. And read the second sentence.            4        A. Now, it doesn't say what the
     5        A. DEA managers who have been               5   system is. It doesn't give -- I mean, it's a
     6   involved with the testing of the system have     6   brief letter, but there -- I'm not going to
     7   relayed their positive opinions regarding its    7   dispute the -- grant approval of a request.
     8   ability to provide information in a fashion      8             I'm not sure -- I'll just leave
     9   which is not only useful overall but is also     9   it at that.
    10   responsive to the needs of individual DEA       10        Q. Do you know how long this -- so
    11   offices.                                        11   do you know how long this system that
    12        Q. You are not familiar with this          12   AmerisourceBergen received approval for on
    13   letter?                                         13   this date remained in place?
    14        A. I don't recall seeing this              14        A. Well, my report. We can go to
    15   letter, sir.                                    15   my report and I can tell you, if you like.
    16        Q. Can you read the next                   16        Q. It remained in place until
    17   paragraph, please. It's short.                  17   2007?
    18        A. We appreciate the efforts you           18        A. Well, let me confirm that.
    19   have undertaken to develop this improved        19        Q. No, you know something --
    20   system and apologize for the lengthy approval   20             MR. FULLER: No, no.
    21   process. It did not seem appropriate to         21             MR. NICHOLAS: I'm not asking
    22   grant this approval prior to the conclusion     22        you --
    23   of the Suspicious Order Task Force formed as    23             MR. FULLER: Counsel, you
    24   a result of the Methamphetamine Control Act.    24        asked. You asked. You asked the
    25   Thank you for your patience in this matter.     25        question.
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     1             MR. NICHOLAS: Counsel, I'm not         1   design a system that meets the regulatory
     2        asking him to confirm it. You can go        2   requirements, and it's not dependent on what
     3        back to it and he can do it later.          3   the DEA says, the guidance.
     4        I'm not running clock here like that,       4            Again, I'm not being
     5        so we can keep going and we will keep       5   argumentative. The letter speaks for itself,
     6        going.                                      6   but my opinion in regards is whether or not
     7             Just give me one second.               7   that system was an effective suspicious order
     8             THE WITNESS: Sure.                     8   system.
     9   BY MR. NICHOLAS:                                 9   BY MR. NICHOLAS:
    10        Q. Had you seen this letter before         10       Q. Are you saying that Ms. Good
    11   preparing your report, would you have viewed    11   and Mr. Gitchel should not have worked with
    12   it as relevant information to be included in    12   AmerisourceBergen on these issues?
    13   the report?                                     13       A. I'm not saying any diversion
    14        A. Well, the opinion that I was            14   investigator shouldn't work with a
    15   offered -- I was requested to make wasn't an    15   registrant. I worked with registrants during
    16   analysis of the DEA's actions; it was whether   16   my employment on a regular basis. I'm just
    17   or not the systems in place were effective.     17   saying that to give approval or comment, I
    18             So it wouldn't have changed my        18   see many problems to just the four-month
    19   opinion on whether the system utilized by       19   rolling average wouldn't have met -- I
    20   AmerisourceBergen met the regulatory            20   wouldn't say my standards. It wouldn't have
    21   compliances.                                    21   met the regulatory standards based on my
    22        Q. I didn't ask you whether this           22   experience in doing these cases.
    23   letter would change your opinion. I did ask     23            So I see a lot of issues with
    24   you whether, had you seen this letter, you      24   the letter, but the approval -- it's well
    25   would have thought it relevant for purposes     25   known that the -- from the day I started at
                                              Page 115                                             Page 117
     1   of inclusion in your report. That's my           1   the DEA it's drilled in that you just don't
     2   question.                                        2   approve suspicious order systems, so it's
     3        A. I'd like to just stay with my            3   just outside -- that letter is outside of any
     4   previous comment. Other than by including it     4   conduct that I've ever known for the DEA,
     5   or not including it, it wouldn't have changed    5   going back all the way to a communication I
     6   my opinion on whether the system utilized was    6   think I read in 1984. I think there was a
     7   effective or met regulatory compliance.          7   comment at that time from the policy liaison
     8        Q. So even though                           8   that said that the DEA doesn't approve
     9   AmerisourceBergen was running a program that     9   suspicious order systems, so...
    10   was approved by the DEA in 1998, it does not    10        Q. So Mr. Gitchel missed that part
    11   change the -- any -- it does not change your    11   of the manual and that part of the training?
    12   opinion in your report about                    12             MR. FULLER: Form. There's no
    13   AmerisourceBergen; is that right?               13        letter of approval from Mr. Gitchel,
    14             MR. FULLER: Form, misstates           14        Counsel.
    15        the document.                              15             MR. NICHOLAS: Let's start with
    16        A. Well, I'd like to go back to my         16        Mr. Gitchel.
    17   experience as a diversion investigator. It's    17        A. I don't know what Mr. Gitchel
    18   occurred in my cases, in a couple of my         18   did or didn't -- I mean, I know what the
    19   cases, where registrants have received an       19   communication said. I don't know what his
    20   opinion that approval of a system or comments   20   intentions are or what his approval and his
    21   on suspicious order systems that were not       21   letter of what he actually was approving.
    22   accurate or they probably shouldn't have        22   His letter is not clear to me that that
    23   received.                                       23   approval is of a suspicious order system.
    24             So I just would go back and say       24   BY MR. NICHOLAS:
    25   it's a requirement of AmerisourceBergen to      25        Q. How about Ms. Good's letter?
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     1   That's pretty clear, isn't it?                   1       A. Yes, sir.
     2       A. Yes, but it doesn't --                    2       Q. And he says that past
     3             MR. FULLER: Form.                      3   communications that could be construed as
     4             THE WITNESS: Sorry.                    4   approval should no longer be taken to mean
     5       A. It doesn't -- doesn't                     5   the DEA approves a specific system.
     6   clearly -- you know, it's two years later and    6            Do you see that?
     7   it doesn't clearly describe what system is in    7       A. Yes, sir.
     8   place there.                                     8       Q. So when he says that these
     9   BY MR. NICHOLAS:                                 9   communications should no longer be taken to
    10       Q. But you're saying she missed             10   mean that the DEA approves a specific system,
    11   the whole part about not -- the DEA not         11   do you agree that prior to this letter, such
    12   issuing any approvals also, right, because      12   communications were taken as approvals and
    13   she went ahead and did it?                      13   the DEA understood that?
    14       A. My knowledge of the content of           14            MR. FULLER: Form.
    15   the diversion manual and my training and the    15       A. Well, I'm not sure what
    16   documents I've read as far as DEA guidance, I   16   Mr. Rannazzisi knew or didn't know when he
    17   would say that that would be an accurate        17   composed the letter. My interpretation when
    18   statement, yes.                                 18   I read that is it's kind of just a
    19       Q. Okay. Before we leave that               19   notification to -- you know, to the industry.
    20   subject, you are familiar with the letters      20            I'm aware that -- in my
    21   that Mr. Rannazzisi wrote to registrants in     21   experience that oftentimes you're on-site or
    22   2006 and 2007, right?                           22   you're having contact with a registrant and
    23       A. Yes, sir, I am.                          23   the registrant makes -- this would be the
    24       Q. Okay. And I'm going to ask you           24   implicit -- would make some assumptions on
    25   just to take a look for a very limited          25   what you're saying or what you're approving
                                              Page 119                                             Page 121
     1   purpose right now at his December 27th, 2007     1   or if you don't find an error, that that --
     2   letter, which we'll mark, I guess, as            2   or a problem, that that means that it's
     3   Exhibit 4.                                       3   approval.
     4             (Whereupon, Deposition Exhibit         4             So the explicit, you know,
     5        Rafalski-4, 12/27/07 Rannazzisi             5   that's a different situation, so I -- I just
     6        Letter, ABDCMDL00269685 -                   6   think it's just a clarification. I'm not
     7        ABDCMDL00269694, was marked for             7   aware that he was specifically talking about
     8        identification.)                            8   any particular communication.
     9             MR. NICHOLAS: There you go.            9   BY MR. NICHOLAS:
    10             THE WITNESS: Thank you.               10       Q. It says should no longer be
    11   BY MR. NICHOLAS:                                11   taken.
    12        Q. And I'm really only going to            12       A. It does say that, yes, sir.
    13   ask you about the -- the last sentence of the   13       Q. Yeah. So that means that
    14   second full paragraph. You see it?              14   previously he knew that it was being -- that
    15        A. Yes, sir. Would you like me to          15   these -- that these communications were being
    16   read it?                                        16   taken as approvals, right?
    17        Q. Yeah.                                   17             MR. FULLER: Object to form.
    18        A. Past communications with DEA,           18       A. I don't know what he thought.
    19   whether implicit or explicit, that could be     19   BY MR. NICHOLAS:
    20   construed as approval of a particular system    20       Q. Okay.
    21   for reporting suspicious orders should no       21       A. Or if that was his intention
    22   longer be taken to mean that DEA approves a     22   with that statement, that he assumed that was
    23   specific system.                                23   occurring.
    24        Q. Now, Mr. Rannazzisi is writing          24       Q. Well, that's -- I'm just sort
    25   this letter to registrants in 2007, correct?    25   of going by the words. That's how it reads,

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     1   isn't it?                                        1       go another 45 minutes after that and
     2        A. That's how it reads, but as I            2       have lunch, if that's okay.
     3   testified to earlier, you know, I had several    3            THE VIDEOGRAPHER: Going off
     4   cases where there were comments made or there    4       the record, 11:34 a.m.
     5   was understandings made with contacts between    5            (Recess taken, 11:34 a.m. to
     6   registrants and companies where they believed    6       11:45 a.m.)
     7   that something was approved or was ordered of    7            THE VIDEOGRAPHER: We're back
     8   them, which was not accurate.                    8       on the record at 11:45 a.m.
     9             So I'm not -- but I'll just go         9   BY MR. NICHOLAS:
    10   back and say I'm not exactly sure what          10       Q. The DEA requires the retention
    11   Mr. Rannazzisi's intent was with that           11   of records to be for at least two years; is
    12   particular statement. Just it's clear           12   that correct?
    13   what -- moving forward what his intent was.     13            MR. FULLER: Form.
    14        Q. Now, Mr. Rannazzisi also sent a         14   BY MR. NICHOLAS:
    15   letter on September 27th of 2006 to the         15       Q. By policy?
    16   various registrants, and I'll just read it.     16       A. Well, by regulation --
    17   I don't even have to mark it. I can just        17       Q. By regulation.
    18   read one sentence from it and ask you whether   18       A. -- the requirement is -- and
    19   you agree with it, because it's just a          19   that two-year applies to required records.
    20   general statement.                              20   So within the CFR, there are certain records,
    21             The sentence that                     21   examples would be biannual inventories, order
    22   Mr. Rannazzisi wrote is: DEA recognizes that    22   forms. Any of the records that are in the
    23   the overwhelming majority of registered         23   records section of the CFR have a two-year
    24   distributors act lawfully and take              24   retention.
    25   appropriate measures to prevent diversion.      25            And there's a carve-out that if
                                             Page 123                                              Page 125
     1            Do you agree with that                  1   a state has a longer retention period, that
     2   statement that Mr. Rannazzisi made?              2   the registrant could be subjected to that,
     3            MR. FULLER: Form, outside of            3   but that two years only applies to those
     4       his scope.                                   4   certain records that are cited in the CFR.
     5       A. Can you read it one more time             5       Q. So -- but the carveout that
     6   for me?                                          6   you're talking about doesn't apply to
     7   BY MR. NICHOLAS:                                 7   suspicious order reports, right? That's
     8       Q. Yes.                                      8   within the two -- that's subject to the
     9            DEA recognizes that the                 9   two-year regulation?
    10   overwhelming majority of registered             10            MR. FULLER: Form.
    11   distributors act lawfully and take              11       A. No. The suspicious order
    12   appropriate measures to prevent diversion.      12   reports aren't part of the two-year
    13       A. Well, based on my work on this           13   retention.
    14   matter and my review of records and systems,    14   BY MR. NICHOLAS:
    15   which I didn't have any previous knowledge of   15       Q. They don't have to be retained
    16   previous to when I did that, I would probably   16   at all?
    17   disagree with that statement by                 17       A. Well, under my opinion, it
    18   Mr. Rannazzisi, in looking at the historic      18   would be they would be retained forever.
    19   failures by the companies to be in compliance   19       Q. Right, but, I mean, the
    20   with the suspicious order situation -- or       20   regulation doesn't require -- I understand
    21   regulation and just a general broad             21   that might be your opinion, but is there any
    22   maintenance of effective controls to prevent    22   regulation that says they have to be retained
    23   diversion.                                      23   for any length of time?
    24            MR. NICHOLAS: It's been --             24       A. I would say the maintenance of
    25       well, let's take a short break. We'll       25   effective controls to prevent diversion would
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     1   be applicable to say that they should retain     1   documents that have to be retained for at
     2   the suspicious order reports or any due          2   least two years?
     3   diligence related to them.                       3       A. I would say yes, under the
     4       Q. There are specific sections --            4   maintenance of effective controls, but I
     5   there are specific regulations that address      5   think there's not a lot of clarity on whether
     6   records retention, correct?                      6   that is essentially a required record.
     7       A. Yes, sir.                                 7       Q. Does the CFR identify due
     8       Q. And those --                              8   diligence documents as documents that are
     9            MR. FULLER: Form.                       9   required to be retained for at least two
    10   BY MR. NICHOLAS:                                10   years?
    11       Q. -- regulations identify the              11       A. I'm going to respond the same:
    12   categories of records that have to be kept      12   Under maintenance of effective controls, I
    13   and for how long, correct?                      13   think that requirement requires the retention
    14            MR. FULLER: Form.                      14   of due diligence records. The CFR doesn't
    15       A. The CFR does address that, but           15   speak specifically to a due diligence record,
    16   those are the required records. For example,    16   but that would be a record that would be
    17   there are some records that registrants keep    17   maintained within the requirement of that
    18   in the course of their business that aren't a   18   regulation.
    19   required record. So just so we're on the        19       Q. For at least two years?
    20   same understanding as to -- the two-year        20       A. Again, my opinion, they should
    21   retention is only under those required          21   be kept permanently.
    22   records; dispensing records for a dispensing    22       Q. No, I'm not asking about your
    23   doctor, two-year retention; biannual            23   opinion. I'm asking under -- what the
    24   inventories, order forms, those are all part    24   requirement is under the law as you
    25   of the required records.                        25   understand it.
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     1   BY MR. NICHOLAS:                                 1        A. Under the regulation as I
     2       Q. So the things we're talking               2   understand it --
     3   about now, suspicious order reports or due       3        Q. Yeah.
     4   diligence documents, are not part of the         4        A. -- it doesn't speak
     5   kinds of records that are required to be         5   specifically to due diligence records. So
     6   retained under the CFR and the regulations?      6   I -- a two-year retention -- if a registrant
     7       A. Well --                                   7   was to review the CFR, there's no mention of
     8       Q. That's a yes or a no.                     8   a due diligence record, so I would say it's
     9            MR. FULLER: Object to form.             9   not two years.
    10       He's already testified they were.           10            But again, I'd just restate
    11            MR. NICHOLAS: That's not what          11   that I would see no reason why they wouldn't
    12       he said.                                    12   retain them indefinitely.
    13            Go ahead.                              13        Q. Okay. I just want to go back
    14            THE WITNESS: So could you              14   for one second to when you said several times
    15       restate the question? I'm sorry.            15   that -- you talked about your understanding
    16   BY MR. NICHOLAS:                                16   about how the DEA -- or your belief that the
    17       Q. Does the CFR or its regulations          17   DEA does not -- has never given approvals of
    18   require in writing and as identified            18   suspicious order monitoring systems, and you
    19   suspicious order reports?                       19   said that the manual said you're not supposed
    20            MR. FULLER: Form.                      20   to and all that.
    21            MR. NICHOLAS: I'll ask it              21            When did you start at the DEA?
    22       again. It was a crappy question.            22        A. 2004.
    23   BY MR. NICHOLAS:                                23        Q. Okay. When you refer to the
    24       Q. Does the CFR identify                    24   manuals, to the Diversion Control Manual, you
    25   suspicious order reports as among the           25   were referring to a manual that you read in

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     1   2004, right? Or after.                            1   communication on page 32 of my report.
     2       A. Well, I -- I was also referring            2   BY MR. NICHOLAS:
     3   to the manual that I read as part of my           3        Q. Okay. Hold up. Yeah.
     4   opinion in 1996, and my -- and my opinion on      4             I just want to know -- I mean,
     5   the suspicious orders on approval, it's           5   all I really wanted to know is did you put in
     6   broader than just the manuals. Multiple           6   your report that Mr. Gitchel said in 1984
     7   trainings, my witnessing of a distributor         7   that the DEA doesn't approve --
     8   briefing, the comments made in the training       8        A. No, I think I may have
     9   provided; also, my review of communication        9   misspoke. I think it was in regards to
    10   that I believe Mr. Gitchel made in 1984 where    10   stopping shipments of --
    11   he made that statement.                          11        Q. Okay.
    12            So -- plus my on-the-job                12        A. -- orders.
    13   training, my -- there's never been a time        13        Q. Okay. All right. That's fine.
    14   where I can ever remember that DEA -- there      14        A. That's why I wanted to review
    15   was a comment made to me that the DEA had        15   my report, to make sure.
    16   approved suspicious order systems.               16        Q. This was an instance where you
    17       Q. Wait, you reviewed a statement            17   reviewed your report and found something --
    18   that Mr. Gitchel made in 1984?                   18   and found something that I agree -- supported
    19       A. I don't know if it was a                  19   my point, so that's good. I should let you
    20   statement. He made -- I believe he was the       20   review your report more often.
    21   one who made a written comment to NWDA in        21        A. Yeah, you tried to stop me.
    22   regards to a suspicious order reporting          22   But I just want to be factually correct.
    23   program that was worked on way back then, and    23   It's an important subject.
    24   he made a comment about not being able to        24        Q. I appreciate it.
    25   approve any specific.                            25        A. And I had a recollection that
                                               Page 131                                             Page 133
     1       Q. Is that in your report?                    1   that was discussed, but it was about stopping
     2       A. I believe it is.                           2   an order, so...
     3       Q. Okay. No, no --                            3       Q. All right. So since we are
     4       A. No, I'd like to talk to you                4   talking about sort of what -- since you just
     5   about it.                                         5   sort of brought up the shipping requirement.
     6       Q. I just want to know if it's in             6       A. Yes, sir.
     7   your report.                                      7       Q. First of all, just so the -- so
     8       A. Yeah, but --                               8   we've got it on the record, what do you
     9       Q. Is it -- that's a yes or no.               9   understand -- it's a weird word, because it's
    10   You can check to see if it's in your report,     10   a shipping requirement, but it really -- it's
    11   yes or no.                                       11   a reference to not shipping.
    12       A. Well, let me review my report.            12            So can you just explain what
    13            MR. NICHOLAS: It's a 200-page           13   the shipping requirement is to your
    14       report. We can go off the record and         14   understanding?
    15       stop the clock running during this           15       A. Well, first, I've never --
    16       review.                                      16   there's never really been a formal term. A
    17            MR. FULLER: No, we need to              17   shipping requirement, I don't know if that's
    18       stay on the record.                          18   an industry term or just somehow got created,
    19            (Document review.)                      19   but it never was referred to as just a
    20            MR. FULLER: I think it's on             20   shipping requirement.
    21       page 32.                                     21            I mean, it's -- it's the mere
    22            THE WITNESS: I'm getting                22   fact that when a company uses a suspicious
    23       there. I don't want to waste time.           23   order system and identifies a suspicious
    24            (Document review.)                      24   order, they don't ship that order until they
    25       A. So I discussed that                       25   dispel the suspicion about it and whether or
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     1   not it's going to be diverted to ensure that     1       A. So I think the discretion on
     2   gets properly distributed.                       2   whether to ship or not ship is solely the
     3        Q. Okay. So let me ask a couple             3   decision of the distributor. The DEA doesn't
     4   of basic questions here.                         4   inform a distributor if or when to ship an
     5             Does the CFR or the regulations        5   order or not to ship an order. So the answer
     6   related to the CFR on this subject say           6   to that would be yes.
     7   anywhere that there is a requirement that        7       Q. And if a distributor asks the
     8   distributors not ship suspicious orders?         8   DEA -- if the distributor came to the DEA and
     9        A. I think they give guidance to            9   said, we've got this order, we have questions
    10   distributors under the maintenance of           10   about it, should we ship it or not ship it,
    11   effective controls. Only saying that because    11   the DEA won't answer that question?
    12   if a distributor discovers a suspicious         12       A. So I'm not sure that I'm
    13   order, to ship it without dispelling the        13   comfortable speaking for the entire DEA, but
    14   suspicion, that kind of violates the            14   how I'd like respond to that is through my
    15   maintenance of effective controls.              15   experience and what has occurred in the past.
    16             So I don't want to say it's           16            So there may be a time when you
    17   just a commonsense interpretation, but to       17   receive a call from a registrant that may ask
    18   identify something suspicious that is           18   a question like that or a similar question,
    19   suspicious of diversion and then just           19   so generally, you can -- first, I would
    20   shipping it without stopping it and             20   always state there's two -- two situations,
    21   dispelling it, that's at the core of that       21   and we're just going to talk about suspicious
    22   regulation.                                     22   orders -- or, I mean, about distributions.
    23        Q. Does the --                             23            And first, I'll always state
    24        A. And the law.                            24   that I can't tell a distributor when to ship
    25        Q. Does the regulation say                 25   or not to ship, but I may ask a lot of
                                              Page 135                                             Page 137
     1   anything about ship -- does the regulation in    1   questions of the distributor that makes it
     2   words, words, say anything about shipping?       2   easier for them to make that decision.
     3       A. No, in words, the regulation              3        Q. Okay.
     4   does -- and just the --                          4        A. Now, that's my personal
     5       Q. It does or does not?                      5   experience. I'm not speaking that the entire
     6       A. It does not say the word                  6   DEA does that.
     7   "shipping."                                      7        Q. Now, you spent some time in
     8       Q. Okay.                                     8   your report talking about the Masters
     9       A. But again, I go back to the               9   decision; is that correct?
    10   maintenance of effective controls, and          10        A. Yes, sir.
    11   secondly, it's been since the day I started     11        Q. That decision came out in 2017,
    12   at DEA, that's been the interpretation of the   12   correct?
    13   DEA, and I think there's been several           13        A. Yes, sir. Right after I
    14   communications, Mr. Rannazzisi's letters.       14   retired.
    15       Q. Okay.                                    15        Q. Although you were on the team
    16       A. All the way back -- now I can            16   that investigated Masters, right?
    17   go back to Mr. Gitchel's letter in 1984,        17        A. I was. There was no team. It
    18   about stopping an order because that was the    18   was just me.
    19   topic that I discussed -- that I confused on    19        Q. Well, then, I want to say
    20   your earlier question.                          20   there's no I in team, but somehow that
    21       Q. Do you -- is it your testimony           21   doesn't quite fit, but I'd like to say it
    22   that the decision as to whether to ship or      22   anyway.
    23   not to ship an order that's been reported to    23        A. Well, I would say that there's
    24   the DEA is left to the discretion of the        24   always another investigator with me, but it
    25   distributor?                                    25   was my case.
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     1       Q. Okay. Now, Masters, your                  1   way that the interpretation is moving
     2   investigation of Masters was of                  2   forward. I believe that's the way the
     3   Masters Pharmaceutical, correct?                 3   interpretation of the regulations always was,
     4       A. Yes.                                      4   always was in place.
     5       Q. It was not -- you were not                5       Q. But the issue in Masters was
     6   investigating any other distributors in          6   Masters's compliance with its own policies
     7   connection with that, correct?                   7   and procedures, right?
     8       A. No, that's not actually a                 8            MR. FULLER: Objection, form,
     9   correct statement. I would disagree with the     9       misstates the case.
    10   statement. During the course of that            10       A. Well, it's at the core of one
    11   investigation, there were some -- they call     11   of the issues or at the core of the
    12   them gray distributions. I don't know, maybe    12   administrative hearing.
    13   that's an internal DEA. So that would be        13   BY MR. NICHOLAS:
    14   distributions from Masters to other             14       Q. Masters came out in 2017. Did
    15   distributors.                                   15   I ask you that already?
    16            So I -- you know, that didn't          16       A. It did. I think it was the
    17   lead me personally to investigate other         17   week after I retired.
    18   distributors, but it did -- it did cause me     18       Q. That's right. You said that
    19   to make notifications about other -- to other   19   too.
    20   offices about other distributors.               20            Now, when the Masters decision
    21       Q. You did not -- my question to            21   came out, do you recall that the industry was
    22   you was: You were only investigating            22   confused by the decision?
    23   Masters Pharmaceutical, right?                  23            MR. FULLER: Form. How would
    24       A. Yes, sir.                                24       he know?
    25       Q. Okay.                                    25       A. I'm not aware of any
                                              Page 139                                                    Page 141
     1       A. That was the assignment of the            1   information that would make that a true
     2   investigation.                                   2   statement.
     3       Q. All right.                                3              MR. NICHOLAS: Okay. We'll
     4       A. Maybe I misunderstood your                4         mark as our next exhibit, Exhibit 5.
     5   question. I didn't want you to think that I      5              (Whereupon, Deposition Exhibit
     6   didn't look at any distributions of other --     6         Rafalski-5, 2/6/18 Nicholson Letter,
     7   to other distributors or --                      7         MCKMDL00561146 - MCKMDL00561147, was
     8       Q. And Masters, the company,                 8         marked for identification.)
     9   ultimately challenged the DEA's findings from    9   BY MR. NICHOLAS:
    10   your investigation, right?                      10         Q. And while you're looking at it,
    11       A. Yes, they did.                           11   I'll just say for the record, this is a
    12       Q. And in so doing, they took the           12   letter dated February 6th of 2018 to Demetra
    13   case up to the D.C. Circuit, right?             13   Ashley, the acting assistant administrator
    14       A. Yes, sir.                                14   for Diversion Control Division of the DEA.
    15       Q. And the case before the                  15              It is written -- it is signed
    16   D.C. Circuit was about Masters's system         16   by Kevin Nicholson, the vice president for
    17   alone, right?                                   17   policy -- public policy and regulatory
    18       A. Well, I think the factor that            18   affairs for the National Association of Chain
    19   caused it to go to the D.C. court was           19   Drug Stores.
    20   Masters's system and their use of the system,   20              (Document review.)
    21   but I think to me, or more importantly, I       21         A. Okay. I've read the letter.
    22   believe, to the DEA, I think it was a           22   I've also read this previously.
    23   reiteration of what the expectations were of    23   BY MR. NICHOLAS:
    24   registrants, and because sometimes I see some   24         Q. Okay. Does this refresh your
    25   commenting that that was the -- that's the      25   memory or cause you to want to change your

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     1   answer about the question of whether industry    1       basing it on information that you
     2   was confused by the Masters decision?            2       gained from this litigation and not
     3            MR. FULLER: Form.                       3       your work at the DEA.
     4        A. No, it does not.                         4   BY MR. NICHOLAS:
     5   BY MR. NICHOLAS:                                 5       Q. So you're unaware of this; is
     6        Q. Okay. Can you look at the                6   that right?
     7   first paragraph, the second sentence, from       7       A. That they were working on the
     8   the second sentence to the end.                  8   regulation?
     9        A. Starting with "The National"?            9       Q. Yeah.
    10        Q. Yeah.                                   10       A. Well, I don't have any direct
    11        A. Like me to read it?                     11   recollection that someone told me that the
    12        Q. Yeah, that would be great.              12   DEA is working on this particular regulation,
    13        A. The National Association of             13   but at the DEA, up in policy, and they're
    14   Chain Drugstores (NACDS), respectfully          14   always working on regulations, and it's not
    15   request that DEA promulgate regulations to      15   something that's communicated to the field.
    16   affected registrants regarding their            16   So I just -- I don't really have any
    17   suspicious order monitoring regulatory          17   knowledge whether they were or weren't.
    18   obligations in light of the Masters decision.   18       Q. Well, in your review of all the
    19            We are aware that the DEA has          19   documents in this case, the documents that
    20   been working on regulations to clarify          20   you were provided, did you see either a
    21   registrants' responsibilities under             21   report from the GAO or a summary of a report
    22   21 CFR 1301.74(b).                              22   from the GAO concerning diversion control
    23            We believe the D.C. Circuit's          23   matters?
    24   ruling in the Masters case necessarily          24       A. I believe I did.
    25   increases the urgency of DEA's promulgation     25       Q. Do you recall that the GAO
                                              Page 143                                             Page 145
     1   of guidance concerning affected registrants'     1   specifically recommended that the DEA revise
     2   suspicious order monitoring responsibilities.    2   the regulation -- revise the regulation
     3        Q. Are you aware that the DEA has           3   pertaining to suspicious orders to provide
     4   been working on regulations to clarify           4   greater clarity?
     5   registrants' responsibilities under              5       A. I don't really want to speak on
     6   21 CFR 1301.74(b)?                               6   that document. Do you have a copy?
     7        A. I did review either a document           7       Q. I do. But right now I want to
     8   or a deposition, and I don't recall of which,    8   know whether you remember it.
     9   that spoke to this, and I believe there was      9       A. Well, no. Well, I don't
    10   one document that indicated they were, but      10   remember that -- I remember the document. I
    11   another document or a deposition which          11   don't remember that specific statement. And
    12   indicated they no longer were.                  12   I don't know that it addressed back to 2015
    13             So I guess that's kind of an          13   unless we've moved from the previous
    14   ambiguous answer, but if you were to ask me     14   question, so...
    15   what I believe is occurring right now, I do     15       Q. Do you recall that the GAO had
    16   not believe they're working on changing         16   three specific recommendations that it issued
    17   1301.74(b). That would be my opinion.           17   to the DEA on the topic of improving
    18        Q. Are you aware that for a period         18   communication with registrants and industry?
    19   of time from 2015 to 2019, they were working    19   Do you recall that?
    20   on a revision to the regulation?                20       A. I remember there were
    21             MR. FULLER: Form.                     21   recommendations.
    22        A. I'm not aware of that.                  22       Q. Do you remember that there were
    23             MR. FULLER: Form. And as far          23   three of them, only three of them?
    24        as the Touhy compliance, let's just        24       A. No, sir.
    25        make sure, Mr. Rafalski, that you're       25       Q. And do you remember that one of

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     1   the three was to revise the regulation           1   More DEA information about registrants'
     2   pertaining to suspicious order reporting in      2   controlled substances roles could improve
     3   order to provide greater clarity?                3   their understanding and help ensure access.
     4        A. I'd like to see the document.            4             That's the heading of the
     5   I don't have independent recollection of that    5   document.
     6   statement.                                       6       A. Uh-huh.
     7        Q. Okay. Let's see if I can find            7             MR. FULLER: For the record,
     8   it.                                              8       it's not the actual GAO report,
     9            Before we look at it, if indeed         9       correct?
    10   the GAO -- I think GAO stands for Government    10             MR. NICHOLAS: No, it's a
    11   Accounting Organization; is that right?         11       website summarizing aspects of the
    12   Government --                                   12       report.
    13        A. Accountability.                         13             MR. FULLER: Got it. Thanks.
    14        Q. -- Accountability --                    14   BY MR. NICHOLAS:
    15        A. Office.                                 15       Q. And this is dated May of 2019,
    16        Q. -- Office. I should know these          16   so I don't want to misrepresent that this is
    17   things.                                         17   a document that came out in 2015, although
    18            If that was the GAO's -- and           18   that document is -- that date is on here, but
    19   what is the Government Accountability           19   this I believe was run off on May of 2019.
    20   Office's job? Do you know?                      20             And if you go to the second
    21        A. Kind of exactly what it says.           21   page, and the second recommendation, the
    22   They're tasked with -- and I don't know what    22   recommendation reads as follows: In order to
    23   initiates them to come in and do an             23   strengthen DEA's communication with and
    24   accountability study, whether it's a            24   guidance for registrants and associations
    25   directive from the legislature or how they go   25   representing registrants as well as
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     1   about doing an accountability, but they come     1   supporting the Office of Diversion Control's
     2   in to organizations within the government and    2   mission of preventing diversion while
     3   evaluate topics at the -- I'm just not sure      3   ensuring an adequate and uninterrupted supply
     4   at the request of who. Maybe the document        4   of controlled substances for legitimate
     5   would say that.                                  5   medical needs, the deputy assistant
     6        Q. So in this case they did an              6   administrator for the Office of Diversion
     7   accountability study of the DEA, correct?        7   Control should solicit input from
     8        A. I do remember that they did a            8   distributors or associations representing
     9   study, and I think it was on the -- I don't      9   distributors and develop additional guidance
    10   think it was specific to this particular        10   for distributors regarding their roles and
    11   topic. I think it was of the organization.      11   responsibilities for suspicious order
    12            My recollection -- well, I             12   monitoring and reporting.
    13   don't want to speak about my recollection if    13            Do you see that?
    14   we could just use the document.                 14       A. Yes, I do.
    15        Q. Okay. Let's just take a look            15       Q. Okay. And the comment that the
    16   at it.                                          16   DEA provided in response to that
    17            (Whereupon, Deposition Exhibit         17   recommendation was as follows: In
    18        Rafalski-6, 5/10/19 GAO Publication on     18   February 2018, DEA reported that the agency
    19        Prescription Drugs [No Bates], was         19   had reviewed and revised the current
    20        marked for identification.)                20   regulation regarding suspicious orders and
    21   BY MR. NICHOLAS:                                21   that the revised draft rule was undergoing
    22        Q. What I'm going to show you is           22   internal DEA review. DEA reported in August
    23   something from the GAO's website, actually,     23   of 2018 that they anticipated sending the
    24   and you can just -- we can identify it. Just    24   draft rule to the Department of Justice's
    25   the heading of it is Prescription Drugs:        25   Office of Legal Policies by the end of the

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     1   first quarter of fiscal year 2019.               1   provided it to the NACDS. I know it seemed a
     2            We plan to continue to monitor          2   little unusual that they were having
     3   the agency's efforts in this area and this       3   individual meetings with registrants, doing
     4   recommendation remains open.                     4   distributor briefings. They do conferences,
     5            So you see that?                        5   industry conferences.
     6        A. I see that.                              6             And it's been my knowledge and
     7        Q. So it's clear from this that             7   my experience that any registrant that
     8   the -- that the DEA was, in fact, for some       8   requests a meeting with the DEA at
     9   period of time working on revising the           9   headquarters, they're always provided. Maybe
    10   regulation pertaining to suspicious orders,     10   not as timely as they'd like, but I'm not
    11   correct?                                        11   aware of the DEA just refused to ever meet
    12        A. Well, when you read this, I             12   with anyone.
    13   mean, that's the assumption you would make.     13             Now, I'm a little concerned
    14   I'm not aware of any changes or how they        14   because I don't really in my experience deal
    15   change it. And it doesn't influence my          15   with organizations that aren't registrants.
    16   opinion on what the responsibilities were in    16   I'm a little cautious about -- or in the DEA
    17   regards to my report or what the requirements   17   realm of dealing with -- I don't know if this
    18   of the regulation were all the way back till    18   is a lobbying group or if it's just a trade
    19   it came into place in 1971.                     19   association, that they would make comments to
    20        Q. Well, we have a -- we just              20   trade associations when I think they would
    21   looked at a letter from the National            21   rather directly deal with registrants, so...
    22   Association of Chain Drug Stores in which       22        Q. Is it significant to you in any
    23   that organization, on behalf of various chain   23   way that the DEA, for a period of several
    24   drug stores, expressed a desire for greater     24   years, worked on revising the regulation
    25   clarity in the regulation.                      25   pertaining to suspicious order reporting and
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     1           You saw that, right?                     1   monitoring? Is it significant to you in any
     2        A. Yes, sir.                                2   way?
     3        Q. Okay. And now we have the GAO            3       A. In a broad answer to that
     4   acknowledging -- I'm sorry, we have the DEA      4   question, I think the DEA should always be
     5   acknowledging in response to a recommendation    5   looking at and evaluating regulations and how
     6   from the GAO that they are, in fact -- that      6   they affect the industry, not just a
     7   they were, in fact, working on a revision to     7   suspicious order system.
     8   the regulation, correct?                         8             In regards to how they were
     9        A. That's what that says, yes,              9   going to change it or what new statement they
    10   sir.                                            10   were going to make, I have no awareness of
    11        Q. Okay. And do you know whatever          11   that, but I would hope that the DEA or any
    12   became of that revised regulation, proposed     12   governmental organization wouldn't just have
    13   revised regulation?                             13   regulations that they just allow to remain
    14        A. I don't have any direct                 14   static if they, you know -- I would hope
    15   knowledge or recollection or anyone has ever    15   they're always under review.
    16   told me what the status was of that             16       Q. Well, this regulation had
    17   regulation, but I'd just like to reiterate,     17   remained the same in language since 1974?
    18   whether or not the regulation has changed or    18       A. '1.
    19   going to be changed, it doesn't change my       19       Q. '1, '71?
    20   opinion because -- because of that, of what     20       A. 1971.
    21   was required of these companies during the      21       Q. So not one word of it had been
    22   timeline of my report.                          22   changed from 1971 until the present -- until
    23           I would say that I think the            23   the present, correct?
    24   DEA was providing a lot of communication to     24       A. Well, it's my opinion there's a
    25   the industry, and I -- I don't know that they   25   reason for that, and --
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     1        Q. So I'm just asking you whether           1   there's a one-size-fits-all.
     2   it's correct that it hasn't changed since        2            I think there's some
     3   1971.                                            3   expectations of the regulation, but I hope
     4        A. Well --                                  4   that my experience, again -- I keep harkening
     5        Q. Has it changed since 1971?               5   back -- is that industry has always been
     6        A. It's exactly the same as 1971.           6   asking for just what is a system and design
     7   And I'd like to just reiterate --                7   it. And that's not possible because there's
     8        Q. You can, but wait a minute.              8   so many different types of businesses and
     9   Hold on.                                         9   types of customers. It's got to be tailored
    10             And do you believe that it is         10   to the company's business.
    11   appropriate to update that language?            11       Q. And the customers change, the
    12             MR. FULLER: So object to the          12   customers' businesses change, the hospitals
    13        form of the last question prior to         13   and the doctors change. All that stuff is
    14        this and cutting off the witness. He       14   constantly changing, correct?
    15        has a right to finish his answers, and     15       A. That's exactly my point.
    16        let the record reflect that the            16       Q. Yeah.
    17        answers are incomplete as taken.           17       A. It's never a static industry.
    18             MR. NICHOLAS: Understood.             18   The types of diversion change, the types of
    19             THE WITNESS: Could you state          19   drugs change, and to make a regulation that
    20        your -- this question one more time,       20   would be very restrictive would probably
    21        please? I'm sorry.                         21   cause diversion.
    22   BY MR. NICHOLAS:                                22            MR. NICHOLAS: We'll just do
    23        Q. Do you believe that it is               23       one more segment here and then we can
    24   appropriate to update the language of the       24       break for lunch.
    25   regulation?                                     25            MR. FULLER: Sure.
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     1        A. I think I stated that in my              1   BY MR. NICHOLAS:
     2   previous answer. Of this regulation or any       2       Q. Now, you talked a few minutes
     3   regulation?                                      3   ago about what you referred to as the DEA
     4        Q. This one.                                4   distributor initiative briefings?
     5        A. No, I think the regulation is            5       A. Yes, sir.
     6   fine exactly as it stands.                       6       Q. Okay. And you also talk about
     7        Q. And would you continue to say            7   those in your report; is that right?
     8   that if you understood that both industry and    8       A. Yes, sir.
     9   people within the DEA have expressed             9       Q. Okay. And in your report, if I
    10   confusion about the meaning of the language?    10   have this correct, you refer to DEA
    11        A. Well, I'm only speaking from my         11   distributor initiative briefings in 2005 and
    12   experience and conducting my investigations     12   2006 and in 2017; is that right?
    13   in dealing with registrants, and I guess        13            I'm not sure that you refer to
    14   sometimes when I look at that regulation and    14   any others. I don't believe you do.
    15   if I thought I had the role of being a          15       A. What -- what part specifically
    16   distributor or a manufacturer, I would want     16   are you...
    17   it to be as nonrestrictive and broad as         17       Q. You know, I don't have -- I
    18   possible to design the best system based on     18   don't have a page number for you in your
    19   the type of company that I had and the scope    19   report. How about if we do it from memory,
    20   of my business model and who my customers       20   and then if you want to look at your report,
    21   were.                                           21   you can.
    22            So I think changing the                22       A. No, I'm not comfortable. I
    23   regulation is a -- I hope that if it is         23   might get a detail wrong.
    24   changed, that it takes that into                24       Q. All right.
    25   consideration because I don't really think      25       A. So if you're talking about the
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     1   actual briefings that occurred, they were        1   corrected myself. I -- I don't want to say I
     2   specific to -- specific to some of the           2   didn't see much value in it. I just --
     3   companies, and there was one that occurred in    3       Q. After 20 pages?
     4   2017.                                            4       A. No, I read it a lot longer than
     5             There's -- in my report or in          5   20 pages.
     6   my personal knowledge, I know that they          6       Q. Wait. Did you read it a lot
     7   continued on long after 2005, and they went      7   longer than 20 pages? Did you read 20 pages?
     8   for some period. There was a couple years,       8   Did you read a little longer? Do you not
     9   two or three years, where they stopped and       9   know?
    10   then resumed.                                   10       A. I'm not exactly sure how long.
    11       Q. Why did they stop?                       11   I know I didn't read it to conclusion. I
    12       A. I never was aware they did               12   don't really have an explanation. I just was
    13   until working on this case, or actually, I      13   in the middle of finalizing or working on my
    14   don't know that I ever saw -- let me retract    14   report. I just didn't see -- I don't want to
    15   that.                                           15   say a lot of value in it because everything
    16             I think it was in a deposition        16   has value, but I just -- I don't know why. I
    17   that I -- there may have been a discussion      17   just didn't complete reading it.
    18   where they had stopped for a period of years,   18       Q. So you didn't see her
    19   and I'm not sure why.                           19   discussion in the deposition about the fact
    20       Q. Well, did you read about why?            20   that these distributor initiative briefings
    21   I mean, when you read about it, did you read    21   were stopped for a period of time and why?
    22   any explanation as to why, in whatever you      22       A. I don't recall that in her --
    23   read?                                           23   that I read that in her deposition. If you
    24             What did you read?                    24   were just asking me to give a recollection, I
    25       A. I read that they had stopped             25   would think it was Mr. Prevoznik's, but I'm
                                             Page 159                                             Page 161
     1   doing it for a period of years and then          1   not sure.
     2   resumed them, but I don't remember what the      2        Q. Well, do you recall what
     3   reason was stated.                               3   Mr. Prevoznik's explanation was, was that
     4        Q. Do you remember who said that?           4   they were stopped for a period of time
     5        A. I don't want to guess, no, sir.          5   because of pending litigation?
     6        Q. Okay. And you don't remember             6            Do you recall that?
     7   any reason being given?                          7        A. I don't remember the
     8        A. Well, I don't remember reading           8   litigation. I thought maybe it said
     9   any reason being given. I don't -- I'm not       9   investigations or some kind of pending
    10   sure whether there was a reason.                10   matter, but I don't remember that it was
    11        Q. Did you -- I believe you told           11   litigation.
    12   us earlier that you only reviewed about 20      12        Q. Well, I'll represent to you
    13   pages of Demetra Ashley's deposition.           13   that he actually said litigation.
    14             Do you recall saying that this        14        A. Okay.
    15   morning?                                        15        Q. Does that seem appropriate to
    16        A. Yeah, I think I might have              16   you?
    17   corrected it and said or a few more, but I      17        A. That they suspend them for
    18   don't recall reading it all the way to          18   litigation purposes?
    19   conclusion.                                     19        Q. Yeah. Yeah.
    20        Q. Why not? Why didn't you read            20            MR. FULLER: Object to form.
    21   it all the way to -- what was -- why did you    21        A. I don't know what the
    22   decide to stop reading that deposition after    22   litigation was, so I don't really have a
    23   20 or so pages?                                 23   comment on that.
    24        A. Well, I think I said -- I               24   BY MR. NICHOLAS:
    25   didn't say the definitive amount. I think I     25        Q. Well --
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     1       A. I guess that's Mr. Prevoznik's            1             So you -- you came up with
     2   issue to comment on.                             2   these five methodologies?
     3            I'm not sure, under my                  3        A. Yes, sir.
     4   authorization from the DEA, if I even knew I     4        Q. Okay. And tell me -- tell me
     5   could comment on that.                           5   why you chose these five methodologies. I
     6       Q. In your report -- and you can             6   think you started to do it, but just go ahead
     7   turn to the pages if you want. Starting on       7   and explain it to me.
     8   page 40, you make reference to five different    8        A. Well, because these are
     9   methodologies that address the issue of the      9   methodologies that were used by one or more
    10   number of suspicious orders that were and       10   companies in my report, during the time frame
    11   weren't reported in the Track 1                 11   of my report. Each one of these were not
    12   jurisdictions, correct?                         12   invented by me, but they were actually used.
    13       A. I think I report dosage amounts          13        Q. Okay. Can you -- let's start
    14   based on the methodologies.                     14   with the first one. Methodology A is maximum
    15       Q. I'm sorry. I'm sorry. I                  15   monthly trailing six-month threshold.
    16   apologize. Dosage amounts.                      16             Can you explain to me what you
    17            So we're talking about the             17   were trying to express here?
    18   number of -- however you want to describe it,   18        A. Well, this is the Masters case
    19   the number of pills or the number of dosage     19   methodology.
    20   amounts of pills that are going into these      20        Q. Okay.
    21   jurisdictions over a period of time; is that    21        A. Or I shouldn't say methodology.
    22   right?                                          22   This is their suspicious order system. So
    23       A. Yes, based on that particular            23   it's a rolling six-month, and it looks for a
    24   methodology.                                    24   current month that exceeds the highest
    25       Q. Okay. Well, you say that                 25   previous amount in the six months.
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     1   particular methodology. You used -- you          1       Q. Okay. And so when you refer to
     2   referenced five methodologies, correct?          2   flagged orders, you've got -- you know, your
     3       A. Yes, sir.                                 3   top column, it's a grid.
     4       Q. Okay. Did you figure out those            4       A. Yep.
     5   methodologies yourself, or did Mr. McCann do     5       Q. And from left to right, across
     6   that?                                            6   the top, first it's the name of the
     7       A. No, those are mine based on --            7   distributor. Then it says: Flagged orders
     8       Q. These five methodologies are              8   of oxycodone (dosage units). Then it says:
     9   yours?                                           9   Flagged orders of hydrocodone (dosage units).
    10       A. Yes. Well, they are                      10            Let's just take
    11   methodologies that are mirroring suspicious     11   AmerisourceBergen, since this is the first
    12   order systems that are utilized by one or       12   one.
    13   more companies in my report.                    13       A. Okay.
    14       Q. Okay. So did you -- you put              14       Q. Okay. Go down to orders of
    15   these -- did you put these charts together      15   oxycodone (dosage units), and then it says
    16   yourself?                                       16   the number, which is 50,578,040.
    17       A. No, I did not.                           17            What's that a number of, dosage
    18       Q. Who put the charts together?             18   units?
    19       A. I -- I'm sorry.                          19       A. Yes.
    20            Well, this is based on                 20       Q. Okay. And then what does the
    21   McCann's -- Mr. McCann takes -- took my         21   86% of total dosage units mean? What is
    22   methodology, and these were the results of      22   that -- 86.5% of what?
    23   his application of my methodology to the        23       A. Of the amount that was
    24   ARCOS data.                                     24   distributed during the time period stated
    25       Q. I see.                                   25   above into the CT1 jurisdiction.

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     1        Q. Okay. And then moving across             1   order, if I could find that in my
     2   to the 24th -- to the flagged orders of          2   investigation, then it would continue on.
     3   hydrocodone dosage units, it's 24,412,050,       3            If there was no due diligence
     4   which represents 92.7% of the total dosage       4   and, as my report details, there wasn't
     5   units, correct?                                  5   during the early time periods -- during most
     6        A. Yes, sir.                                6   of the time period there was no due diligence
     7        Q. So are you saying -- well, what          7   to dispel suspicious orders, so every
     8   are you saying when you express this? I          8   subsequent order would become a suspicious
     9   shouldn't say.                                   9   order.
    10            I mean, you're showing it.             10       Q. On what basis are you saying
    11   What does it mean?                              11   that there was no due diligence done to --
    12        A. So the methodologies applied to         12   with regard to flagged orders? What is your
    13   the distribution, once the suspicious order     13   basis for saying that?
    14   is identified, the criteria I used is if        14       A. There were review of records
    15   there was no due diligence to dispel the        15   submitted on discovery.
    16   suspicious order or it wasn't reported, then    16       Q. Records for --
    17   every subsequent distribution would be a        17       A. Now, let me -- can I correct
    18   suspicious order.                               18   this?
    19        Q. Let me -- I hate this                   19       Q. Yeah.
    20   expression, but I'm going to have to unpack     20       A. I don't want to say none
    21   that.                                           21   whatsoever. I believe that probably there
    22            So the criteria you used -- you        22   may have been some individual instances of
    23   say once the suspicious order is identified?    23   due diligence, but in a general statement, at
    24        A. By the company -- or by the             24   a systematic level, there was insufficient
    25   methodology, I'm sorry.                         25   due diligence. Or none.
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     1        Q. I mean, that's my first source           1       Q. And what is your basis for that
     2   of confusion is, are these suspicious orders     2   statement?
     3   or are these what you are suggesting should      3       A. Reviewing records.
     4   have been suspicious orders, that you're         4       Q. Reviewing records provided to
     5   basing this on?                                  5   you by the plaintiffs?
     6        A. Well, it's not suspicious --             6       A. By the drug companies under
     7            MR. FULLER: Objection to form.          7   discovery.
     8        A. It's not suspicious orders.              8       Q. You only had access to the
     9   It's dosage amounts that resulted from           9   records that the drug companies supplied in
    10   suspicious orders. So the methodology -- my     10   discovery to the extent they were sent to you
    11   understanding of what Mr. McCann did -- and I   11   by the plaintiffs' lawyers that were
    12   don't want to speak for him.                    12   retaining you, correct?
    13   BY MR. NICHOLAS:                                13           MR. FULLER: Object to form.
    14        Q. Okay.                                   14       A. I'm not sure how to answer that
    15        A. -- is he looks at the                   15   because I guess I hope I got all the records.
    16   distribution, the ARCOS data for the            16           Now, I'm not indicating that I
    17   distribution for AmerisourceBergen drug         17   looked at every one, but I looked at enough
    18   company, he applies the methodology, and if     18   to draw a conclusion or an opinion that there
    19   there are no suspicious orders, it just runs    19   was insufficient due diligence.
    20   along the distribution.                         20   BY MR. NICHOLAS:
    21            At some point, if there's a            21       Q. Well, if you weren't sent
    22   month that exceeds the greatest month in the    22   records that are -- that exist, how do you
    23   previous six-month, that stops and it's a       23   know how many of the -- how many -- how do
    24   suspicious order. So at that point, if there    24   you know whether you looked at a few, some,
    25   was a due diligence to dispel that suspicious   25   most or all of the records? How do you know?

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     1        A. I think that's kind of a                 1   record in the recordkeeping section of the
     2   hypothetical question.                           2   CFR.
     3        Q. No, it's not hypothetical. You           3   BY MR. NICHOLAS:
     4   told me that -- you told me that you obtained    4        Q. Yeah.
     5   records from plaintiffs' counsel, correct?       5        A. But it was of my opinion that
     6        A. And it's my belief that I had            6   it's covered under the maintenance of
     7   access to all the records. Now, there's no       7   effective controls, and it would be my
     8   way that I would know if that occurred or        8   opinion as -- with my experience and my
     9   not. That's -- I'm hopeful, as their expert      9   training and my knowledge, is that it should
    10   opinion, that I had access to all of the        10   be kept forever. It's a historical record,
    11   records.                                        11   and it should be kept by the registrant much
    12            I can't affirmatively say that         12   greater than two years.
    13   they gave me every record. I -- that's why      13        Q. Now, you keep saying that the
    14   it's kind of a hypothetical.                    14   requirement to maintain records is contained
    15        Q. Well, right now it is a                 15   in the section pertaining to maintenance of
    16   hypothetical because we really have no idea     16   effective controls, but just so the record is
    17   what records you were provided, what records    17   clear, there's nothing in the section on the
    18   you were provided and what you weren't          18   maintenance of effective controls that makes
    19   because I think you told us that you didn't     19   any reference to records, correct?
    20   write down all the records that were provided   20        A. Well, I --
    21   to you.                                         21            MR. FULLER: Form.
    22        A. Well, I would say that in               22        A. I think within the statements,
    23   regards to this matter, I reviewed sufficient   23   that's what that statement means.
    24   due diligence records to draw -- to make my     24   BY MR. NICHOLAS:
    25   opinion.                                        25        Q. Means. But I'm asking whether
                                              Page 171                                             Page 173
     1        Q. Now, sticking with that for a            1   there's any actual written reference to
     2   minute, just because you did not review due      2   records or the retention of records in that
     3   diligence records from 2010, 2011, 2012 --       3   section?
     4   let's assume you didn't see due diligence        4       A. Well, so in the maintenance of
     5   records or as many as you would have liked.      5   effective controls?
     6   That doesn't mean that the due diligence         6       Q. Yeah.
     7   wasn't done, does it?                            7       A. It doesn't specifically say
     8        A. Well, as far as the DEA is               8   that, if that's what you're...
     9   concerned, if there's no documentation or        9       Q. Okay. Okay. Now -- so just --
    10   record of it, a due diligence file, my          10   we'll break for lunch, but just so I
    11   opinion would be based on that that doesn't     11   understand, the methodologies that -- the
    12   exist.                                          12   five methodologies described here were
    13        Q. Well, we've already discussed           13   selected -- were identified or selected by
    14   the fact that there was no requirement in the   14   you. Is that -- based on what you saw the
    15   regulations as to the retention of due          15   various companies had done over the years; is
    16   diligence records --                            16   that correct?
    17            MR. FULLER: Object to form.            17       A. Yes, sir.
    18   BY MR. NICHOLAS:                                18       Q. And you provided just those
    19        Q. -- for any period of time,              19   methodologies, the concepts, to Mr. McCann
    20   right?                                          20   and he plugged in the numbers; is that
    21            MR. FULLER: Object to form.            21   correct?
    22        That's not the witness's testimony.        22       A. Yes, but just as a
    23        A. So I don't think that's exactly         23   clarification, I personally didn't discuss
    24   what my statement was. I think my statement     24   that with Mr. McCann. I discussed it with
    25   was is that it wasn't contained as a required   25   counsel and then counsel relayed that to
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     1   Mr. McCann. And then it didn't come -- I        1             So you don't -- so --
     2   didn't have -- I've never had a personal        2       A. I didn't want to say that I
     3   discussion with Mr. McCann about this. It       3   didn't endorse my own methodology.
     4   was relayed through attorneys and back.         4       Q. Okay. So of these five, which
     5       Q. Okay. Now, there are five                5   methodology, if any, do you favor or endorse
     6   methodologies here. Which one are you           6   for purposes of the analysis you're doing?
     7   endorsing?                                      7       A. That would be the Masters.
     8       A. None.                                    8       Q. Okay.
     9       Q. You don't endorse any of them?           9             MR. FULLER: Which is the first
    10       A. No, sir.                                10       one, right?
    11       Q. Okay.                                   11             THE WITNESS: And that's --
    12       A. I used these methodologies              12       yes, that's methodology one.
    13   because they were used by the industry. So I   13       A. And essentially because it has
    14   didn't want to impose a methodology that       14   been reviewed and an order issued -- or an
    15   wasn't, you know, recognized or utilized by    15   opinion issued by the D.C. court.
    16   one or multiple distributors.                  16   BY MR. NICHOLAS:
    17            MR. NICHOLAS: Okay. Okay.             17       Q. Now, just work with me here,
    18       Let's take a break.                        18   because I want to make sure I'm understanding
    19            THE VIDEOGRAPHER: Going off           19   what you're saying and also what you're not
    20       the record at 12:46 p.m.                   20   saying, okay?
    21            (Recess taken, 12:46 p.m. to          21             Let's just look at the column
    22       1:30 p.m.)                                 22   for -- I'm on page 41.
    23            THE VIDEOGRAPHER: We're back          23       A. Okay.
    24       on the record at 1:30 p.m.                 24       Q. The column for, I don't know,
    25            MR. FULLER: Counsel, I think          25   flagged orders of oxycodone dosage units, and
                                             Page 175                                             Page 177
     1       Mr. Rafalski had something he wanted        1   you go right down each company, all right.
     2       to clarify related to his last -- or        2   You've got one, two, three, four, five
     3       your last question.                         3   companies, and in the case of each one,
     4            THE WITNESS: I don't know if           4   you've got a parenthetical that says that
     5       it was the last or one of the last. I       5   somewhere between -- that identifies
     6       apologize, I think I was more focused       6   somewhere between 86.5% and 95.3% of total
     7       on going to the bathroom than the           7   dosage units, okay?
     8       question.                                   8       A. Yes, sir.
     9            But you asked if I endorsed a          9       Q. All right. And that means
    10       methodology.                               10   what? Is that the number of dosage units
    11            MR. NICHOLAS: Uh-huh.                 11   that in your opinion should not have been
    12            THE WITNESS: I guess I                12   shipped?
    13       understood -- or I believed that           13       A. Well, in my report, if we -- I
    14       question was asking if I endorsed a        14   actually make a statement in regards to that
    15       methodology as a suspicious order          15   on page 46.
    16       system or whether I endorsed it as one     16       Q. Okay.
    17       of my methodologies.                       17       A. So it starts after the
    18            So I'm -- I answered it because       18   footnote 151: However, it is my opinion to a
    19       I thought you thought I would endorse      19   reasonable degree of professional certainty
    20       it as a suspicious order system, so        20   that applying the tests set forth in the
    21       I'm not sure how you asked that            21   Masters Inc. and Drug Enforcement
    22       question. So I --                          22   Administration provides a reasonable estimate
    23   BY MR. NICHOLAS:                               23   and initial trigger on a first step to
    24       Q. Okay. No, I appreciate that.            24   identifying orders of unusual size.
    25   I'm glad you did the clarification.            25       Q. So are you saying that --

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     1      A.      Well --                               1            If the registrant takes no
     2      Q.      -- this is the number of --           2   action and just continues to ship subsequent
     3             MR. FULLER: Well, go ahead and         3   orders in that order, then they're all
     4       finish your answer.                          4   suspicious orders.
     5             MR. NICHOLAS: Okay. I thought          5            Now, my last paragraph kind of
     6       you were done. Sorry.                        6   sums up that this is how I applied this, and,
     7       A. So -- and I can read the rest             7   you know, it's in regards to how the court
     8   of the paragraph.                                8   would or would not accept it and there would
     9   BY MR. NICHOLAS:                                 9   be other methodologies. So that's how I
    10       Q. Don't read. I'd rather you               10   interpret it.
    11   just tell me just in words, in your words,      11       Q. You know, on this subject I
    12   what -- you know, what is it you're trying to   12   think -- well, are you able to tell us -- are
    13   convey here?                                    13   you able to -- well, let's see.
    14             Are you trying -- are you             14            Let's say an order is
    15   trying to say, or are you saying that in your   15   identified by a distributor as suspicious,
    16   opinion, 86.5% of the total dosage units for    16   okay?
    17   Ameri- -- you know, under the                   17       A. Yes, sir.
    18   AmerisourceBergen drug thing, are dosage        18       Q. And it's reported to the DEA as
    19   units that should have been reported as         19   suspicious.
    20   suspicious orders?                              20       A. Yes, sir.
    21       A. I'm saying based on my                   21       Q. Okay. You agree that that
    22   experience and my opinion, based on some        22   doesn't necessarily mean that that order --
    23   documents that when a suspicious order occurs   23   that the pills associated with that order are
    24   as a result of the methodology and there's no   24   going to be diverted, right?
    25   action taken, no due diligence action taken     25       A. No, I think that's exactly what
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     1   to dispel that suspicious order, that all        1   it means.
     2   the -- all the orders from that point            2        Q. You think every time that an
     3   forward, I'm considering them to be, you         3   order is reported as suspicious that those
     4   know, the result of suspicious orders.           4   pills turn out to be diverted?
     5             Now, that --                           5        A. I don't know that I could draw
     6        Q. Okay. All right. So my                   6   that conclusion, but I --
     7   question is -- all right. So let me try          7        Q. That's the conclusion I'm
     8   this.                                            8   asking you about.
     9             Are you suggesting in your             9        A. Well, I wouldn't draw that
    10   report that more orders should have been        10   conclusion. The only conclusion I would draw
    11   reported as suspicious?                         11   is that if a registrant is adhering to the
    12        A. Well, I don't think it suggests         12   law and the regulations and has a suspicious
    13   that. I'll restate it again.                    13   order system in place and their system
    14             So when the system triggers a         14   identifies that, I would hope that they
    15   suspicious order, it doesn't reset to the       15   believe that they're reporting to the DEA
    16   next order to be a suspicious order. So how     16   what they believe to be a suspicious order.
    17   I interpret the regulations and how my          17        Q. I'm asking you a completely
    18   training is and how the Masters ruling and      18   different question, okay?
    19   some of the documents I've read in regards      19             My question to you is: When an
    20   from McKesson and Cardinal and Prevoznik's      20   order was reported as suspicious -- strike
    21   deposition testimony, is that once a            21   that. Strike that, because I -- I asked a
    22   suspicious order is identified by registrant,   22   confusing question.
    23   it should be stopped and there should be a      23             I think what you're saying is
    24   due diligence to dispel whether or not that     24   that there are -- but tell me if I'm wrong --
    25   suspicious order is in fact suspicious.         25   is that more orders should have been reported

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     1   as suspicious than were reported; is that        1   would start monitoring it again until the
     2   right?                                           2   next instance where there would be a
     3        A. No.                                      3   suspicious order, and then that would require
     4        Q. Okay. So you think that the              4   due diligence whether or not to clear that.
     5   appropriate number of orders --                  5             So it's -- you know, the
     6        A. I --                                     6   critical thing I think that we -- that, you
     7        Q. -- into Track 1 and Track 2              7   know, that we are having trouble
     8   jurisdictions that were reported as              8   communicating --
     9   suspicious was indeed appropriate, that the      9        Q. We're definitely not
    10   right number was reported?                      10   communicating right now and I'm sure I'm
    11        A. This methodology doesn't look           11   not understanding this.
    12   at it that way because there was no due         12        A. -- back and forth is the
    13   diligence so --                                 13   concept that when you don't do due diligence,
    14        Q. Hold on. Let me stop you                14   that that makes every subsequent order a
    15   there.                                          15   suspicious order.
    16             MR. FULLER: Well, object --           16             Now --
    17             MR. NICHOLAS: Go ahead. No,           17        Q. That's what you're saying?
    18        I'm sorry. You're right. You're            18        A. Yes, if there is insufficient
    19        right. Go ahead.                           19   or there's incomplete or there's no due
    20        A. Because there was no due                20   diligence.
    21   diligence. So the methodology is not applied    21             Now, that's a methodology
    22   to identify future orders that are              22   that's, I think, up to the court whether or
    23   suspicious, because when you don't dispel the   23   not to accept, but that's -- so it's just as
    24   suspicion or the potential that it's going to   24   long as you understand clearly on how I had
    25   be diverted and you can clear it to say that    25   this methodology applied.
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     1   it's not going to be diverted, then every        1        Q. So again, your methodology
     2   subsequent order, in my -- in the way I've       2   rests on your --
     3   applied this, would be a suspicious order        3        A. Opinion.
     4   based on the policies and the guidance and my    4        Q. -- conclusion or opinion that
     5   experience with the DEA.                         5   either no due diligence was applied or
     6   BY MR. NICHOLAS:                                 6   insufficient due diligence was applied -- you
     7        Q. So your entire analysis here             7   know, was utilized by any of these companies,
     8   rests on the premise that no due diligence       8   and that results in these large numbers of
     9   was done on the orders that you're reporting     9   dosage units and these percentages; is that
    10   on here; is that right?                         10   right?
    11             MR. FULLER: Object to form,           11        A. Yes, sir. My -- I'd like to
    12        misstates his prior testimony.             12   add to that as my final -- the final in
    13        A. No -- either no or insufficient         13   the -- on again, on 46, and this will maybe
    14   due diligence.                                  14   be a clarification of what I said earlier,
    15   BY MR. NICHOLAS:                                15   the last sentence of the first paragraph: I
    16        Q. Okay. So there was either no            16   say this understanding that the litigation
    17   due diligence or insufficient due diligence     17   will be advanced by selecting a methodology
    18   on, in the case of AmerisourceBergen,           18   qualifying a volume of pills that entered the
    19   50,578,040 dosage units. That's what you're     19   CT1 jurisdictions unlawfully and providing
    20   suggesting?                                     20   this data to an economist to measure harm
    21        A. Just so that I'm clear so we            21   caused by this volume.
    22   understand each other, that represents total    22        Q. Yeah. You say in the -- the
    23   dosage units and it's not orders. But, so at    23   first sentence of that paragraph says: I've
    24   some point, if there was an effective due       24   been asked to identify the number of opioid
    25   diligence, then I believe the methodology       25   pills that entered Cuyahoga and Summit

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     1   Counties unlawfully. This is an impossible       1   BY MR. NICHOLAS:
     2   task due to the defendants' failure to comply    2       Q. -- at least for the purposes of
     3   with their federal, statutory and regulatory     3   your numbers?
     4   requirements.                                    4            MR. FULLER: Object to form.
     5             What failure are you referring         5       A. It's not an assumption. It's
     6   to? The failure to do due diligence?             6   based on my review of records and depositions
     7       A. That would be the main                    7   and documents that I couldn't find a time
     8   obligation under the law, the maintenance of     8   period where I believed there was sufficient
     9   effective controls would be to do due            9   due diligence -- well, there was actually a
    10   diligence, or I guess as you have asked me      10   complete failure.
    11   earlier, if due diligence occurred and          11            There was the failure to stop
    12   there's no documentation, there's no way for    12   suspicious orders, there was ineffective
    13   me to know that it ever existed, nor is it      13   suspicious order systems, but in regards to
    14   for the registrant to know if an order came     14   what caused these large numbers, it was the
    15   in two days later. There's no historical        15   failure to have the maintenance of effective
    16   record of it.                                   16   controls to prevent diversion, which is the
    17       Q. So part of the assumption                17   act of the due diligence, the reviewing those
    18   here -- because you're going back in this       18   orders to approve them as was detailed in the
    19   methodology to 1996, right?                     19   Masters opinion.
    20       A. Yes, sir.                                20   BY MR. NICHOLAS:
    21       Q. And so what you're saying is             21       Q. Okay. Now, see if we can agree
    22   that if you don't see documentation of due      22   on one thing here, which is this: There
    23   diligence from 1996 or 1997, say, then you're   23   could be an order of unusual size or
    24   concluding for purposes of this report that     24   frequency or pattern that is shipped.
    25   the due diligence didn't occur?                 25   Whether it should have been or shouldn't have
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     1       A. That's not what I respond --              1   been, we can put aside for another day.
     2   how I answered the question just a couple of     2   Okay? Let's just say that there's an order
     3   questions ago.                                   3   of unusual size, frequency, pattern, that, in
     4            So there could have been at             4   fact, was shipped and it -- you can even
     5   some point for each of these companies where     5   say -- and let's say it should have been
     6   they designed or developed a system where        6   reported as a suspicious order, but it
     7   they met the regulatory and the legal            7   shipped. All right?
     8   requirements. They had due diligence. They       8             Do you agree that even though
     9   had an effective system, and they began to       9   that order was shipped and even though you
    10   identify suspicious orders, and they -- they    10   say it shouldn't have been shipped, it
    11   did a -- more than a cursory approval and       11   doesn't necessarily mean that the pills that
    12   they did due diligence. So that would stop      12   underlie that order are going to be diverted.
    13   the count.                                      13   You don't know.
    14            And then the methodology would         14             MR. FULLER: Object to form.
    15   be applied again, and every one that was        15   BY MR. NICHOLAS:
    16   identified, if there was effective due          16        Q. Correct?
    17   diligence, it wouldn't be counted as a          17        A. So I'll answer that question by
    18   distribution to the CT1.                        18   saying that if it's identified as suspicious
    19       Q. Did you stop the count at any            19   order by unusual size or unusual frequency or
    20   point in this analysis?                         20   deviating form -- you know, substantial
    21       A. No, sir.                                 21   deviation from a pattern, so to me that puts
    22       Q. And that's because you assumed           22   it as a probable, greater than 51% that it's
    23   that there was no due diligence done at any     23   going to be diverted because it's been
    24   point from 1996 to your end date here --        24   identified.
    25            MR. FULLER: Object --                  25             So I can't draw the conclusion
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     1   that I don't know that it's going to be          1   record. Also provided to me, there's the
     2   diverted. I probably can't draw a definitive     2   ARCOS data, which is not an original record,
     3   statement that it is, but I'm going to say       3   and there were some electronic databases that
     4   that it's more probable because the system       4   appeared to me to be an electronic
     5   identified it.                                   5   spreadsheet or an electronic format of orders
     6        Q. So you got it at 51% above,              6   that distributors or registrants had
     7   it's going to be diverted; is that what          7   submitted as part of the discovery. But none
     8   you're telling me?                               8   of those would be what I would consider an
     9        A. Well, that's the definition of           9   original record.
    10   probable. If it's an effective suspicious       10        Q. Can you identify a particular
    11   order system, I believe the percents would      11   order from a particular pharmacy that you
    12   rise much higher than that, but I guess that    12   believe should have been reported as
    13   depends on the effectiveness of the             13   suspicious?
    14   suspicious order system.                        14        A. Well, in my assignment to
    15        Q. Where are you getting that              15   create this and do the investigation to come
    16   percent from? Where are you getting that        16   to this opinion, there wasn't a requirement
    17   from, just your own --                          17   for me to actually find specific orders that
    18        A. What?                                   18   were suspicious.
    19        Q. The 51, the probable, where are         19            First of all, it would require
    20   you getting that it's probable?                 20   the use of the suspicious order system of the
    21        A. That's my belief of what                21   registrant, like what would be the criteria.
    22   probable means.                                 22   The -- and the thing I found in doing my
    23        Q. Okay. Other than your belief,           23   opinion is that probably the most critical
    24   is it written down anywhere? Is there any       24   part of setting up a suspicious order system
    25   research on that? Is there any data on that?    25   is the due diligence or sometimes in the
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     1   Is this just -- just your belief?                1   industry they call it the onboarding, and
     2       A. Not that I can cite.                      2   that's to establish what the criteria is. I
     3       Q. Okay.                                     3   said earlier what the usual is.
     4             MR. FULLER: Vegas odds.                4             And I found it difficult
     5             MR. NICHOLAS: Okay.                    5   because I didn't really find an adequate
     6   BY MR. NICHOLAS:                                 6   effort to set up what actually would be a
     7       Q. Did you look at any individual            7   usual or what would be an expected order. So
     8   orders from any pharmacies in the Cuyahoga or    8   for me to go in and try to make that kind of
     9   Summit Counties?                                 9   analysis wouldn't be possible.
    10       A. I looked at some DEA 222 forms,          10        Q. So sitting here today, you
    11   but I believe my recollection, it was out of    11   can't identify a particular order from a
    12   maybe the Boston area, so I would say no.       12   particular pharmacy that should have been
    13       Q. Okay.                                    13   reported as suspicious that wasn't; is that
    14       A. No original records. I                   14   correct?
    15   reviewed no original records.                   15             MR. FULLER: Form.
    16       Q. You reviewed data that was in            16        A. I don't know because I didn't
    17   the aggregate, right, totals? Correct?          17   task myself to do that.
    18       A. No. I reviewed -- so just so             18   BY MR. NICHOLAS:
    19   we're clear on, you know, what we're talking    19        Q. Sitting here today, can you do
    20   about, so there's no confusion.                 20   it? I know you didn't -- I know it wasn't
    21       Q. Uh-huh.                                  21   part of your job description here. That's
    22       A. So to me, in the DEA world, an           22   all I want to know is can you do it today?
    23   original record is the actual DEA order form,   23   Is it part of your report?
    24   the invoice or a CSOS electronic order form.    24        A. Well, actually, let me retract.
    25   So that's what I would consider an original     25   I think I did that and I think it's on
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     1   page 59 of my report. I think I used a           1        specific order out of all those that
     2   methodology. I believe it was the Cardinal       2        have been identified?
     3   methodology, cage pickers, and I applied         3   BY MR. NICHOLAS:
     4   their methodology to the orders and I believe    4        Q. I want to understand whether
     5   I came up with a total. Yes, it's on             5   your analysis involved review of specific
     6   page 59. So Cardinal had in place an             6   particular orders on particular days sent to
     7   excessive orders system. At the beginning it     7   particular -- sent by particular pharmacies
     8   says: Cardinal Health Systems early 1990s to     8   to distributors. I think the answer to that
     9   2008 was also designed to identify individual    9   is, no, not that -- it's not that
    10   orders that appear to be excessive, on a        10   controversial a question. I'm really just
    11   daily basis, and notify the DEA if possible     11   trying to get a simple yes-or-no answer.
    12   before the order is shipped.                    12        A. Well --
    13             Excessive orders are defined by       13        Q. Did you look at individual
    14   the following dosage limits. And these          14   orders that were sent to distributors,
    15   limits, among many others, were posted in the   15   individual ones?
    16   cage -- or the vault in the Cardinal            16             MR. FULLER: Object to form.
    17   facility.                                       17        Pharmacies don't send orders to
    18        Q. What page are you on? I'm               18        distributors.
    19   sorry?                                          19             MR. NICHOLAS: Okay.
    20        A. 59.                                     20             MR. FULLER: Well, I mean y'all
    21        Q. Yeah, okay. All right. I'm              21        chuckle. The question says for the
    22   with you.                                       22        record --
    23        A. So I applied these amounts, and         23        A. I didn't look on an individual
    24   I -- well, I requested Mr. McCann to apply      24   basis --
    25   these amounts into the distribution records     25             MR. FULLER: Hold on. The
                                              Page 195                                              Page 197
     1   for Cardinal, and the result of using these      1       question says, for the record, sent by
     2   amounts for Cuyahoga County was 1,000 --         2       particular pharmacies to distributors.
     3   166,869 orders of oxycodone and the              3       That's the question you asked.
     4   corresponding dosage amounts were 88,238,715.    4       Pharmacies don't send --
     5   Those numbers aren't dependent on due            5            MR. NICHOLAS: What are you
     6   diligence. Those would be the amount of          6       yelling at me for? I don't --
     7   orders, if Cardinal would have used that         7            (Simultaneous discussion
     8   system and applied it to their distribution,     8       interrupted by the reporter.)
     9   those were the number of orders that they        9            MR. NICHOLAS: Go ahead.
    10   would have reported to the DEA, and that's      10            MR. FULLER: I'm sorry, I'm
    11   the corresponding dosage units. And they        11       just trying to make sure the record is
    12   reported none during that time period, using    12       clear.
    13   this system.                                    13            MR. NICHOLAS: So you were
    14       Q. Have you identified a                    14       starting to answer.
    15   particular order in the answer you just gave    15            THE WITNESS: Sorry. Could you
    16   me?                                             16       ask the question again.
    17       A. Yes, 166,869. I didn't ask               17            MR. NICHOLAS: Well, your
    18   Mr. McCann to give me the list of each of the   18       lawyer managed to interrupt, so I'll
    19   orders, but each one of those would be a        19       have to do it again. Let's see.
    20   specific order that should have been reported   20   BY MR. NICHOLAS:
    21   based on the system the registrant had in       21       Q. I want to understand whether
    22   place.                                          22   your analysis involved review of specific
    23            MR. FULLER: Counsel, just for          23   particular orders on particular days, sent to
    24       my clarification. You're just wanting       24   particular -- sent by particular pharmacies
    25       him to pick out a specific date, a          25   to distributors.
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     1       A. My analysis to form this                  1       A. Well, I guess I'm going to not
     2   opinion wasn't specific to looking at each       2   answer, not based -- well, based on his
     3   order by order.                                  3   instruction, but it's because whether it's a
     4            MR. FULLER: Object to form.             4   fact that's known by -- discoverable by just
     5   BY MR. NICHOLAS:                                 5   the general public, and I -- I don't know, so
     6       Q. For how long does the DEA                 6   that kind of makes me not want to answer that
     7   retain suspicious order reports?                 7   question because I don't know if a person
     8       A. Just for clarification of your            8   could just do some query from the general
     9   question, you mean the ones that are             9   public and obtain that answer.
    10   submitted to the DEA by registrant?             10       Q. Well, I can tell you that this
    11       Q. Yes.                                     11   deposition is designated as a confidential
    12            MR. FULLER: Object to form,            12   process to which the public does not have
    13       and I'm going to instruct you not to        13   access and will not have access.
    14       answer if it is based on information        14            So with that assurance, can you
    15       you gained while being an agent and         15   answer the question now as to whether -- the
    16       not otherwise known publicly.               16   simple question of whether the DEA keeps
    17            THE WITNESS: I guess on the            17   suspicious order reports on a database?
    18       advice of counsel, I won't answer.          18            MR. FULLER: No, Counsel, hold
    19   BY MR. NICHOLAS:                                19       on one second. The Touhy request has
    20       Q. In your review of all of the             20       no bearing on whether this is kept
    21   records in this case that you did review --     21       confidential or not. Touhy
    22   and I understand you didn't review all of       22       authorization says he can't testify to
    23   them, but in your review of everything that     23       anything that is not publicly known
    24   you saw, can you tell me based on that for      24       and that he gained information during
    25   how long the DEA retains suspicious order       25       his employment. Touhy authorization
                                              Page 199                                            Page 201
     1   reports?                                         1       allows him to testify based on the
     2       A. No, I cannot answer that                  2       facts reviewed and provided in this
     3   question.                                        3       case. So I'm still going to give him
     4       Q. In your review of all these               4       the same instruction.
     5   records in the case, did you see any             5            I'll be honest with you, I
     6   instances of the DEA retaining any suspicious    6       don't know if it's public knowledge or
     7   order reports?                                   7       not, whether it's in a database or
     8       A. Yes. And my answer would be in            8       not. It may be.
     9   regards to my experience and knowledge, that     9            MR. NICHOLAS: Okay.
    10   they're submitted electronically to DEA         10   BY MR. NICHOLAS:
    11   headquarters and that there's, I'm sure, a      11       Q. Do you agree with the statement
    12   retention because they're available for         12   made by Mr. Rannazzisi in his deposition that
    13   review.                                         13   99% of doctors prescribe opioids for
    14       Q. Are suspicious order reports             14   legitimate medical purposes?
    15   kept in a database by the DEA?                  15       A. I don't really have an opinion
    16            MR. FULLER: Objection. Same            16   or I really don't agree or disagree. I don't
    17       instruction.                                17   have sufficient knowledge or experience or
    18            THE WITNESS: On advice of              18   reviewed any studies to be able to make a
    19       counsel, I'm not going to answer that       19   comment on that.
    20       question.                                   20       Q. And do you agree with the
    21   BY MR. NICHOLAS:                                21   statement made by Mr. Patterson of the DEA,
    22       Q. So you're following your                 22   formerly of the DEA, testifying in front of
    23   counsel's instruction not to answer the         23   Congress that 99.9% of doctors are trying to
    24   question of whether the DEA keeps suspicious    24   do the right thing?
    25   order reports on a database?                    25       A. My answer --
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     1             MR. FULLER: Form.                      1   distributions not pursuant to a prescription.
     2             Go ahead.                              2             I think when that report was
     3        A. My answer would be the same.             3   published, I think, at least in regards to --
     4   I -- I don't know the pure math of that          4   that's my belief, that that's when it pretty
     5   question, but with over 1 million doctors,       5   much disclosed the scope of that activity.
     6   99.9%, I'm not sure --                           6   BY MR. NICHOLAS:
     7   BY MR. NICHOLAS:                                 7        Q. When was that study published,
     8        Q. Do you think the vast majority           8   roughly?
     9   of doctors are trying to do the right thing?     9        A. 2004-2005.
    10             MR. FULLER: Form, scope.              10        Q. Okay.
    11             MR. NICHOLAS: You can answer.         11        A. Now, just so I can clarify my
    12        A. I would agree with that, that I         12   question, I think the DEA knew about it prior
    13   have no experience or knowledge that says,      13   to that.
    14   you know, anything otherwise than the vast      14        Q. Yeah.
    15   majority. I guess we could maybe dispute        15        A. So just the clarification was
    16   about what vast majority is, but...             16   it would be just like when it really came out
    17   BY MR. NICHOLAS:                                17   and people should have a better awareness of
    18        Q. When do you believe the opioid          18   it, that would make -- okay?
    19   crisis began?                                   19        Q. Okay. Yeah, I understand.
    20        A. I would probably say the onset          20             Now, each year the DEA sets a
    21   would be the Internet pharmacy activity, the    21   quota as to the number of controlled
    22   illicit Internet pharmacy activity, I think     22   substances that are to be made available
    23   1999, around in that time period.               23   nationwide; is that correct?
    24        Q. Okay. When did you first                24        A. Yes, sir.
    25   become aware that there was an opioid crisis?   25        Q. Okay.
                                             Page 203                                             Page 205
     1   Around that time?                                1        A. By law, I believe, and
     2        A. No. Probably when I started my           2   regulation.
     3   employment with the DEA in the academy.          3        Q. And over time, during the --
     4        Q. 2004?                                    4   during the past years, there was a period
     5        A. Yes, sir.                                5   when the number of opioid pills that were
     6        Q. Is there a point at which you            6   reaching various communities in the country
     7   believe the opioid crisis became common          7   was increasing, correct?
     8   knowledge?                                       8        A. Yes, sir.
     9        A. Yes.                                     9        Q. Okay. In setting quotas each
    10        Q. When is that?                           10   year, did the DEA overestimate the medical
    11        A. Well, could I get a                     11   needs of the United States?
    12   clarification of what you believe is common     12        A. I don't really have sufficient
    13   knowledge? Because what's common knowledge      13   knowledge because I didn't work in the quota
    14   to me is -- would you -- would your             14   section; it was done entirely in the
    15   definition of that be just if you were to       15   headquarters section. I really don't --
    16   stop somebody and say what is an opioid?        16   can't give an opinion on that particular
    17        Q. How about known to government           17   question.
    18   entities, cities, towns, counties, states.      18             I could maybe clarify that a
    19            MR. FULLER: Form.                      19   little bit.
    20        A. Well, I think it's -- I think           20        Q. Yes, please.
    21   it probably coincided with when the Internet    21        A. Just my experience and
    22   pharmacy illicit conduct got to --              22   knowledge of just hearing about it and not
    23   identified. There was a study that was being    23   being directly related, that those -- those
    24   done and it was published and showed the        24   quota amounts were approved based on
    25   conduct of these Internet pharmacies and        25   information that the DEA received from
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     1   manufacturers and distributors, and that was     1   BY MR. NICHOLAS:
     2   some of the things they used to guide them in    2        Q. Are you able to tell -- well,
     3   setting the quota for the -- which is the        3   you wrote on your report on page 46, and we
     4   medical and scientific needs of the country.     4   read this already, that you had been asked to
     5            But other than that, I don't            5   identify the number of opioid pills that
     6   know how they evaluated that information.        6   entered Cuyahoga and Summit Counties
     7       Q. Well, does the DEA shoulder any           7   unlawfully, and then you went on to say it's
     8   responsibility for setting the quotas? I         8   an impossible task, right? Page 46, first
     9   mean, does it have its own input, do its own     9   full paragraph.
    10   analysis, do its own work?                      10        A. Yes.
    11            MR. FULLER: Object to form,            11        Q. Okay. Are you able to tell us
    12       outside scope. And if it relates to         12   the correct number of pills that should have
    13       anything you gained knowledge on while      13   been shipped into Cuyahoga and Summit
    14       you were there that's not public            14   Counties lawfully?
    15       knowledge, your Touhy authorization         15        A. No, sir, I cannot provide that
    16       does not allow you to testify to it.        16   information -- or did I calculate that
    17       A. So -- I don't know, so my                17   information or --
    18   answer -- I can't say I won't answer, because   18        Q. Do you have any sense of it at
    19   I don't have any direct knowledge of that.      19   all?
    20   BY MR. NICHOLAS:                                20        A. Well, I'm supportive of my
    21       Q. Based on your personal                   21   opinion, and that's the failures by the
    22   experience and years with the DEA, do you       22   registrants during the time period was a
    23   believe that doctors went through a period of   23   significant contribution to diversion and the
    24   time when they were overprescribing opioids?    24   amount of pills. But to put a calculated
    25       A. So could you clarify what you            25   number, I can't do that. My methodology has
                                              Page 207                                             Page 209
     1   would consider to be overprescribing?            1   come to some conclusions based on, you know,
     2   Because there's a couple of different ways I     2   the due diligence factors.
     3   think I could interpret that.                    3       Q. And in some regards, you'd
     4       Q. Did doctors prescribe too many            4   almost have to be a doctor to know an answer
     5   opioid -- well, strike that. I'll try it         5   to a question like that, right?
     6   again.                                           6            MR. FULLER: Form.
     7       A. Let me --                                 7       A. Well, I think that would be one
     8       Q. Was there a period of time                8   aspect, to be a doctor. But then, you know,
     9   when -- or do you believe doctors prescribed     9   there's a lot of other factors that also
    10   more opioid pills than were medically           10   would be taken into consideration.
    11   necessary for their patients?                   11   BY MR. NICHOLAS:
    12             MR. FULLER: Object to form.           12       Q. But, I mean, you don't feel
    13       He's not a medical doctor.                  13   qualified to look at a prescription for a
    14       A. Well, my investigation into              14   patient and know whether that prescription is
    15   some of them that I detailed as at least        15   appropriate or not, correct?
    16   bulleted in my report, would say that I would   16       A. Well --
    17   ask -- answer that affirmatively because I      17            MR. FULLER: Same objection.
    18   have some experience with doctors who did       18       A. I don't want to be
    19   issue illicit or diverted prescriptions.        19   argumentative, but in my experience of doing
    20             So, you know, just in a general       20   some cases, there have been instances where I
    21   answer would be yes. Now, I'm not going to      21   could look at a prescription, knowing how it
    22   qualify that with how many or what, but         22   was written or the procedure that it was
    23   that's one of the essences of how diversion     23   used, and I could say that that was not a
    24   occurs.                                         24   legitimate prescription.
    25             ///                                   25            One example would be in one of

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     1   the cases I worked, patients would meet          1   your knowledge, the plaintiffs' lawyers
     2   doctors -- not patients. People would meet a     2   didn't send you those documents?
     3   doctor in a parking lot, pay a hundred           3       A. I can't answer affirmatively to
     4   dollars and get a prescription. So I don't       4   that because I believe I had access to all
     5   know that I would have to be a doctor to be      5   the documents.
     6   able to say that wasn't a legitimate             6       Q. Access to all the documents,
     7   prescription.                                    7   but I'm talking about what was actually sent
     8   BY MR. NICHOLAS:                                 8   to you.
     9       Q. Fair enough. Sounds like                  9       A. I think they were all -- in
    10   you're a little bit of a doctor, a little bit   10   some form or another, electronically, or I
    11   of a lawyer and a little bit of a witness.      11   think I had access to all the documents.
    12       A. I just think that that doesn't           12            I guess just so I understand
    13   take either -- any of those quantifications     13   the question, no one physically gave it to me
    14   to say that there's something wrong with that   14   or said here is the document, but I don't
    15   prescription.                                   15   think that -- I think somewhere in all of the
    16       Q. Okay. Just a little more, and            16   production that they gave to me, that that
    17   then I'll be done.                              17   document could exist.
    18             Now, you attended DEA basic           18       Q. Okay. So --
    19   diversion investigator school in 2004; is       19       A. I hope that makes sense.
    20   that right?                                     20       Q. It makes sense, but I guess now
    21       A. Yes, sir.                                21   I need to understand. So if you had
    22       Q. Was that training at Quantico?           22   access -- if you think -- you don't know, but
    23       A. Yes, sir, it was -- I don't              23   you think maybe you had access to all the
    24   want to say custodial training. It was a --     24   documents in the case?
    25   you actually stayed at the facility, 12-week    25            MR. FULLER: Form.
                                              Page 211                                             Page 213
     1   training.                                        1       A. I believe I did. I don't think
     2        Q. As part of your training, did            2   there were any documents withheld from me.
     3   you go to AmerisourceBergen's Richmond           3   BY MR. NICHOLAS:
     4   distribution center?                             4       Q. But you don't know one way or
     5        A. No, sir, I don't believe so.             5   the other, right?
     6        Q. Okay. Are you aware of other             6       A. Yeah, I think we discussed that
     7   diversion investigator trainees who did so?      7   before lunch.
     8        A. No, I'm not.                             8       Q. We went over this, yeah.
     9        Q. Were you aware that                      9       A. There's no way that anyone
    10   AmerisourceBergen in 2004 and 2005 worked       10   really knows --
    11   with the DEA to train DEA diversion             11       Q. Right.
    12   investigators?                                  12       A. -- if -- that everything was
    13        A. I was not aware of that.                13   turned over. My belief is that it was.
    14        Q. Were you provided any documents         14       Q. Okay. And -- but in all those
    15   that would have shown you that?                 15   millions and millions of documents, you would
    16        A. I'm sure I was -- I think I was         16   need someone to point you in the direction of
    17   provided access to all documents, but I don't   17   what to look at as opposed to what you don't
    18   recall reviewing those particular documents.    18   need to look at, right?
    19        Q. Okay. So to your knowledge,             19       A. That's correct.
    20   the plaintiffs' lawyers didn't send you         20       Q. Okay.
    21   documents pertaining to that; is that right?    21       A. And in my earlier testimony, I
    22        A. I don't think I said that.              22   think I was clear that I didn't look
    23   I -- I think I --                               23   individually at every document. There were
    24        Q. I'm not saying you said it.             24   people that assisted me in looking at
    25   I'm asking you whether that's right, that to    25   documents and guiding me and directing me to

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     1   certain documents, so it would be, I guess,      1   the stuff that you had asked for, correct?
     2   maybe in a lifetime, physically -- I don't       2        A. Just so -- and I'm going to
     3   even know if it would have been a lifetime to    3   answer, but just so I can clarify my answer.
     4   look at 50 million documents, but there had      4   So if I said I would have wanted to see all
     5   to be some system to be able to look -- to       5   suspicious orders policy for a certain
     6   help me form my opinion to look at relevant      6   company, it was my belief that somebody
     7   documents.                                       7   looked and helped me locate those documents
     8        Q. Yeah. And that system was the            8   and sent them to me.
     9   plaintiffs' lawyers directing you toward the     9        Q. Okay. I understand.
    10   documents that they wanted you to look at?      10            So let's go back to 2004-2005.
    11             MR. FULLER: Object to form.           11            (Whereupon, Deposition Exhibit
    12   BY MR. NICHOLAS:                                12        Rafalski-7, 10/25/04 CSRA Memo
    13        Q. What other system was there?            13        w/Attachment(s), ABDCMDL00315829 -
    14        A. Well, could you say the                 14        ABDCMDL00315861, was marked for
    15   question one more time.                         15        identification.)
    16        Q. The system by which you wound           16   BY MR. NICHOLAS:
    17   up reviewing some documents and not others      17        Q. This will be marked as
    18   was dependent on the plaintiffs' lawyers        18   Exhibit 7.
    19   providing -- you know, directing you to the     19        A. Before I look at this, can I
    20   documents that they believed you should look    20   make just a clarification?
    21   at, right?                                      21        Q. Uh-huh.
    22             MR. FULLER: Object to form.           22        A. So during my training in 2004,
    23        A. That's not a correct statement.         23   I went to the only facility -- we had a
    24             MR. FULLER: Contradicts his           24   couple of offsite visits to registrants, and
    25        earlier testimony.                         25   it's my belief that I think it was some kind
                                              Page 215                                            Page 217
     1   BY MR. NICHOLAS:                                 1   of a cough syrup manufacturer, but I just
     2       Q. Okay.                                     2   wanted to make that clarification. I don't
     3       A. I believe -- well, I don't                3   think it was an AmerisourceBergen facility.
     4   believe. What I did is I directed people to      4       Q. All right. Can you look at
     5   look for me on my behalf, and I gave them the    5   what has been marked as Exhibit 3 -- I'm
     6   types of documents and the types of              6   sorry, Exhibit 7.
     7   information I would need to form my opinion.     7       A. Yes, sir.
     8            It wasn't that only -- so if I          8       Q. This is an internal
     9   understand your question, you are trying to      9   AmerisourceBergen memo to its distribution
    10   say that they only funneled to me certain       10   center managers and compliance coordinators
    11   documents to form my opinion, and I directed    11   from CSRA. It is dated October 25th, 2004,
    12   them to look for documents in certain areas     12   and the subject is: ABC Awarded DEA
    13   to meet my objective to give an opinion.        13   Certificate of Appreciation.
    14       Q. Okay. And after you directed             14             Do you see that?
    15   them to look for those documents and provide    15       A. Yes, sir.
    16   them, you were dependent on them to point to    16       Q. Okay. And the first paragraph
    17   the documents that you would ask for, right?    17   reads: As many of you already know, CSRA
    18       A. In some cases, yes, sir, or I            18   regularly provides training for diversion
    19   would try to look for them and find them        19   investigator trainees from DEA's Quantico,
    20   myself.                                         20   Virginia training academy. The training
    21       Q. Right. But in the instances              21   takes place at AmerisourceBergen's ABC
    22   where when you were asking them to, like,       22   Richmond distribution center (DC) and
    23   find the documents and send them to you, you    23   includes a tour of the facility.
    24   were necessarily dependent on them -- you       24             Does that refresh your memory
    25   were relying on whatever they did send you as   25   at all as to the fact that DEA and
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     1   AmerisourceBergen worked together to train       1           (Document review.)
     2   DEA diversion investigator trainees?             2       A. Okay.
     3       A. Well, it informs me. I don't              3   BY MR. NICHOLAS:
     4   know if it refreshes my memory.                  4       Q. All right. Let's start with
     5       Q. Okay. So this is something                5   the cover letter. It is a letter to Steve
     6   which you don't recall from your review of       6   Mays. The date isn't clear, but it was
     7   the documents; is that right?                    7   probably sent sometime in March of 2005.
     8       A. No, sir.                                  8   Sent from John R. McCarty, special agent in
     9       Q. Okay. And you see the next                9   charge, from the U.S. Department of Justice
    10   paragraph that says: At the conclusion of       10   Drug Enforcement Administration Office of
    11   the training on Friday, October 22nd, 2004,     11   Training, Quantico.
    12   DEA presented ABC with a certificate of         12           Do you see that?
    13   appreciation in recognition of ABC's            13       A. Yes, sir.
    14   contributions to Drug Enforcement -- DEA's      14       Q. Do you know John McCarty?
    15   training program. Steve Mays accepted the       15       A. I know who he is, and I think I
    16   award on behalf of AmerisourceBergen.           16   met him, but to say do I know him? No more
    17            Do you see that?                       17   than just an introduction and knowing the
    18       A. Yes, sir.                                18   name.
    19       Q. Were you aware that Steve Mays           19       Q. What do you know of him? I
    20   worked closely with the DEA in putting          20   mean, you say you know who he is. Who is he?
    21   together and making presentation --             21       A. I believe -- I believe that
    22   presentations to DEA's trainees in 2004?        22   when I went through the training, he might
    23       A. No, sir.                                 23   have been the assistant special agent in
    24       Q. Okay. Did you read Steve Mays'           24   charge.
    25   deposition? It doesn't appear you did from      25       Q. Okay. I guess that was going
                                             Page 219                                              Page 221
     1   the list that you provided, but I'm giving       1   to be my first question.
     2   you a chance to say that you did.                2            This letter refers to the fact
     3        A. No, I do not believe I did.              3   that DEA trainees are scheduled for a visit
     4        Q. Okay. And let's just go on               4   to Bergen Brunswig in March of 2005. It
     5   to --                                            5   says: Approximately 40 employees
     6        A. We're done with this?                    6   participating in the tour will be arriving by
     7        Q. I think we are. I want to go             7   bus at approximately 9:00 a.m. and will
     8   on to the next document. Yeah. Okay. We'll       8   depart your facility at approximately
     9   do one more of these documents.                  9   12:00 noon for the return trip to Quantico.
    10             (Whereupon, Deposition Exhibit        10            So my first question is: Were
    11        Rafalski-8, McCarty Memo to Mays           11   you one of these -- were you one of these
    12        w/Attachment(s), ABDCMDL00315862 -         12   guys?
    13        ABDCMDL00315881, was marked for            13       A. No, sir.
    14        identification.)                           14       Q. Okay. And you'll see above
    15   BY MR. NICHOLAS:                                15   that, Mr. McCarty is writing to Mr. Mays.
    16        Q. This is Exhibit 8. Now, this            16   Mr. Mays is the manager of regulatory affairs
    17   is a letter that I believe -- it's hard to      17   for AmerisourceBergen, and he says: I
    18   know the date, but the date had to be in or     18   appreciate your cooperation and I'm certain
    19   around March 9th of 2005 because that date is   19   that the visit to your distribution plant
    20   referenced in the letter.                       20   will be a valuable learning experience for
    21             So just take a look at the            21   your students -- for our students.
    22   letter and then I'll ask you a couple of        22            Do you see that?
    23   questions about that. And also look at the      23       A. Yes.
    24   attachments because I'm going to ask you a      24       Q. And then the attachment appears
    25   few questions about those as well.              25   to be a --
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     1           MR. FULLER: Counsel, just for           1       Q. Well, do you think that it's
     2      the record.                                  2   likely that this presentation was put
     3           MR. NICHOLAS: Yeah.                     3   together with these PowerPoint slides that
     4           MR. FULLER: Clearly, ABC                4   the first slide says Presented by
     5      Bates-numbered them chronologically,         5   AmerisourceBergen Corporation in cooperation
     6      but there's no indication in this            6   with the Drug Enforcement Administration, and
     7      letter from the DEA that this                7   the presentation never took place?
     8      document -- or that there's any              8       A. Well, I think you're asking me
     9      attachment.                                  9   to draw that conclusion, and I don't want to
    10           MR. NICHOLAS: Okay. I                  10   be argumentative, but this letter says about
    11      understand.                                 11   an intended meeting or something that was
    12           MR. FULLER: Are you --                 12   going to occur. I don't know that the actual
    13           MR. NICHOLAS: There may or may         13   training ever occurred. I wasn't at the
    14      not have been -- then perhaps -- I          14   training. I don't have knowledge of it.
    15      mean, my working assumption is it was       15             So, I mean, I think that's a
    16      an attachment to the letter.                16   reasonable -- I wouldn't even say reasonable.
    17           MR. FULLER: Okay. So that's            17   I guess that's one conclusion you can draw,
    18      what you're asserting.                      18   but the same as maybe the meeting never
    19           MR. NICHOLAS: I am asserting           19   occurred. I just don't want to agree to
    20      it. I don't have iron-clad proof.           20   something that I don't know too much about.
    21           MR. FULLER: Okay. There's no           21       Q. I understand. Would it help
    22      date on the presentation here.              22   you to know -- would it help you if you knew
    23           MR. NICHOLAS: I know. I'm not          23   that Mr. Zimmerman testified in his
    24      sure it matters that much, though, for      24   deposition that the meeting occurred and that
    25      the purposes of my questions.               25   he, in fact, made a presentation to Quantico
                                             Page 223                                             Page 225
     1            MR. FULLER: Okay.                      1   trainees at the AmerisourceBergen facility
     2   BY MR. NICHOLAS:                                2   and used this PowerPoint? Would that be a
     3       Q. Do you see that, in fact, a              3   helpful fact?
     4   PowerPoint presentation was put together --     4       A. It would be a fact I would
     5   was put together and presented by               5   consider. I don't know that --
     6   AmerisourceBergen in cooperation with the       6       Q. But you still wouldn't
     7   Drug Enforcement Administration? I'm looking    7   necessarily believe him?
     8   at page -- the first page of this               8       A. Well, I guess I'd like to read
     9   presentation and the very first slide.          9   the deposition versus -- not that I don't
    10       A. I don't have any knowledge              10   believe you.
    11   whether or not it was presented.               11       Q. No, no, no. I'm just saying if
    12       Q. Do you have any reason to               12   that is what he said in the deposition, would
    13   believe it was not presented, this slide --    13   you -- would you still not be sure you
    14   here's what the slide says for the record --   14   believed him?
    15       A. No, I could answer on both the          15       A. No, I probably would not be
    16   negative and the positive.                     16   sure that I wouldn't believe him.
    17       Q. I'll read it anyway.                    17       Q. In other words, you would
    18       A. I have no knowledge that it was         18   believe him?
    19   or it wasn't presented to the --               19       A. Yes, I had no reason to not
    20       Q. Any reason to believe it was            20   believe that he would make something up.
    21   not?                                           21       Q. So you'd believe him? You
    22       A. No.                                     22   believe him?
    23       Q. Okay.                                   23       A. Well, yeah, but just so we're
    24       A. Same as there's no reason to            24   clear, the first question, I mean, the first
    25   believe that it was.                           25   question of whether or not I just believed
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     1   this happened, and without --                     1   the diversion investigator's job is a pretty
     2       Q. No, no, no, we evolved from                2   complex -- it's a very complex job, and to
     3   that to this set of questions.                    3   get in just a basic understanding of what
     4       A. Okay. All right.                           4   happens at a distributor facility or one of
     5       Q. Okay.                                      5   the larger facilities, manufacturers and
     6       A. I guess if there was some                  6   distributors, it's a valuable opportunity for
     7   deposition that discussed it and said it          7   somebody to go on site and just get an
     8   occurred --                                       8   understanding of just the totality of
     9       Q. Yeah.                                      9   everything that happened.
    10       A. -- I'd have no reason not to              10            So I agree with that statement.
    11   believe that that actually occurred.             11   I think it's a -- well, it would be important
    12       Q. Okay. Let's just work on the              12   for on-hand or -- I don't know that the
    13   assumption that it occurred, for the sake of     13   actual -- it was an actual practical
    14   the questions, all right?                        14   training, but it gave an exposure to the
    15       A. Sure.                                     15   industry.
    16       Q. Do you agree -- do you see that           16        Q. Well, we can agree on that.
    17   as put together, this was a presentation that    17            Can we agree that it's
    18   was to be made by AmerisourceBergen in           18   something -- that working with the DEA in
    19   cooperation with the Drug Enforcement            19   this fashion is something that
    20   Administration? I'm looking at the first         20   AmerisourceBergen should be proud of?
    21   slide.                                           21        A. I think the DEA should be proud
    22       A. Yes, sir.                                 22   of it too.
    23       Q. Okay. If you look at the third            23        Q. I agree with that.
    24   slide, it says: Statements of Goals. The         24            Can we agree that it's also
    25   goal of this program is to provide the           25   something that AmerisourceBergen should be
                                               Page 227                                             Page 229
     1   participants with an overview of the              1   proud of?
     2   pharmaceutical (drug) wholesale industry and      2      A. Sure.
     3   the wholesalers' compliance with 21 CFR 1300      3      Q. Okay.
     4   to the end. In addition, we will provide          4           MR. NICHOLAS: Just give me 30
     5   examples and methods of standard operating        5      seconds or maybe one minute, see if I
     6   procedures of a full-line pharmaceutical          6      have any other questions.
     7   wholesaler in an attempt to educate and thus      7           THE WITNESS: I'm not going to
     8   enhance and build on the good working             8      hold you to that.
     9   relationship between the industry and DEA.        9           MR. NICHOLAS: The bad news for
    10             Do you see that?                       10      you is that I'm not the only person
    11        A. I do.                                    11      asking you questions today.
    12        Q. Do you agree that there was a            12           THE WITNESS: I'm sure not
    13   good working relationship between the            13      everyone came here to watch you and I
    14   industry and DEA in 19- -- in and around         14      discuss these matters, so I don't find
    15   2004?                                            15      that surprising.
    16        A. I would say based on this                16           MR. NICHOLAS: Okay. Can we go
    17   program and the collaborative effort, that       17      off for one minute? I'm going to be
    18   that would be a good definition of a good        18      very fast here.
    19   working relationship. I think this is an         19           THE VIDEOGRAPHER: Going off
    20   important part of communications and contact     20      the record, 2:34 p.m.
    21   and cooperative efforts between the DEA and      21           (Recess taken, 2:34 p.m. to
    22   industry. I'd like to just elaborate a           22      2:35 p.m.)
    23   little bit why this -- why I say that and why    23           THE VIDEOGRAPHER: Back on
    24   this is important.                               24      record, 2:35 p.m.
    25             Because as a trainee, it's --          25           ///
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     1   BY MR. NICHOLAS:                                 1   something that would be specific to designing
     2        Q. Are you aware that                       2   a suspicious order system.
     3   AmerisourceBergen worked with the DEA again      3            So just to say is it shocking
     4   in 2007 to develop an enhanced suspicious        4   they worked with them? No, it's not, but I
     5   order monitoring program?                        5   guess I'd need to know what context you're
     6            (Document review.)                      6   speaking of.
     7        A. Well, I'm not sure. If you               7            If it's something that's
     8   want to give me a clarification. When you        8   detailed in an MOA that requires them, the
     9   say they worked with DEA, was that in            9   DEA, to do it, I guess they would work with
    10   response to an administrative action, or is     10   them, but I guess it would be at the
    11   it some kind of collaborative effort? Is        11   direction of the memorandum of agreement.
    12   there --                                        12       Q. And are you aware that before
    13   BY MR. NICHOLAS:                                13   ABDC entered into a settlement agreement with
    14        Q. Couldn't be both?                       14   the DEA on June 22nd of 2007, ABDC, which is
    15        A. Well, I think it's -- it could          15   AmerisourceBergen Drug Company, worked
    16   be both, but I think what -- the causation      16   closely with the DEA to develop a new
    17   would be a little different if it was --        17   suspicious order monitoring program before
    18        Q. I'm not asking about the                18   the MOU?
    19   causation, but I will if you want.              19       A. So the way that you had stated
    20            So the DEA, as you referenced          20   that question, I would have to say I'm not
    21   in your report, suspended the                   21   aware of that.
    22   AmerisourceBergen's Orlando facility in, I      22       Q. Okay. Do you know who Mike
    23   think, April of 2007, correct?                  23   Mapes is?
    24        A. Right.                                  24       A. I do, yes, sir.
    25        Q. And that facility was reopened          25       Q. Were you aware that Mr. Mapes
                                             Page 231                                              Page 233
     1   I believe in June of 2007.                       1   worked -- from the DEA, worked closely with
     2       A. Uh-huh.                                   2   AmerisourceBergen to develop its program in
     3       Q. Correct?                                  3   2007?
     4       A. Yes.                                      4        A. I'm aware that Mr. Mapes --
     5       Q. Okay. And between April and               5   well, my awareness of what Mr. Mapes'
     6   June of 2007, AmerisourceBergen worked with      6   interaction with ABDC was, I believe there
     7   the DEA on the elements of the program that      7   was an industry conference presentation
     8   would be going forward following the             8   around that period of time, but I'm not -- I
     9   reopening of the facility, correct?              9   don't have any recollection of personally or
    10       A. I'm not comfortable with the             10   reviewing records that he was working with
    11   term "worked with."                             11   them to develop changes or improvements to
    12       Q. Really?                                  12   their suspicious order system.
    13       A. It could have been an                    13        Q. Well, there was some testimony
    14   obligation as part of the MOA, so --            14   in Steve Mays' deposition about just this
    15       Q. Well, whether it was an                  15   subject, but as you've already told us, you
    16   obligation or not, and I don't believe it       16   didn't read Mr. Mays' deposition, correct?
    17   was, but even if it was, they still worked --   17        A. I don't recall reading it, no,
    18   why does that change whether they worked with   18   sir.
    19   them or not?                                    19        Q. Okay. Well, let's just talk
    20       A. Well, I guess it's a                     20   about that conference for a minute. The
    21   clarification on "work with." I guess in my     21   Diversion Control Division of the
    22   capacity, if I go back to my experience, I've   22   U.S. Department of Justice I believe
    23   worked with a lot of DEA registrants on         23   sponsored a conference with the
    24   certain matters, but it becomes a little more   24   pharmaceutical industry -- it was called a
    25   sensitive to me is if I'm going to agree to     25   pharmaceutical industry conference -- in
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     1   September of 2007 in Houston.                    1        [No Bates], was marked for
     2            Are you familiar with that?             2        identification.)
     3   Did you attend it, I should say?                 3   BY MR. NICHOLAS:
     4       A. I did not attend it. I'm                  4        Q. Exhibit 9. This document,
     5   familiar that the conference occurred. That      5   Exhibit 9, Mr. Rafalski, is a brochure, I
     6   came up in one of my other cases that I          6   guess, or a publication -- I don't know what
     7   investigated.                                    7   you want to call it -- sent around -- or
     8       Q. Okay. And were you aware that             8   describing the upcoming -- what is then an
     9   at that conference in September of 2007 in       9   upcoming pharmaceutical industry conference.
    10   Houston, Texas, Mike Mapes from the DEA and     10   It's the one we've been talking about. It
    11   Chris Zimmerman presented to the entire         11   took place on September 11th and 12th, 2007
    12   industry on suspicious order monitoring         12   in Houston, Texas.
    13   programs? Are you aware of that?                13             Do you see that?
    14       A. Just for clarification, I'm              14        A. I do.
    15   aware that the industry training occurred and   15        Q. And it's got like a one, two --
    16   that there was the discussion or there was      16   it's got a two-day agenda, Tuesday and
    17   some presentation on it. I don't know the       17   Wednesday, the 11th and the 12th?
    18   extent of the presentation, but I know there    18        A. Yes, sir.
    19   was some presentation in regards to             19        Q. And there is a section on
    20   responsibilities in regards to suspicious       20   suspicious orders on the agenda on page 1 --
    21   order systems.                                  21   you know, on day one.
    22       Q. Are you aware that as part of            22             And if you turn to the second
    23   the presentation, Mr. Zimmerman from            23   page of this document, you can see the
    24   AmerisourceBergen talked about ABDC's           24   description about the suspicious orders.
    25   program, new suspicious order monitoring        25             Do you see that?
                                             Page 235                                             Page 237
     1   program or enhanced program to the entire        1        A. Yep.
     2   industry?                                        2        Q. Okay.
     3        A. I believe that somewhere I had           3        A. Yes, sir, about halfway down.
     4   reviewed -- or I don't know if it was my         4        Q. Yeah. And basically, this
     5   previous employment experience or if it was      5   description just -- this blurb describes --
     6   something I reviewed as part of my opinion,      6   you know what, this makes it pretty clear
     7   but I was aware that it occurred.                7   that this is a report of what happened at the
     8        Q. So in 2007 at a DEA-sponsored            8   conference. It was after the fact.
     9   conference, Mr. Zimmerman from                   9             Because it describes how
    10   AmerisourceBergen was on stage with Mr. Mapes   10   Mr. Mapes, the chief DEA regulatory section,
    11   presenting a description of                     11   and Chris Zimmerman, vice president,
    12   AmerisourceBergen's suspicious order            12   corporate security and regulatory affairs,
    13   monitoring program to the entire invited        13   AmerisourceBergen, updated, past tense,
    14   industry group, correct?                        14   attendees on when suspicious order reports
    15        A. I don't have any information to         15   should be submitted to authorities, and then
    16   disagree or agree with you, so -- I don't       16   it goes on.
    17   know that they stood on stage together. I       17             So does this document provide
    18   wasn't there. So if that's how you represent    18   you a little more comfort that what I'm
    19   it, I don't have any knowledge to disagree,     19   representing to you about the fact that
    20   but...                                          20   Mr. Mapes and Mr. Zimmerman made a joint
    21             MR. NICHOLAS: Okay. Let's             21   presentation to the group, the entire group
    22        mark one more exhibit.                     22   is, in fact, true?
    23             (Whereupon, Deposition Exhibit        23        A. It does. And it also jogs my
    24        Rafalski-9, 9/11-12/07 Meeting Agenda,     24   memory. There was a particular slide that
    25        DEA Diversion Control Division             25   occurred during this conference in regards to
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     1   suspicious orders, and it was whether or not     1   BY MR. NICHOLAS:
     2   the shipping requirement -- it wasn't called     2       Q. -- or something?
     3   the shipping requirement, but this particular    3             MR. FULLER: Form to the prior
     4   slide had language similar to the 2006           4       three questions. Y'all just give me a
     5   Rannazzisi memo, and that was once you           5       little bit of a pause if you don't
     6   identify a suspicious order and continue to      6       mind.
     7   ship the suspicious order without dispelling     7             THE WITNESS: Yes, sir.
     8   the suspicion, it would be attributed to         8       A. It jogged --
     9   diversion.                                       9   BY MR. NICHOLAS:
    10             And I remember that slide. It         10       Q. You weren't at this --
    11   came up in a different investigation. So way    11       A. I was not.
    12   back at this time when this occurred, right     12       Q. Okay. So let's get back to the
    13   after, I think -- and I don't remember          13   question I was asking about. I appreciate
    14   exactly what year.                              14   the detour there, but what I'm really wanting
    15             I think 2009 or '10, it -- this       15   to know is whether this provides you -- and I
    16   came to my attention and there was a lot of     16   think you answered yes -- provides you with
    17   discussion about that -- the meaning of that    17   some comfort that my telling you that this
    18   particular slide because there wasn't a         18   presentation occurred and that Mr. Mapes and
    19   language where even back then the industry      19   Mr. Zimmerman jointly presented to the entire
    20   was saying that DEA should just say stop        20   industry --
    21   shipping an order, but what they would say is   21       A. I could draw that conclusion by
    22   if you failed to stop, it was a failure to      22   reading these two paragraphs.
    23   have effective controls against diversion.      23       Q. Okay. Give me one more minute,
    24       Q. So it was kind of confusing to           24   and I believe I'm going to --
    25   the industry?                                   25             MR. FULLER: That's what you
                                              Page 239                                             Page 241
     1        A. Well, I don't know if it was             1      said last time.
     2   confusing to the industry. It's the same         2           MR. NICHOLAS: I know. Yeah,
     3   thing I've been saying all along. If you         3      I'm one of those guys, you know. All
     4   report a suspicious order, then ship it --       4      lawyers are the same.
     5        Q. Well, they had a slide about             5           MS. QUEZON: But it probably
     6   it. I guess somebody thought it was worth        6      has been an hour if you want to take
     7   showing people because they needed a slide       7      five minutes.
     8   because it was perhaps not as clear as you're    8           MR. NICHOLAS: Has it been an
     9   saying it was.                                   9      hour?
    10        A. No, I think it was stating the          10           MR. FULLER: Yes.
    11   same thing that Mr. Rannazzisi stated. So       11           MR. NICHOLAS: Let's take five
    12   why I remember it is in the course of how it    12      minutes. Good chance I'm done.
    13   was used in this case, someone alleged it had   13           THE VIDEOGRAPHER: We're off
    14   a different meaning. So we had the same         14      the record. The time is 2:51 p.m.
    15   discussion back then about whether it meant     15           (Recess taken, 2:51 p.m. to
    16   to stop a shipment or not.                      16      2:59 p.m.)
    17        Q. So you're saying this jogged            17           THE VIDEOGRAPHER: We're back
    18   your memory. Like -- wait, though, does that    18      on the record at 2:59.
    19   mean that you were at this presentation?        19           MR. NICHOLAS: Mr. Rafalski,
    20        A. No.                                     20      that's all the questions I have at
    21            MR. FULLER: Form.                      21      this time. I appreciate your time.
    22   BY MR. NICHOLAS:                                22      Thank you for answering my questions,
    23        Q. Oh, you just saw the slide              23      and in an incredible abundance of
    24   later --                                        24      caution, I'll reserve the remote right
    25            MR. FULLER: Form.                      25      to come back and ask you a few more
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     1       questions later, but I really think          1   defendant a little bit.
     2       that's unlikely. I don't think I'll          2        A. Oh, okay.
     3       have any more.                               3        Q. So if there's 13 defendants, is
     4            THE WITNESS: Thank you very             4   it roughly spread evenly, divided by 13, you
     5       much. Pleasure to meet you.                  5   get a rough approximation?
     6            MR. NICHOLAS: Same.                     6        A. Well, I think I spent a little
     7               EXAMINATION                          7   more time on the distributors until I did
     8   BY MR. PYSER:                                    8   the -- instead of the manufacturers. I would
     9       Q. Good afternoon, Mr. Rafalski.             9   say I probably spent more time in totality
    10   My name is Steve Pyser. I'm going to be         10   and individually in -- as far as just at the
    11   asking you some questions today for Cardinal    11   distributors.
    12   Health, okay?                                   12             I would probably say pretty
    13       A. Okay.                                    13   equal except with Henry Schein, because
    14       Q. Have you ever visited any                14   that's a smaller distributor and there was
    15   Cardinal Health facility?                       15   less documents and less information to
    16       A. No, sir.                                 16   review.
    17       Q. Have you ever interviewed any            17        Q. So for each of the larger
    18   Cardinal Health employee?                       18   distributors, we're talking something in the
    19       A. No, sir.                                 19   range of 50 or 60 hours each; is that fair?
    20       Q. You stated earlier today that            20        A. I guess that could be a
    21   in your work to date on this case, going back   21   possible --
    22   about two years until today, including the      22             MR. FULLER: Object to form.
    23   preparation of your report, you'd spent about   23        A. I guess it could be a possible
    24   400 hours roughly on the case?                  24   approximation.
    25       A. Roughly, yes, sir.                       25   BY MR. PYSER:
                                              Page 243                                            Page 245
     1       Q. Now, your report covers about a           1       Q. Have you ever conducted a
     2   dozen -- I think actually 13 different           2   cyclic investigation of a registrant?
     3   defendants. Can you tell me approximately,       3       A. Numerous times, yes, sir.
     4   of that 400 hours, how much of that time did     4       Q. In any of those investigations,
     5   you spend reviewing documents and depositions    5   did you review a distributor who sent DEA
     6   related to Cardinal Health?                      6   excessive purchase reports on a monthly
     7            MR. FULLER: Form.                       7   basis?
     8       A. It's difficult for me to                  8       A. No, sir, never.
     9   answer, to just give you a specific number of    9       Q. Did you ever conduct a cyclic
    10   hours. I could say significant, but I know      10   investigation of Cardinal Health?
    11   that's not a full answer.                       11       A. No, sir.
    12            Over the last -- probably              12       Q. In the course of your work
    13   beginning in the early fall, up until the day   13   preparing for this case, did you review the
    14   I submitted my report, those were -- the        14   results of any cyclic investigations of
    15   majority of hours in regards to the 400 were    15   Cardinal Health?
    16   spent during that time frame researching,       16       A. So the way I'd like to answer
    17   preparing the report, reading depositions and   17   that is that I reviewed documents that --
    18   looking at documents.                           18   communications intercompany that cyclic said
    19   BY MR. PYSER:                                   19   occurred or regulatory investigations, but I
    20       Q. Maybe my question was unclear.           20   didn't review the actual documents of the DEA
    21            I understand that you spent a          21   or of the actual conducting of the
    22   large portion of the 400 hours looking at       22   investigation. So I hope that answers your
    23   documents and preparing your report.            23   question.
    24       A. Yes.                                     24             I know they occurred and I know
    25       Q. I'm asking to break it down by           25   there were some documents where there was an

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     1   internal assessment of what the DEA did, but     1   report that the suspicious order monitoring
     2   I never reviewed like the actual DEA             2   system recommended in this Reno report from
     3   investigations.                                  3   1998 was for List 1 chemicals. Do you recall
     4       Q. In the documents you did review           4   that conclusion or opinion?
     5   of the cyclic investigations, did you ever       5       A. Yes. Yes, sir.
     6   see an indication that DEA had stated that       6       Q. I want to direct you to the
     7   Cardinal Health's practice of sending monthly    7   actual report at Bates page 2230. Under B1,
     8   ingredient limit reports to DEA was improper?    8   Wholesaler Distributors, it states that those
     9   Did you ever see that indicated?                 9   in the wholesale drug distribution supply
    10       A. No, sir.                                 10   chain who are able use the DEA-approved
    11       Q. You state in your report that            11   suspicious order monitoring system in use by
    12   Cardinal's ingredient limit report system,      12   wholesale drug distributors for controlled
    13   this monthly report, was premised on guidance   13   substances.
    14   from the 1998 DEA report; you call it the       14            Do you see that statement?
    15   Reno report.                                    15       A. Yes, sir.
    16            Do you recall that?                    16       Q. So at the time in 1998, you
    17       A. Yes, but I don't say that. I             17   agree with me that there was a DEA-approved
    18   think I provide an opinion because I believe    18   suspicious order monitoring system in use by
    19   some Cardinal representative said that.         19   wholesale drug distributors for controlled
    20       Q. You're aware that Cardinal               20   substances?
    21   Health had the same system in place before      21       A. No, sir. I agree that that's
    22   the Reno report came out?                       22   what this statement says, but this is a task
    23       A. Yes, sir.                                23   force combined of industry members and there
    24            (Whereupon, Deposition Exhibit         24   were some DEA officials on there, one -- one
    25       Rafalski-10, 10/98 Report to the U.S.       25   diversion investigator or someone from the
                                             Page 247                                             Page 249
     1       Attorney General, CAH_HOUSE-002207 -         1   diversion unit. And so I'm not in
     2       CAH_HOUSE-002298, was marked for             2   agreement -- and I see this is what the
     3       identification.)                             3   document says -- that that's an accurate
     4   BY MR. PYSER:                                    4   statement.
     5       Q. I'm showing you a document                5       Q. So even though it's on a page
     6   that's been marked as Exhibit 10. Is this        6   with letterhead that says United States
     7   the Reno report that you refer to in your        7   Department of Justice, Drug Enforcement
     8   report?                                          8   Administration, you don't believe it's an
     9            MR. FULLER: You provided us             9   accurate statement?
    10       copies.                                     10       A. I do not.
    11            MR. PYSER: As we go down               11       Q. This is six years before you
    12       through the day, there will be less         12   began your career at DEA, correct?
    13       copies from each person asking              13       A. Yes, sir.
    14       questions.                                  14       Q. So you weren't communicating
    15       A. Yes, sir.                                15   with anyone at DEA about this task force at
    16            MR. FULLER: Now I don't feel           16   the time of the report in 1998, were you?
    17       so bad that I didn't always comply          17       A. No, sir.
    18       with the protocol.                          18       Q. It goes on to say --
    19   BY MR. PYSER:                                   19       A. Can I just clarify that?
    20       Q. Okay. If you turn with me                20       Q. No.
    21   to -- using the pages in the bottom right,      21       A. Okay.
    22   the Bates pages, there's a page                 22       Q. It goes on to say --
    23   CAH_HOUSE-002230.                               23            MR. FULLER: Go ahead. You can
    24       A. Okay.                                    24       clarify your answer.
    25       Q. Now, you had stated in your              25       A. So just for clarification, and
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     1   I had testified earlier, but I understand        1   use in automated tracking systems.
     2   that each person is different. So at the         2            Correct?
     3   time that this statement was made in this        3       A. Yes, sir.
     4   publication, which I don't believe it was        4       Q. And it begins by saying: The
     5   actually acted on. It was recommendations.       5   current calculation being used for List 1
     6   I just want to go back to the DEA manual was     6   chemicals on Schedule II through V controlled
     7   in place in -- the 1996 DEA manual that would    7   substances.
     8   be in conflict with that particular              8            You see that statement?
     9   statement.                                       9       A. I see that statement.
    10   BY MR. PYSER:                                   10       Q. Okay. So according to this
    11       Q. This document was --                     11   document, in 1998, six years before you
    12       A. '98.                                     12   arrived at DEA, there was a calculation being
    13       Q. -- published publicly in 1998,           13   used for Schedule II through V controlled
    14   correct?                                        14   substances?
    15       A. Yes, sir.                                15       A. Well, I'm going to repeat my
    16       Q. And are you aware if in 1998             16   same answer. This was an advisory committee
    17   anyone from DEA made a public statement that    17   that put this document together. I
    18   said actually this report to the                18   acknowledge that it's on Department of
    19   U.S. Attorney General is wrong, it has an       19   Justice letterhead, but I'm not aware of ever
    20   incorrect statement? Are you aware of any       20   seeing any approved DEA approval of any
    21   statement like that from DEA?                   21   system.
    22       A. I am not aware of any statement          22            And I acknowledge that the
    23   like that, no.                                  23   document says that, but later on it
    24       Q. The second paragraph on                  24   specifically talks about Schedule II or
    25   page 2230 says: This is basically what is       25   Schedule III through Vs that contain List 1
                                             Page 251                                             Page 253
     1   done for Schedules II through V controlled       1   chemicals.
     2   substances.                                      2            And when I read the document,
     3            Do you see that?                        3   the totality of the document is about List 1
     4        A. Yes, sir.                                4   chemicals, and --
     5        Q. Okay. And what's being done              5       Q. Correct. The totality of the
     6   by -- what the report states is being done       6   document --
     7   for controlled substances on Schedules II        7            MR. FULLER: Let him finish his
     8   through V is a DEA-approved suspicious order     8       answer, Counsel. Let him finish his
     9   monitoring, correct?                             9       answer.
    10        A. As I stated earlier, I don't            10            MR. PYSER: Well, he's not
    11   agree with that.                                11       answering my question.
    12        Q. But it is what the report               12            MR. FULLER: Well, you may not
    13   states?                                         13       like the answer you're getting, but
    14        A. That is what the reports                14       he's going to finish his response.
    15   states.                                         15            Go ahead.
    16        Q. And if you go a little bit              16            MR. PYSER: If he's wasting
    17   further in the report to Bates page 2247,       17       time, I reserve my right to come back
    18   it's a document that again, at the top of the   18       for more time.
    19   document it says United States Department of    19            MR. FULLER: Great.
    20   Justice, Drug Enforcement Administration,       20            Go ahead, Mr. Rafalski.
    21   Office of Diversion Control.                    21       A. And so the totality of this
    22            Do you see that?                       22   document was in response to the new
    23        A. Yes, sir.                               23   methamphetamine act and the
    24        Q. Okay. At the top it says:               24   pseudoephedrine -- making pseudoephedrine a
    25   Suspicious order reporting system of 1998 for   25   List 1 chemical. So, you know, to me, the

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     1   critical statement here is in 4, the note        1   question would be yes, but I guess I'd have
     2   under Section 4.                                 2   to say it would depend on the topic and the
     3   BY MR. PYSER:                                    3   type of question and the information they
     4        Q. Sir. I'm not disagreeing with            4   receive.
     5   you --                                           5        Q. Is being told -- strike that.
     6        A. Okay.                                    6            If a distributor is told you're
     7        Q. -- that this document was                7   doing the right things and heading in the
     8   prepared related to the Comprehensive            8   right direction with respect to a suspicious
     9   Methamphetamine Control Act of 1996, and what    9   order monitoring program, is that an implicit
    10   it's saying is that they're going to            10   approval from DEA of the suspicious order
    11   introduce procedures for List 1 chemicals       11   monitoring program that that distributor is
    12   that are like those already in place for        12   using?
    13   controlled substances on Schedule II through    13        A. Well, I think it could be taken
    14   V. Isn't that what the document is saying?      14   as an implicit approval, but then to know the
    15             MR. FULLER: Object to form.           15   whole totality of what occurred to just have
    16        A. Well, what the document says to         16   that one statement, it could be a simple
    17   me is that if registrants, distributors have    17   aspect of the system.
    18   electronic systems, that a registrant should    18            So from -- and so I'll agree
    19   consider monitoring List 1 chemicals            19   but I -- but it depends on what the topic is
    20   utilizing that same electronic system.          20   and what the question is and the complexity
    21   BY MR. PYSER:                                   21   of it.
    22        Q. And it actually speaks at the           22        Q. So if someone at DEA reviewed a
    23   bottom of this page to electronic systems,      23   suspicious order monitoring system and told a
    24   and what the Office of Diversion Control says   24   distributor you're doing the right things and
    25   in 1998 is: Using a computer to manage and      25   heading in the right direction, that's
                                              Page 255                                             Page 257
     1   report on high-volume transaction business       1   implicit approval of the system they just
     2   activities with extremely short order cycle      2   reviewed, correct?
     3   times receipt to delivery, is the only viable    3       A. It is, but again, in my
     4   cost-effective methodology for the reporting     4   experience and in doing cases, I've had other
     5   of orders which may be considered excessive      5   cases where a diversion investigator would
     6   or suspicious.                                   6   make a similar type comment to a registrant
     7            That's what they said, correct?         7   and the system was not satisfactory.
     8       A. That's what this statement                8            So --
     9   says. That's what the committee placed in --     9       Q. Does that mean the diversion
    10   that's what the statement says.                 10   investigator doesn't know what they're doing?
    11       Q. And nowhere in this 1998                 11       A. That could be one possible
    12   suspicious order reporting system that you      12   explanation. I can't --
    13   see on page 2247 is there anything about        13       Q. How many diversion
    14   stopping shipments of Schedule II through V     14   investigators do you believe work at DEA and
    15   controlled substances. That's not on this       15   don't know what they're doing?
    16   page, is it?                                    16            MR. FULLER: Object to form.
    17       A. Which page are you referring             17       A. I have no idea, sir.
    18   to?                                             18   BY MR. PYSER:
    19       Q. Page 2247, Exhibit 2,                    19       Q. While you were there, did you
    20   Suspicious Order Reporting System of 1998.      20   believe your colleagues were competent?
    21       A. There's nothing on that                  21       A. Would the universe be all
    22   particular page.                                22   diversion investigators? I would have to say
    23       Q. Should distributors rely on              23   no, because I know of a couple that would
    24   information they receive from DEA?              24   make statements that were not within the
    25       A. So my general answer to that             25   guidance or the guidelines of what DEA would

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     1   expect in regards to approving and commenting    1   local DEA office, correct? That was the
     2   on suspicious order systems.                     2   practice at the time?
     3            Generally speaking, yes.                3       A. Yes. Post distribution of the
     4       Q. How about Kyle Wright?                    4   drugs, at the conclusion of a month, they
     5            MR. FULLER: Object to form,             5   would submit the report, yes, sir.
     6       outside the scope.                           6       Q. And DEA would receive that
     7       A. I've worked with Kyle Wright              7   report on a monthly basis post distribution
     8   and I've been present at one of his              8   of the drugs, correct?
     9   presentations. I believe he's highly             9       A. I guess I would make that
    10   competent. Sometimes I believe that he          10   assumption. I never saw them. I wasn't
    11   doesn't articulate his subjects very well. I    11   there at some of the time period. I've never
    12   believe his knowledge base is high, but I'm     12   received them personally, but I don't have
    13   not sure that I would say that his              13   any information to not believe that
    14   articulation of some of that knowledge is       14   statement.
    15   very well.                                      15       Q. Where you were was in Detroit
    16   BY MR. PYSER:                                   16   and Cardinal Health didn't have a
    17       Q. Did you ever file a complaint            17   distribution center in your region, correct?
    18   while you were at DEA or complain to a          18       A. That's correct.
    19   supervisor that you believed things that Kyle   19       Q. Now, you list some of the
    20   Wright was saying in his presentations were     20   ingredient limit reports in your report,
    21   inappropriate?                                  21   correct?
    22            MR. FULLER: Object to form.            22       A. Yes, sir.
    23       Don't answer that question based on         23            MR. PYSER: Let me mark this
    24       your Touhy authorization. Way outside       24       one for you.
    25       the scope, Counsel.                         25            (Whereupon, Deposition Exhibit
                                              Page 259                                             Page 261
     1            MR. PYSER: Are you going to             1        Rafalski-11, Ingredient Limit Report,
     2       refuse to answer that question?              2   CAH_MDL_PRIOROD_DEA07_01465435 -
     3            THE WITNESS: Yes, sir, on the           3   CAH_MDL_PRIOROD_DEA07_01465712, was marked
     4       advice of my counsel.                        4   for identification.)
     5   BY MR. PYSER:                                    5   BY MR. PYSER:
     6       Q. You're relying here today on              6        Q. I'm marking Exhibit 11. This
     7   your experience at DEA, correct? That's why      7   is the first ingredient limit report that you
     8   you consider yourself an expert?                 8   mentioned in your report for this case. This
     9       A. That's -- yes, sir, that's one            9   is a document -- it's a couple hundred pages
    10   of my strengths, that my experience and then    10   long?
    11   the results of my experience, the Masters       11        A. It is.
    12   case, the subsequent ruling, the Mallinckrodt   12        Q. And this is one month's report
    13   case.                                           13   from one distribution center, correct?
    14       Q. In your report around page 48,           14        A. Yes, sir.
    15   you describe Cardinal Health's suspicious       15        Q. So you can multiply this out in
    16   order monitoring system as having two           16   terms of the information that Cardinal Health
    17   operational aspects. So the first aspect you    17   is providing to DEA on a monthly basis for
    18   talk about is ingredient limit reports?         18   each of its 20-some-odd distribution centers,
    19       A. Yes, sir.                                19   correct?
    20       Q. And the second one are reports           20        A. Yes, sir.
    21   of excessive orders, correct?                   21        Q. Now, I want to draw your
    22       A. Yes, sir.                                22   attention to Bates number 1465496. Are you
    23       Q. The ingredient limit reports,            23   there with me?
    24   those are submitted on a monthly basis from     24        A. I am.
    25   each Cardinal distribution center to the        25        Q. Okay. Now, on that page

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     1   there's a run date, so the date of this          1   received the ingredient limit reports like
     2   report, of September 4th, 2005, right?           2   Exhibit 11 from the Wheeling distribution
     3       A. Yes.                                      3   center, they would have seen those increases
     4       Q. Okay. And it labels itself an             4   as well because it's right there in the
     5   ingredient limit report, and looking again at    5   document, right?
     6   that Bates page I gave you ending 496?           6        A. I don't know what the DEA
     7            MR. FULLER: I'm sorry, say the          7   office that received them would have seen or
     8       Bates number again.                          8   not seen. I don't know if they would have
     9            MR. PYSER: Ending in 496.               9   looked back historically.
    10            MR. FULLER: Oh, I got it,              10            I offered this opinion in my
    11       sorry.                                      11   report because I believe it's something that
    12   BY MR. PYSER:                                   12   Cardinal should have seen.
    13       Q. It has factor used of 4.0.               13        Q. Okay. So you don't have any
    14            Do you see that?                       14   reason to think DEA was incapable of looking
    15       A. Yes, sir.                                15   at the ingredient limit reports like
    16       Q. Okay. And underneath that,               16   Exhibit 11 and looking at a trend, correct?
    17   there's a customer name, the Fredrick County    17        A. I don't have any information
    18   Health Department. And the ingredient? It's     18   whether they were or weren't, sir.
    19   about halfway down the page.                    19        Q. Okay. And DEA also receives
    20       A. Yes.                                     20   ARCOS information from every transaction that
    21       Q. And the ingredient is                    21   every distributor makes of a controlled
    22   buprenorphine hydrochloride?                    22   substance, Schedule II controlled substance,
    23       A. Yes, sir.                                23   including Cardinal, correct?
    24       Q. And it lists the customer total          24        A. They do, but in a different
    25   versus the ingredient limit?                    25   way. So this -- just so clarification, I
                                             Page 263                                             Page 265
     1       A. Yes, sir.                                 1   think our discussion was that this would be
     2       Q. So the factor that's used, this           2   received at the -- at the office that would
     3   factor of 4, that's right there on the face      3   be nearest the distribution center. The
     4   of this ingredient limit report sent to DEA,     4   ARCOS gets received at headquarters and it's
     5   correct?                                         5   a totally different --
     6       A. It is.                                    6       Q. Understood. So --
     7       Q. And to your knowledge, DEA                7       A. Okay. Just clarifying that.
     8   never told Cardinal Health you should use a      8       Q. So DEA has at the local field
     9   different factor, use some other factor other    9   office, they've got the information about
    10   than 4?                                         10   distributions from the ingredient limit
    11       A. In my research for completing            11   reports that are reported by Cardinal because
    12   my report and then also based on my             12   they went over the factor 4.
    13   experience working there, I'm not aware that    13             And then also, at the national
    14   anyone ever told them not to use the factor     14   office, DEA has the ARCOS report which has
    15   of 4.                                           15   every transaction from a distributor to a
    16       Q. Another critique -- you can put          16   pharmacy, correct?
    17   the ingredient limit report aside. It's a       17       A. It has every Schedule II
    18   big document. Get in your way otherwise.        18   transaction, Schedule III narcotics and one
    19            On page 58 of your report, you         19   other -- one other category of drugs. It's
    20   level a criticism at Cardinal because there's   20   not all transactions.
    21   an increase in the amount of oxycodone from     21       Q. So any increases could have
    22   the Wheeling, West Virginia distribution        22   been seen in the ARCOS data as well?
    23   center, correct?                                23             MR. FULLER: Form.
    24       A. Yes, sir.                                24             MR. PYSER: Let me rephrase the
    25       Q. The DEA field office that                25       question.
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     1   BY MR. PYSER:                                    1   Wheeling distribution center of Cardinal
     2        Q. So any increases in the amount           2   Health, that license has never been suspended
     3   of oxycodone being shipped from the Cardinal     3   or revoked by DEA, correct?
     4   distribution center in Wheeling to Cardinal's    4        A. That's a correct statement.
     5   customers could have been seen in the ARCOS      5        Q. Okay. So we've talked about
     6   data reported to DEA?                            6   the ingredient limit reports. I want to go
     7            MR. FULLER: Form.                       7   back to the second aspect of Cardinal
     8        A. So --                                    8   Health's pre-2007 system you talked about in
     9            MR. FULLER: Go ahead.                   9   your report, and that's the reports of
    10        A. Just a clarification. The               10   excessive purchase orders on a daily basis to
    11   ARCOS data gets submitted on a monthly or       11   DEA before shipment.
    12   quarterly basis to the DEA, and it's -- I       12        A. Uh-huh.
    13   think they used the term "cleansed," but it's   13        Q. And that's around page 59 of
    14   corrected for any potential errors, and then    14   your report.
    15   it's deposited into a huge database and it's    15        A. The pickers and packers? Yes,
    16   designed to be queried.                         16   sir.
    17            So what you said is potentially        17        Q. So Cardinal Health's policies
    18   true if somebody would -- would query that      18   instructed personnel to monitor and identify
    19   particular topic, but I just want to make       19   individual orders that appeared excessive
    20   sure that we -- I understand it's not           20   before they were shipped, correct?
    21   automatically reviewed or there's not a         21        A. Yes, sir.
    22   process to do what you said it did.             22        Q. Now, you, in your report on
    23            Of course, any data could              23   page 59, you list a couple dosage limits for
    24   eventually be reviewed for any type of          24   select medications, correct?
    25   information, but that's not how it was          25        A. Yes, sir.
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     1   utilized by the DEA.                             1        Q. Now, there are some customers,
     2   BY MR. PYSER:                                    2   isn't it true, who are going to consistently
     3        Q. During this time when you're             3   order over these limits because they're large
     4   criticizing Cardinal for an increase in          4   customers; isn't that right?
     5   oxycodone shipments, DEA had also increased      5              MR. FULLER: Object to form,
     6   the quota of oxycodone available in the          6        vague.
     7   United States for legitimate medical             7        A. Well, I guess that is a
     8   purposes, correct?                               8   possibility. I didn't see anything that
     9            MR. FULLER: Object to form.             9   would not require an employee of Cardinal to
    10            If you know.                           10   follow this procedure that would exempt any
    11        A. I don't know.                           11   type of customers or have them fail to take
    12   BY MR. PYSER:                                   12   this appropriate -- or this -- not
    13        Q. You don't know when or if DEA           13   appropriate -- take this action as required.
    14   increased the quota for oxycodone in the        14   BY MR. PYSER:
    15   country?                                        15        Q. What the policy says is on a
    16            MR. FULLER: Same objection.            16   daily basis, cage-involved personnel should
    17        A. I didn't review that                    17   be policing and identifying individual orders
    18   information, so I don't know.                   18   that appear excessive in relation to what
    19   BY MR. PYSER:                                   19   other customers are buying and/or the
    20        Q. Do you think that's something           20   customer's purchase history. In these
    21   as a diversion investigator you should know?    21   situations DEA should be notified if possible
    22            MR. FULLER: Object to form.            22   before the order is shipped and a copy of all
    23        A. No, sir.                                23   such orders should be maintained in the
    24   BY MR. PYSER:                                   24   division's suspicious order file, along with
    25        Q. The DEA license held by the             25   the regulatory agency contact form noting any
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     1   specific instructions from DEA.                  1   they've set the limit up at 800 tablets, then
     2            Correct?                                2   unless they modify their policy or they have
     3       A. Yes, sir.                                 3   some exception, I -- this is their policy,
     4            MR. FULLER: And I don't know            4   and this is what they're requiring their
     5       what he's reading from, but if you           5   employees to do.
     6       want to pull the policy to make sure         6       Q. Sir, do you think that it would
     7       he's reading it accurately, you're           7   be appropriate to deny cancer patients at the
     8       welcome to do so. I don't know --            8   Cleveland Clinic medication based on this
     9            MR. PYSER: Counsel, we can              9   absolute limit? Yes or no?
    10       drop the speaking objection. He's           10            MR. FULLER: Object to form.
    11       already answered.                           11            That wasn't the same question.
    12            MR. FULLER: No, I won't drop           12       A. Well, I think to answer that
    13       the speaking objections.                    13   question, if that did occur because they had
    14   BY MR. PYSER:                                   14   a defective suspicious order system, they
    15       Q. So let's take an example, the            15   should correct that so that doesn't occur.
    16   Cleveland Clinic. They're in Cleveland,         16            But so -- I guess that's a
    17   Ohio. It's a large medical facility.            17   hypothetical that I don't really want to
    18            Would you expect the                   18   comment on, but the main thing that I want to
    19   Cleveland Clinic to order, when they order      19   make sure is that -- on my statement is that
    20   from Cardinal Health, more than 800 capsules    20   this is Cardinal's policy, and this is what
    21   of hydrocodone at a time?                       21   they're requiring their employees to do.
    22       A. I don't really have an opinion           22   BY MR. PYSER:
    23   either way. It's a possible reasonable          23       Q. Sir, where do you get the
    24   assumption, but without seeing the              24   opinion that there was no flexibility around
    25   distribution datas or the purchasing            25   this policy and Cardinal Health had no choice
                                              Page 271                                             Page 273
     1   requests, I don't know.                          1   in its policy but to stop shipment of any
     2       Q. And you haven't looked at that            2   order above these limits?
     3   information. You haven't gotten to that          3        A. I didn't see any documents or
     4   level of granularity in your work?               4   any policies that gave the employees that
     5            MR. FULLER: Form.                       5   flexibility.
     6       A. I didn't review the Cleveland             6        Q. You make reference in your --
     7   Clinic or the ingredient limit reports for       7   in your report to the deposition of Steve
     8   specifically looking for the Cleveland           8   Reardon.
     9   Clinic. I focused on the retail or the           9            Do you recall that?
    10   pharmacies.                                     10        A. Yes, sir.
    11   BY MR. PYSER:                                   11        Q. Did you read Mr. Reardon's
    12       Q. Do you believe that Cardinal             12   entire deposition?
    13   Health should have stopped shipping             13        A. I believe I did, yes, sir.
    14   hydrocodone and other pain medicine to the      14        Q. Every page?
    15   Cleveland Clinic based on the fact that there   15        A. Well, yes, sir, I believe so.
    16   were times when the Cleveland Clinic ordered    16        Q. No one from the plaintiffs'
    17   more than 800 tabs of hydrocodone at a time?    17   counsel pointed you to certain pages and told
    18       A. So how I'll answer that is that          18   you to read those but not others?
    19   this policy was set up by Cardinal and it's     19        A. No, sir.
    20   in response to how Cardinal identified the      20        Q. Did DEA require a particular
    21   scope of the businesses they supply.            21   form or format to report suspicious orders?
    22            So my opinion is based on the          22        A. No. The -- how a suspicious
    23   policy that Cardinal set up. I didn't set up    23   order is reported to the DEA is up to the
    24   this policy for them; they did. So if their     24   individual registrant.
    25   policy requires them to take an act and         25        Q. So suspicious orders can be
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     1   reported in an ingredient limit report like      1   BY MR. PYSER:
     2   that, correct?                                   2       Q. You state at page 60 of your
     3       A. The way they're reported and              3   report, quote, I've not been able to locate
     4   how they're delivered, that's up to the          4   any reports related to orders in excess of
     5   registrant.                                      5   the daily limit for the Wheeling distribution
     6       Q. Okay. And if a registrant                 6   center produced in this matter.
     7   wanted, they could report a suspicious order     7            Do you recall that?
     8   to DEA via a phone call, correct?                8       A. That's a correct statement.
     9       A. They could. If I was to                   9   The two that I reviewed I think were a
    10   provide them guidance, I wouldn't recommend     10   different distribution center.
    11   that because it's difficult to record and       11       Q. Okay. How much time did you
    12   document notification, but there would be       12   personally spend looking for agency contact
    13   nothing in the regulations that would           13   forms from the Wheeling distribution center?
    14   prohibit them from doing that.                  14       A. I spent considerable time, and
    15       Q. If DEA didn't want to receive            15   then also I think it was part of the
    16   phone calls, they of course could tell          16   requirement that in the -- in the response to
    17   registrants don't call us, correct? They        17   discovery to make -- advise on that matter
    18   have that ability.                              18   too, so I think if they existed, there would
    19       A. Well, if you're asking that              19   have been other documents that would have
    20   based on my last response, that's not what      20   indicated they did exist.
    21   I'm indicating. I'm not saying that I would     21       Q. Now, if we're talking about the
    22   advocate to tell them don't call me again.      22   pre-2007 system, we're now here in 2019, so
    23             What I'm saying is if they were       23   those forms would be 12 or 13 years old at a
    24   to call to report a suspicious order, I would   24   minimum, correct?
    25   take the information and document it and act    25       A. Yes, sir.
                                              Page 275                                                    Page 277
     1   on it, but I would also give some guidance       1            Just for clarification, you're
     2   that they may want to deliver the suspicious     2   talking the agency contact forms or the
     3   order report in a way that they have             3   ingredient limit reports?
     4   verification.                                    4       Q. Agency contact forms.
     5        Q. Did you ever give that guidance          5       A. Okay.
     6   to Cardinal Health?                              6       Q. From the pre-2007 time period.
     7        A. No, sir.                                 7            (Whereupon, Deposition Exhibit
     8        Q. At page -- strike that.                  8       Rafalski-12, Regulatory Agency Contact
     9             For Cardinal Health, are you           9       Sheet, CAH_MDL_PRIOROD_DEA07_00868973,
    10   aware that excessive order reports that are     10       was marked for identification.)
    11   described in your report were often             11   BY MR. PYSER:
    12   memorialized in agency contact forms?           12       Q. So I'm marking as Exhibit 12 an
    13             MR. FULLER: Object to form.           13   agency contact form dated February 6th, 2007.
    14        A. I'm aware -- I'm aware that             14   Was this one of the forms that you reviewed
    15   it's a requirement of the policy, also is --    15   in your preparation for your report?
    16   I believe that I've only viewed two completed   16       A. I -- I don't recall seeing this
    17   forms, those agency contact forms, in regards   17   form before.
    18   to suspicious -- or suspicious order reports    18       Q. Okay. So this is a 2007 agency
    19   or as far as this activity.                     19   contact form. The purpose of the contact is
    20             Now, I think that form, if I          20   reporting excessive purchases of oxycodone.
    21   understand it correctly, is a multiuse form,    21            Do you see that --
    22   so it could be used by any contact at           22       A. I do.
    23   different agencies, and the two that I'm        23       Q. -- in the Purpose of Contact
    24   speaking of are just in regards to notifying    24   section?
    25   the DEA in regards to orders.                   25            And the name, address and

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     1   telephone number of the DEA representative is    1   that was required to be attached to it?
     2   Jeff Conners.                                    2        Q. I do not have that with me, and
     3            Do you see that?                        3   it's 13 years ago, so I can't make a
     4       A. Yes, sir.                                 4   representation to you whether or not it still
     5       Q. Do you know Mr. Conners?                  5   exists.
     6       A. I know the name. I've probably            6        A. Okay.
     7   met him once or twice before. But to say         7        Q. Does DEA still have the order?
     8   know him, I'm not familiar with him              8        A. 2007? There -- oxycodone,
     9   personally.                                      9   there would be an ARCOS data entry.
    10       Q. But you know that he worked for          10        Q. Beyond the ARCOS entry, would
    11   DEA?                                            11   DEA have any other record of this
    12       A. Yes, I -- I think I indicated            12   transaction?
    13   that, yes, sir.                                 13        A. No, sir.
    14       Q. And the advice that he gave              14        Q. Okay. Would DEA have any other
    15   Cardinal Health or the response that he gave    15   record of this communication?
    16   Cardinal Health was, quote: Advise to keep      16             MR. FULLER: Object to form,
    17   sending monthly ILR report.                     17        outside of scope. Counsel, this is
    18            Do you see that?                       18        also indicated that it's from the
    19       A. I see that statement, and I              19        Findlay distribution center, which I
    20   acknowledge that's what the employee wrote      20        don't even believe we've been provided
    21   down for Cardinal Health. I don't know that     21        transactional data from the Findlay
    22   that's what Mr. Conner said. And I say that     22        distribution center.
    23   because I've -- in my experience, I have        23             MR. PYSER: The witness has
    24   reviewed other documents, even things that I    24        already testified he looked at reports
    25   was involved in where people wrote things       25        from outside of --
                                              Page 279                                             Page 281
     1   that I didn't say.                               1           MR. FULLER: No, no, I
     2       Q. Sir, you've not spoken to                 2      understand that. That brings us back
     3   either Mr. Conners or Ms. Oglesby, who filled    3      to the issue that we talked about at
     4   out this form, about the form?                   4      the very beginning, that most of the
     5       A. I have not.                               5      distribution into CT1 was from the
     6       Q. Okay. Yet, you're questioning             6      Wheeling distribution center. This
     7   the veracity of the statement in here?           7      shows that there wasn't, and there
     8       A. I'm just saying that -- it's              8      were suspicious orders shipped by
     9   not the veracity. I'm just -- and I'm going      9      Findlay.
    10   to acknowledge that is what was said, but I     10           And I believe Cardinal now
    11   just don't know if that's what Mr. Conners      11      needs to supplement with the Findlay
    12   said to Ms. Oglesby.                            12      distribution data for CT1, for all
    13       Q. You don't have any specific              13      Findlay distribution data.
    14   reason to doubt that that's what's said?        14           MR. PYSER: Mr. Fuller, first
    15       A. No, sir, just based on my                15      of all, it's a speaking objection.
    16   experience that there's been other times when   16           MR. FULLER: I'm going to
    17   statements were made that weren't -- that       17      move -- I'm going to move for that.
    18   didn't -- weren't accurate.                     18           MR. PYSER: Let me explain to
    19       Q. It's true that upon receiving a          19      you that this is not an order placed
    20   contact of a suspicious order by phone, DEA     20      by a pharmacy in CT1. If you'd read
    21   also sometimes told Cardinal Health to ship     21      the document, you would see the city
    22   the product that it was reporting, correct?     22      is Columbus, Ohio, which is not part
    23       A. I'm not aware that that ever             23      of CT1.
    24   occurred. Could I ask a question about this?    24           MR. FULLER: I see that.
    25            Do you happen to have the order        25           MR. PYSER: So you can take
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     1       your objection and you can put it at a       1   the Cardinal company.
     2       more appropriate time.                       2            MR. PYSER: Move to strike
     3   BY MR. PYSER:                                    3       everything after "No, sir."
     4       Q. Sir, do you know a DEA                    4   BY MR. PYSER:
     5   investigator named Chuck Carpenter?              5       Q. Do you know whether Ross
     6       A. No, sir.                                  6   Westbank Pharmacy appeared on Cardinal's
     7       Q. On page 61 of your report, you            7   ingredient limit reports to DEA?
     8   claim that Cardinal Health was delivering        8       A. I do not know, sir.
     9   oxycodone illegally to a pharmacy known as       9       Q. Are you aware that DEA has
    10   Ross Westbank Pharmacy.                         10   taken the position that there are some
    11           Do you recall that?                     11   legitimate medical sales that occur over the
    12       A. What page are you on?                    12   Internet?
    13       Q. 61.                                      13       A. What would the time frame for
    14       A. Yes, sir.                                14   that statement be?
    15       Q. Where's Ross Westbank Pharmacy           15       Q. Well, you tell me. What's
    16   located?                                        16   DEA's position about --
    17       A. I don't know. Let me...                  17       A. Well, there is -- there was
    18       Q. Well, it makes up an entire              18   approval eventually of Internet pharmacies.
    19   schedule to your report, Schedule III.          19       Q. When did that happen? Roughly?
    20       A. I was going to ask to pull               20   You don't have to give me an exact date.
    21   those records.                                  21       A. I really don't want to guess,
    22       Q. And I'll represent to you that           22   and I don't have my Code of Federal
    23   hundreds of times in your very own report, it   23   Regulations here. It was post the Ryan
    24   says Ross Westbank Pharmacy is located in       24   Haight Act or in conjunction with the Ryan
    25   Hudson, Wisconsin.                              25   Haight Act. I don't want to guess at a year.
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     1       A. Okay.                                     1        Q. At any time that you're aware
     2       Q. Sir, do you have any evidence             2   of, was there a federal regulation or rule
     3   to support a connection between the              3   that prevented individuals from ordering
     4   pharmaceuticals shipped to Ross Westbank in      4   noncontrolled substances through the mail,
     5   Hudson, Wisconsin and use of those               5   say, blood pressure medication? Is that okay
     6   pharmaceuticals in Cuyahoga or Summit County?    6   to receive that through the mail?
     7       A. I don't think that appears in             7        A. I never received any guidance
     8   my report to attribute the specific              8   or training on acquisition of noncontrolled
     9   distributions. I think it goes into my           9   substances pursuant to a prescription, so I
    10   report to the conduct of Cardinal Health,       10   don't know the answer to that. I never
    11   where the regulations and the compliance        11   reviewed it as part of this opinion either.
    12   department was operated centrally out of the    12        Q. On pages -- I want to go back a
    13   headquarters.                                   13   little bit in your report, pages 49 through
    14       Q. So that's a no to my question?           14   50. You list a series of enforcement actions
    15       A. Well, I guess you asked me how           15   against Cardinal Health.
    16   I used it. And --                               16             Do you see that?
    17       Q. No, I --                                 17        A. Yes, sir.
    18       A. Could you restate the question?          18        Q. None of the enforcement actions
    19   I'm sorry.                                      19   against Cardinal Health that you list in your
    20       Q. Do you have any evidence to              20   report occurred in Cuyahoga or Summit County,
    21   support a connection between the                21   correct?
    22   pharmaceuticals shipped to Ross Westbank in     22        A. The purpose for listing these
    23   Hudson, Wisconsin and the use of                23   was to demonstrate the failure to maintain
    24   pharmaceuticals in Cuyahoga or Summit County?   24   effective controls against diversion. I do
    25       A. No, sir. Just the conduct by             25   acknowledge that none of them specifically

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     1   are against the distributions to Cuyahoga       1   tax returns going back 13 years, right, in
     2   County.                                         2   your experience?
     3        Q. Okay. And none of them involve          3        A. Well, I haven't conducted any
     4   the Wheeling, West Virginia distribution        4   surveys or asked any people, but generally
     5   center, correct?                                5   speaking, people don't keep those kind of
     6        A. That's correct.                         6   records for that length of time.
     7        Q. On page 52 of your report, you          7        Q. They may have paid their taxes
     8   have a paragraph. The first full paragraph      8   even though they no longer have the tax
     9   talks about a 2005 New York Attorney General    9   returns from 13 years ago, correct?
    10   investigation?                                 10        A. Well, I think in some of those
    11        A. Yes.                                   11   records, I guess retention -- and I'm not
    12        Q. And you write: The matter              12   sure why there would be a retention because I
    13   involves, amongst other allegations, price     13   think there's some law or regulation on how
    14   diversion with closed-door pharmacies that     14   far the IRS could go back and look at your
    15   engaged in contract pricing.                   15   previous tax returns. Seem to think seven
    16            Do you see that?                      16   years comes to mind.
    17        A. Yes, sir.                              17            So there would be no reason to
    18        Q. So this New York Attorney              18   retain them past that period of time as far
    19   General investigation you're speaking about,   19   as I could see, unless that's just what you
    20   it involved pharmacies that were buying        20   wanted to do.
    21   medication and reselling it to other           21        Q. So it's your layman's
    22   pharmacies; is that a correct understanding?   22   understanding that the IRS tells taxpayers
    23        A. Yes, sir.                              23   the length of time they need to retain their
    24        Q. Okay. And that wasn't limited          24   tax returns in case there's any further
    25   in any way to controlled substances; it was    25   inquiry, right?
                                             Page 287                                             Page 289
     1   the buying and selling of medication more       1             MR. FULLER: Object to form.
     2   generally than that. That's price diversion,    2        A. I don't think they tell them
     3   correct?                                        3   that. I think that -- and I don't think the
     4            MR. FULLER: Form.                      4   IRS really tells you that either, maybe the
     5       A. So again, this goes to the               5   law does. I believe in conversations with an
     6   conduct of the Cardinal facility, but the       6   accountant, I think they tell you how far
     7   answer to your question would be yes.           7   back you're required to keep records for a
     8   BY MR. PYSER:                                   8   possible audit.
     9       Q. In what you've reviewed related          9   BY MR. PYSER:
    10   to the New York Attorney General               10        Q. In your report, you come to the
    11   investigation from 2005, you've not formed     11   opinion that if a distributor's unable to
    12   any opinion that opioids were being diverted   12   locate a due diligence file, say, from 2006,
    13   to any patient without a legitimate            13   that no due diligence was done, correct?
    14   prescription, correct?                         14             If you can't put your hands on
    15       A. In my review of that, I don't           15   it today, you make the assumption that
    16   recall that there was any specific reference   16   nothing was done; is that right?
    17   to opioids.                                    17        A. Yes, sir.
    18       Q. Sir, do you have your tax               18        Q. Is it possible that due
    19   returns from 13 years ago, in 2006?            19   diligence was done back in 2006 or even
    20       A. Unfortunately, I would probably         20   earlier, but those records weren't retained?
    21   answer yes. I believe my wife has my utility   21        A. Well, my opinion on that matter
    22   records from back at that time. Although I     22   is if there were no records retained, then
    23   would -- before you ask me again, I would      23   there was no due diligence because there's no
    24   acknowledge that's not the norm.               24   record of it.
    25       Q. So most people don't keep their         25             And not just from the
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     1   standpoint of the physical piece of paper,       1   expectation that all records related to
     2   but moving forward even though it's 13 years     2   pharmacy due diligence would be kept
     3   later, I think there has to be a                 3   indefinitely?
     4   comprehensive history in a due diligence to      4       A. I believe I would consistently
     5   make some decisions relative to that             5   discuss that. Saying that those aren't
     6   pharmacy.                                        6   required records, so that would be a
     7             Now, albeit 13 years back is a         7   discussion under security, but yes. And I
     8   lot different than the industry is today, but    8   was present -- so there would be my training
     9   I don't think it would be prudent for any        9   in regards to the distributor briefings. I
    10   distributor to throw away any record in         10   was present at a distributor briefing to
    11   regards to a pharmacy.                          11   actually -- because I wanted to learn how
    12        Q. Even a pharmacy that's no               12   they occurred, and Mr. Kyle Wright, we had
    13   longer a customer?                              13   spoke about him earlier, he would make it
    14        A. Well, I think in regards to             14   clear that -- in pretty common terms that if
    15   that topic, the -- depending on the scenario,   15   you don't document it, it doesn't exist.
    16   if it was a terminated or this customer no      16       Q. So while you would inform
    17   longer wanted to do any business with           17   distributors in your recollection that you
    18   Cardinal, that doesn't mean they could always   18   believed they should do it, you also told
    19   come back and reapply to be a customer again.   19   them that it was not a required record to
    20             And I think that's one of the         20   maintain due diligence, correct?
    21   critical examples of why you need to retain     21       A. I don't know if I would inform
    22   that, because you would be starting all over    22   them of that --
    23   again, and you're negating the history,         23            MR. FULLER: Object to form,
    24   either positive or negative, of the work you    24       misstates his testimony.
    25   did in regards to that registrant.              25       A. I don't know if I would
                                              Page 291                                            Page 293
     1       Q. When a pharmacy closes its                1   specifically say it's something they did or
     2   doors, let's say a pharmacy goes out of          2   didn't do. I would just give them in some
     3   business, at that point is a distributor free    3   matters guidance. It would be a guidance
     4   to get rid of the records about that pharmacy    4   that -- because in most regulatory
     5   or do they have to keep it even after that       5   investigations, I may ask to see some due
     6   point in your view?                              6   diligence on a specific customer, and
     7       A. Well, there's no regulatory               7   sometimes it would come up when I asked for
     8   guidance, the maintenance of effective           8   it that they -- the registrant would tell me
     9   controls. I guess if you went to the extreme     9   that it's not a required record.
    10   and the owner pharmacist died, but if he --     10             So the option was this is -- as
    11   if he just closed his doors and he moved on     11   part of a work plan or a regulatory
    12   and he might potentially open another           12   investigation, a registrant wouldn't have to
    13   company, I would say, if it was my decision     13   show me the due diligence. In that case, I'd
    14   as a registrant, I would keep the record.       14   have to subpoena.
    15       Q. When you were performing cyclic          15   BY MR. PYSER:
    16   investigations -- is it an investigation or     16        Q. You're one diversion
    17   an audit? What's the right term?                17   investigator when you were working at DEA,
    18       A. Well, some people call them              18   correct?
    19   cyclic. Some people call them work plans.       19        A. Yes.
    20   Some call them regulatories. It goes by all     20        Q. Do you know one way or the
    21   those different names.                          21   other whether the diversion investigators who
    22       Q. So when you were visiting a              22   visited Cardinal Health's facilities ever
    23   distributor in your job working as a            23   told them about this indefinite record
    24   diversion investigator, did you tell the        24   retention policy that you're putting forward
    25   distributors you visited that it was your       25   in your expert report?
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     1             MR. FULLER: Objection. And             1       Q. We talked earlier about these
     2        remind you of your Touhy obligation.        2   agency contact forms for phone calls to DEA?
     3        Anything that is internal policy at         3       A. Yes, sir.
     4        DEA or communicated while you were on       4       Q. Is it possible that at some
     5        the job is outside the scope of what        5   point from 1996 through 2012 employees from
     6        you're authorized to testify to.            6   Cardinal Health may have called DEA before
     7        A. I'm not aware.                           7   shipping an order that was destined for
     8   BY MR. PYSER:                                    8   Cuyahoga or Summit County?
     9        Q. So on page 50 of your report,            9       A. If that occurred, I would have
    10   you have a chart that talks about suspicious    10   an expectation to see one of the agency
    11   orders reported in the CT1 jurisdictions,       11   contact forms.
    12   right?                                          12       Q. But knowing that we don't have
    13        A. Yes.                                    13   any agency contact forms from Wheeling, West
    14        Q. Okay. And there's two columns,          14   Virginia, is it possible that people spoke on
    15   pre-shipment reporting and then -- on the       15   the phone, but today, from 1996, it's
    16   left, and on the right, post-shipment           16   23 years later, so 23 years later, is it
    17   reporting, right?                               17   possible a phone call was made but we don't
    18        A. Right. Yes, sir.                        18   have a record of it?
    19        Q. Okay. On the right side, the            19            MR. FULLER: Objection,
    20   post-shipment reporting, it's blank until       20       misstates evidence.
    21   2005, correct?                                  21       A. So I can only comment on the
    22        A. Yes, sir.                               22   facts of which I know and what records exist.
    23        Q. And that's blank there because          23   I don't make comments on hypothetical
    24   you know from testimony that Cardinal Health    24   situations of whether it could have occurred
    25   was submitting ingredient limit reports to      25   and there was no documentation or it's lost
                                              Page 295                                            Page 297
     1   DEA, but we just no longer have those            1   or --
     2   records; is that right?                          2   BY MR. PYSER:
     3        A. Sir, I believe my report says            3        Q. Well, sir, you do, because you
     4   that I could not find those -- I could not       4   put a zero there instead of leaving it blank
     5   find -- those weren't provided to me and I       5   like you did on the other side.
     6   did not find those reports.                      6             So isn't it more accurate that
     7        Q. You also reviewed the testimony          7   where you don't know, you should leave it
     8   of Steve Reardon we talked about earlier         8   blank like you did on the right-hand side,
     9   today, and he said Cardinal Health was           9   rather than filling in zeros when you don't
    10   sending ingredient limit reports to the DEA     10   have any evidence one way or the other?
    11   beginning in the early '90s, correct?           11   Wouldn't that be a better way to write your
    12        A. I don't have a recollection of          12   report?
    13   that exact statement in his deposition.         13        A. I guess that's open to your
    14        Q. Did you have any reason to              14   interpretation. I'm confident with putting
    15   believe Mr. Reardon wasn't telling the truth    15   zeros because I found no documents.
    16   if that is, in fact, what he said?              16        Q. So when you don't know
    17        A. No, I don't have any                    17   something, you assume it wasn't done in your
    18   independent knowledge of not -- whether to      18   report, correct?
    19   believe him or not to believe him.              19        A. Well, I -- if I don't see a
    20        Q. So on page 50 we have blanks            20   record that I believe should have been
    21   under post-shipment report, where it's          21   retained, then it -- I guess -- I don't know
    22   unknown, but you filled in zeros on the left    22   if that's an assumption. It doesn't exist.
    23   side for pre-shipment reports all the way       23   I can't make an opinion of that a record
    24   from 1996 to 2012, correct?                     24   existed when I don't have any documentation
    25        A. Yes.                                    25   that it did exist.
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     1             MR. PYSER: We've been going                  1       Q. Now, what the paragraph or the
     2        about an hour. Let's take a break.                2   page that you cite in your report for that
     3             THE WITNESS: Sure.                           3   statement says is: In 2009 -- and this is
     4             THE VIDEOGRAPHER: Going off                  4   Michael Mon?, Cardinal Health employee in the
     5        the record at 3:59 p.m.                           5   anti-diversion team, he writes: In 2009, DEA
     6             (Recess taken, 3:59 p.m. to                  6   diversion investigator Michael Arpaio raised
     7        4:10 p.m.                                         7   a question about Cardinal Health's due
     8             THE VIDEOGRAPHER: We're back                 8   diligence files on its chain pharmacy
     9        on record at 4:10 p.m.                            9   customers.
    10   BY MR. PYSER:                                         10            Do you see that?
    11        Q. Welcome back, Mr. Rafalski.                   11       A. Yes, sir.
    12        A. Thank you.                                    12   BY MR. PYSER:
    13        Q. Directing your attention to                   13       Q. And a little bit later down, it
    14   page 52 of your report, in the last                   14   says: Arpaio told Cardinal Health personnel
    15   paragraph, you make a statement that Cardinal         15   that he needed to contact DEA's attorney to
    16   Health provided almost preferential treatment         16   determine if Cardinal Health's due diligence
    17   to its chain pharmacy accounts as compared to         17   on chain pharmacies presented any problem.
    18   their retail independent customers.                   18   Thereafter, I -- that's Mr. Mon? -- contacted
    19             Do you see that opinion?                    19   Mr. Arpaio and his supervisor,
    20        A. Yes, sir.                                     20   Ms. Boockholdt, to discuss the question.
    21        Q. And just over on to the next                  21            Do you see that?
    22   page, you base that on a declaration of               22       A. Yes, sir.
    23   Michael Mon?.                                         23       Q. Okay. And a little bit further
    24             Do you see that?                            24   down, it says: I told Ms. Boockholdt that we
    25        A. Yes, sir.                                     25   obtained information from CVS's loss
                                                    Page 299                                            Page 301
     1       Q. And, in particular, if you go                   1   prevention department which augments the
     2   to page 13 of this document.                           2   information from Cardinal Health, that
     3            (Whereupon, Deposition Exhibit                3   Cardinal Health possesses, with respect to
     4       Rafalski-13, Declaration of Michael A.             4   any concerns that we identify in CVS orders
     5       Mon?, CAH_MDL_PRIOROD_DEA12_00014053 -             5   or stores. Thereafter, neither
     6       CAH_MDL_PRIOROD_DEA12_00014081, was                6   Ms. Boockholdt nor Mr. Arpaio raised any
     7       marked for identification.)                        7   objections to Cardinal Health's QRA or SOM.
     8   BY MR. PYSER:                                          8            Do you see that?
     9       Q. I'm showing you a document now                  9       A. Yes, sir.
    10   that's been marked as Exhibit 13.                     10       Q. Do you know Ms. Boockholdt and
    11            MR. FULLER: Thank you.                       11   Mr. Arpaio?
    12   BY MR. PYSER:                                         12       A. I know who Mr. Arpaio is, and I
    13       Q. And on page 13 there's a                       13   think I've met him. I know who
    14   paragraph, it's paragraph 29. Do you see              14   Ms. Boockholdt is. I probably had some
    15   that?                                                 15   interaction and conversations with her, not
    16            MR. FULLER: What exhibit                     16   in regards to this document, but just in
    17       number is this?                                   17   terms of my employment.
    18            MR. PYSER: 13.                               18       Q. And at the very end it states,
    19            MR. FULLER: Okay.                            19   beginning on the last line: Neither
    20            You said page 13 as well?                    20   Ms. Boockholdt nor Mr. Arpaio raised any
    21            MR. PYSER: Yes. Exhibit 13,                  21   objection to Cardinal Health's QRA/SOM
    22       page 13.                                          22   program -- that's their suspicious order
    23   BY MR. PYSER:                                         23   monitoring program, correct, SOM?
    24       Q. Are you with me, Mr. Rafalski?                 24       A. Yes.
    25       A. I am.                                          25       Q. -- with respect to chain
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     1   pharmacy customers. DEA's own inspectors         1   correctly, there was three changes of
     2   have described Cardinal Health's SOM program     2   ownership -- actually, let me retract that.
     3   as one of the best among wholesale drug          3             There were three changes of DEA
     4   distributors nationwide.                         4   numbers over a period of years, and that was
     5            Do you see that?                        5   alarming to me, and I would have had an
     6       A. Yes, sir.                                 6   expectation to see some explanation of why
     7       Q. So this is the paragraph you              7   that -- those DEA registration numbers
     8   cited in your report, correct?                   8   changed.
     9       A. Yes, sir.                                 9        Q. Do you know who owned New
    10       Q. Now, Ms. Boockholdt and                  10   Choice Pharmacy, say in 2006?
    11   Mr. Arpaio, who interacted with Mr. Mon? in     11        A. I'm not sure I knew or not. I
    12   2009, that was ten years ago, right, 2009?      12   don't think it -- I don't -- I don't know.
    13       A. Yes, sir.                                13        Q. Do you know where the pharmacy
    14       Q. Who's in a better position to            14   is located, was located?
    15   understand Cardinal Health's suspicious order   15        A. Yes.
    16   monitoring process? Two DEA investigators       16        Q. Where?
    17   who spoke to Cardinal Health at the time or     17        A. It was located in a hospital.
    18   yourself ten years later?                       18        Q. In Cuyahoga Falls General
    19            MR. FULLER: Object to form,            19   Hospital?
    20       inadequate hypothetical.                    20        A. Yes, sir.
    21       A. I don't know what information            21        Q. Did you ever visit it?
    22   that either one of these diversion              22        A. No, sir.
    23   investigators had to cause Mr. Mon? to make     23        Q. Do you know whether Cardinal
    24   this affidavit or --                            24   Health employees visited New Choice Pharmacy?
    25            ///                                    25        A. If they did visit, I don't
                                              Page 303                                             Page 305
     1   BY MR. PYSER:                                    1   recall seeing any documentation of the visit
     2       Q. You've never spoken to                    2   or results of the visit.
     3   Ms. Boockholdt or Mr. Arpaio about the           3       Q. Did you see documentation that
     4   statements in this paragraph, have you?          4   Mr. Mon?, the head of Cardinal Health's
     5       A. No, sir.                                  5   anti-diversion program, personally visited
     6       Q. You've never seen any statement           6   that pharmacy?
     7   from Ms. Boockholdt or Mr. Arpaio                7       A. I don't have a recollection of
     8   contradicting the statements in this             8   that.
     9   paragraph, have you?                             9       Q. Is that something you should
    10       A. I have not.                              10   have considered?
    11       Q. In your report, you identify             11       A. If he visited?
    12   one retail independent customer in Ohio from    12            MR. FULLER: Form.
    13   Cardinal Health and speak about it. It's New    13   BY MR. PYSER:
    14   Choice Pharmacy?                                14       Q. Yes.
    15       A. Yes, sir.                                15       A. I guess I'd have to see what
    16       Q. And your conclusion or your              16   the results of that visit was. If he -- the
    17   opinion is that the due diligence file as it    17   purpose of his visit and whether he conducted
    18   exists in 2018 does not sufficiently document   18   due diligence and what his notations. I
    19   certain increases in oxycodone distributions    19   don't recall reviewing any kind of file about
    20   between 2004 and 2008, correct?                 20   documenting the purpose or what occurred
    21       A. I'd like to get to that                  21   during his visit.
    22   section, but I know my --                       22       Q. If there's a due diligence file
    23       Q. Take a look at page 53.                  23   that does document Mr. Mon?'s visit, is that
    24       A. -- my report does state that.            24   something you should have reviewed as part of
    25   And I think it also states, if I remember       25   your opinion?

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     1       A. Yes, sir, I think I would need            1       CAH_MDL2804_00000606 -
     2   to consider that. I don't think it would         2       CAH_MDL2804_00000618, was marked for
     3   have changed some of the conduct that            3       identification.)
     4   occurred with -- in regards to the dosage        4   BY MR. PYSER:
     5   units and the increases, unless there's          5       Q. I'm showing you a document
     6   something specific in there that I'm not         6   marked as Exhibit 14. This is the file that
     7   aware of.                                        7   you reference in your report.
     8       Q. Do you know whether New Choice            8            MR. FULLER: Thank you.
     9   Pharmacy ever lost its DEA registration?         9   BY MR. PYSER:
    10       A. I'm not aware that it lost its           10       Q. On the first page it states
    11   DEA registration, no, sir.                      11   that New Choice Pharmacy is owned by a
    12       Q. Did DEA ever take any adverse            12   hospital, correct?
    13   action against New Choice Pharmacy?             13       A. Yes, sir.
    14       A. Not that I'm aware of, no, sir.          14       Q. On the second page, third
    15   But that doesn't minimize or alleviate the      15   paragraph, it states: The account was
    16   conduct that I described in my report,          16   confirmed as being owned by a hospital,
    17   whether or not the DEA took action against      17   again, and services oncology and hospice
    18   them.                                           18   patients.
    19            MR. PYSER: Move to strike              19            Mr. Rafalski, in your
    20       everything after "Not that I'm aware        20   experience, do oncology and hospice patients
    21       of, no, sir."                               21   use more pain medication than the average
    22            MR. FULLER: Object to the              22   population?
    23       motion.                                     23       A. Well, I'm not a physician, but
    24   BY MR. PYSER:                                   24   I would have to say in my experience that
    25       Q. Did you review a due diligence           25   that would be a logical assumption.
                                             Page 307                                             Page 309
     1   file that made clear that New Choice             1       Q. It goes on to say: In
     2   dispenses from medical staff who are ASAM and    2   addition, they -- meaning New Choice
     3   pain management certified?                       3   Pharmacy -- are inspected by the Board of
     4        A. I'd like to pull that document,          4   Pharmacy on a monthly basis.
     5   the due diligence file.                          5             Do you see that?
     6        Q. Well, if you want to pull a              6       A. I acknowledge that's what this
     7   document, we're going to have to go off the      7   says, yes, sir.
     8   record.                                          8       Q. You don't have any reason to
     9             MR. FULLER: No, he can do it.          9   disbelieve the fact that New Choice Pharmacy
    10        You're asking the questions.               10   in this time period was visited by the Ohio
    11             MR. PYSER: I asked him a              11   Board of Pharmacy on a monthly basis,
    12        simple question.                           12   correct?
    13             MR. FULLER: If you want to            13       A. Well, I would have an
    14        give him a due diligence file that's       14   expectation that there may be some
    15        cited in his report, then so be it.        15   confirmation of that.
    16        He can pull it. You're the one that's      16       Q. Did you seek the Ohio Board of
    17        not showing him the documents.             17   Pharmacy records for New Choice?
    18             Oh, so you had it.                    18       A. I did not.
    19        Interesting.                               19       Q. Would one reason for an
    20             MR. PYSER: Enough commentary,         20   increase in orders from a pharmacy be when a
    21        Counsel.                                   21   pharmacy switches orders over from a
    22             MR. FULLER: Nah.                      22   secondary wholesaler to a primary
    23             (Whereupon, Deposition Exhibit        23   distributor?
    24        Rafalski-14, 1/10/08 Brantley Memo         24       A. Just so I understand your
    25        w/Attachment(s),                           25   question, to terminate their receipt of
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     1   product from a secondary and go solely to the    1   make any reference one way or the other to a
     2   primary? Is that --                              2   shift from secondary distributor to a primary
     3       Q. Not necessarily terminate. Let            3   distributor; it's not something that you
     4   me try to clarify the question a little bit.     4   mention in your report, correct?
     5            You're familiar with the fact           5       A. I do not mention in my report,
     6   that many pharmacies have more than one          6   but I am aware that during the time frame of
     7   distributor?                                     7   the three registrations, there was some
     8       A. Yes, sir.                                 8   transfers back and forth between suppliers,
     9       Q. So if a pharmacy shifts its               9   multiple suppliers, which would be another
    10   orders of both controlled substances and        10   concern for me as a diversion investigator or
    11   noncontrolled substances from one distributor   11   for a registrant because --
    12   to another, the distributor to whom those       12       Q. Sir, did you --
    13   orders are shifting can expect an increase in   13       A. -- that would be --
    14   volume of controlled substance orders,          14            MR. FULLER: Let him finish his
    15   correct?                                        15       answer.
    16       A. I don't think I understand the           16       A. -- that could be another
    17   question. So the distributions are going to     17   potential way to camouflage or to stop the
    18   shift from distributor A to distributor B?      18   review of potential diversion.
    19       Q. Yes.                                     19            MR. PYSER: Move to strike the
    20       A. I don't know that that would             20       answer as nonresponsive.
    21   cause an increase of the purchases.             21   BY MR. PYSER:
    22       Q. Well, if -- let's take that              22       Q. In addition to New Choice
    23   simple hypothetical --                          23   Pharmacy in the next paragraph, you make
    24       A. It would be a new distribution.          24   reference to a pharmacy known as CVS
    25       Q. If a pharmacy used to order 50%          25   No. 3322.
                                              Page 311                                             Page 313
     1   of its medication from one distributor and       1            Do you see that?
     2   50% from another distributor, but then starts    2       A. Yes, sir.
     3   ordering 100% from, let's call it distributor    3       Q. And are you familiar with how
     4   X.                                               4   busy of a store CVS 3322 is?
     5        A. Okay. I understand that                  5       A. I am not.
     6   hypothetical.                                    6       Q. Do you know where it is?
     7        Q. Would you expect that                    7       A. It's not stated in my report,
     8   distributor X has an increase in the total       8   but I believe it was probably on one of the
     9   volume?                                          9   documents I reviewed.
    10        A. So if I looked at a due                 10       Q. A store that fills between 500
    11   diligence file and that situation would have    11   and 750 scripts per day of all types of
    12   occurred, there should be some kind of review   12   medication, is that a busy store?
    13   or explanation or due diligence investigation   13       A. Yes, sir, that's a busy store.
    14   that would be indicative of that occurring.     14       Q. Did you review any documents
    15            And the other -- the other tool        15   that showed the ratio of controlled
    16   that I might expect to see because there has    16   substances to noncontrolled substances at
    17   to be some kind of a review to set a            17   CVS 3322?
    18   threshold or have an understanding of the       18       A. So unless you have the due
    19   legitimate needs of that pharmacy, so I would   19   diligence file, I'd like to pull mine out.
    20   expect to see some kind of an investigation,    20       Q. Happy to show it to you, sir.
    21   maybe obtaining a utilization report or a       21       A. Okay.
    22   dispensing report to get a good gauge on the    22       Q. What's a normal ratio of
    23   previous patterns of a pharmacy if it's been    23   controlled substances to noncontrolled
    24   in existence.                                   24   substances?
    25        Q. Sir, in your report you don't           25       A. Kind of changed over a period
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     1   of time. Now, today, I think there's an          1   yes, sir.
     2   expectation that a usual or normal pattern       2        Q. You don't have any reason to
     3   might be somewhere around 20 to 25%              3   believe this document is inaccurate, do you?
     4   controlleds versus noncontrolleds. Back ten      4        A. Well, my --
     5   years ago, it would have been a much lower,      5             MR. PYSER: Counsel, why did
     6   12, 15%.                                         6        you just raise your hand in the middle
     7        Q. Are you familiar with the fact           7        of his answer? He's free to answer
     8   that other DEA employees have testified that     8        the question.
     9   20% is the appropriate percentage and have       9             MR. FULLER: Oh, because I
    10   not -- and haven't changed it over time like    10        wanted to answer. Sorry.
    11   you just did?                                   11             THE WITNESS: I thought he was
    12        A. I don't recall reading any of           12        going to object. I apologize.
    13   those depositions. My answer to you would be    13        A. So when I see this document,
    14   based on my experience as in the cases and      14   what I would expect is to see some document
    15   the reviews of records that I've reviewed in    15   that would corroborate this information. And
    16   regards to those statements by registrants.     16   I don't think in my experience of doing cases
    17            (Whereupon, Deposition Exhibit         17   that you would just accept that document on
    18        Rafalski-18, 7/17/12 Rausch Memo           18   face value.
    19        w/Attachment(s),                           19             I would have -- I would have
    20        CAH_MDL2804_00000204 -                     20   liked to have seen a confirmation document, a
    21        CAH_MDL2804_00000219, was marked for       21   utilization or a dispensing report and some
    22        identification.)                           22   calculations to confirm that these are
    23   BY MR. PYSER:                                   23   accurate statements.
    24        Q. I'm showing you what's been             24   BY MR. PYSER:
    25   marked as Exhibit 18. This is the due           25        Q. Sir, the memo that we're
                                              Page 315                                            Page 317
     1   diligence file from the CVS 3322 that you        1   looking at at Bates page 211 states that the
     2   reference in your report. And it's in Parma,     2   purpose of this memorandum is to outline the
     3   Ohio, correct?                                   3   findings derived from the data provided by
     4        A. Yes, sir.                                4   CVS, and then it goes on to say the data was
     5        Q. And it's got a series of                 5   based on store-specific averages.
     6   reports of investigation by Cardinal Health,     6            Isn't it reasonable to say that
     7   surveillance reports. Do you see those?          7   Mr. Cameron, who prepared this document, did
     8        A. Yes, sir.                                8   actually look at that data? Isn't that what
     9        Q. And on Bates page ending 209,            9   he's saying he did there?
    10   it gives the address of the store at 2007       10       A. Well, it says data provided by
    11   Brookpark Road in Parma, Ohio.                  11   CVS, but it doesn't say what type of data.
    12        A. Yes, sir.                               12   It could have been a -- just a list of the
    13        Q. Do you know how close that is           13   same information. I didn't --
    14   to St. Vincent's Hospital?                      14       Q. So --
    15        A. No, sir.                                15       A. I would want to see something
    16        Q. How about MetroHealth Medical           16   independent that could verify that.
    17   Center?                                         17       Q. So you're basing your
    18        A. No, sir.                                18   identification of this store as a store that
    19        Q. And take another turn of the            19   you believe Cardinal Health failed to report
    20   page to Bates page ending 211.                  20   to DEA as suspicious over the fact that you
    21        A. Yes, sir.                               21   don't have the actual data breakdown in the
    22        Q. Okay. And here, Cardinal                22   due diligence file even though there's a memo
    23   Health writes that the percentage of            23   explaining what the data shows, correct?
    24   controlled from this store is 18.4%, correct?   24            MR. FULLER: Object to form.
    25        A. That's what this document says,         25       A. Well, I only see that -- the

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     1   information provided here. In my report, the     1       A. It's not just what I believe is
     2   concern was a change from a large increase of    2   appropriate; it's what I've learned through
     3   controlled substances, and I would expect to     3   my training, guidance, distributor briefings,
     4   see some kind of explanation for that            4   what requirements are required for making
     5   increase.                                        5   these assessments.
     6   BY MR. PYSER:                                    6            I think the Masters decision
     7       Q. Well, the monthly script volume           7   speaks to that too, in regards to verifying
     8   is 16,778, and the percentage of controlled      8   information during due diligence
     9   remains below 20%, correct?                      9   investigations.
    10       A. Yes, but -- but the time frame           10       Q. The Masters decision came out
    11   on this is in November of 2013. The increase    11   in 2017, correct?
    12   occurs in October of 2012. I would expect to    12       A. Yes, but that didn't mean --
    13   see some kind of information relative to that   13       Q. Sir, that was a simple
    14   specific increase.                              14   question. I asked for the year. I'm going
    15       Q. You also see the percentage of           15   to ask you to stop opining beyond the
    16   controlled paid by cash at 2.5%?                16   question.
    17            Do you see that?                       17            MR. FULLER: He can provide the
    18       A. Yes, sir.                                18       explanation he wants to provide.
    19       Q. And that's actually lower than           19            MR. PYSER: He's going well
    20   the percentage of noncontrolled paid by cash,   20       beyond the question. Yes, we have.
    21   correct?                                        21            MR. FULLER: We have this time
    22       A. Yes, sir.                                22       in deposition, and your witnesses did
    23       Q. So there's nothing suspicious            23       it and I let them complete their
    24   about that, correct?                            24       answers. You're going to let
    25       A. Again, I'll make the same kind           25       Mr. Rafalski complete his answers.
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     1   of assessment that I did earlier. I              1           MR. PYSER: It's a simple
     2   acknowledge that that is what this says, but     2      question.
     3   I might like to see some kind of other           3   BY MR. PYSER:
     4   verification that these are accurate.            4      Q. What year --
     5            And I make that statement based         5           MR. FULLER: He can --
     6   on my experience with some cases I worked        6   BY MR. PYSER:
     7   where these type of figures were provided or     7      Q. -- did the Masters decision
     8   listed in due diligence but when actually        8   come out?
     9   looking at the dispensing reports, that these    9           MR. FULLER: He can complete
    10   weren't accurate assessments.                   10      his answers.
    11        Q. Do you know whether Mr. Cameron         11           Go ahead, Mr. Rafalski.
    12   did look at the dispensing reports?             12      A. Do you want me to answer that
    13        A. I do not know if he did or did          13   question or the question prior?
    14   not look at them.                               14   BY MR. PYSER:
    15        Q. Do you have any reason to               15      Q. Sir, what year did the Masters
    16   believe that these numbers listed in this       16   decision come out?
    17   document at Bates page 211 of Exhibit 18 are    17      A. 2017.
    18   inaccurate? This particular document.           18      Q. Thank you, sir.
    19        A. I'm not going to accept them to         19           Your report also talks about a
    20   accurate because I don't see anything that      20   CVS Pharmacy No. 219 in Florida, correct?
    21   would be used to verify the accuracy of them.   21           We're going to be on pages 62
    22        Q. And that's the basis for your           22   and 63 now, 63 in particular.
    23   criticism, is that the due diligence files      23      A. Yes, sir.
    24   don't have all of the information that you      24      Q. Are you aware of the fact that
    25   believe is appropriate, correct?                25   Cardinal Health asked the DEA to investigate
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     1   CVS Pharmacy 219 in Florida? Did you             1       that question.
     2   consider that in your report?                    2            MR. PYSER: Let me rephrase
     3       A. No, I did not. It doesn't                 3       because your counsel made an
     4   appear in my report.                             4       objection.
     5       Q. When DEA investigates a                   5   BY MR. PYSER:
     6   pharmacy, do they have the ability to look at    6       Q. Are DEA investigators able to
     7   the scripts that were filled by that             7   ask for information that's not available to a
     8   pharmacy, which would include patient and        8   distributor when they want to look at a
     9   doctor information?                              9   customer?
    10       A. Yes, sir.                                10            MR. FULLER: Same objection.
    11       Q. When a distributor goes to a             11       A. So just the mere ability to go
    12   customer, to a pharmacy, are they allowed to    12   in and look at prescriptions that contain
    13   see the patient information, such as the name   13   patient information, I would answer yes to
    14   of the patient, the doctor, the medical         14   that question.
    15   condition for which something might have been   15   BY MR. PYSER:
    16   prescribed?                                     16       Q. On pages 64 and 65 you list out
    17       A. Well, let me just correct my             17   five pharmacies in a chart.
    18   previous statement. I'm not sure that if I      18       A. Yes, sir.
    19   went into a pharmacy and reviewed               19       Q. Have you visited any of those
    20   prescriptions I'd see the medical condition.    20   pharmacies?
    21   Sometimes there might be a notation. So I       21       A. I have not.
    22   want to correct that answer.                    22       Q. Do you know whether or not
    23            In regards to my answer to the         23   those pharmacies are active today with active
    24   CVS is they could ask for that information.     24   DEA licenses?
    25   They don't -- I'm not sure they have a          25       A. I do not, and I would not have
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     1   right -- well, they don't have a right to        1   the ability to confirm that.
     2   just go in and ask for it. But they could        2        Q. Really? Have you ever heard of
     3   ask CVS to fashion a prescribing report.         3   Google?
     4   I've -- I've obtained them in my experience      4        A. Yeah, but a Google is not going
     5   over the years, and minus the patient            5   to give me the DEA registration of those
     6   information, they could get the same kind of     6   pharmacies. It might list the pharmacy and
     7   information to lead them to make some due        7   the name, but that would be an assumption it
     8   diligence decisions in regards to the            8   would have the same DEA number.
     9   pharmacy.                                        9        Q. Is there anyplace where you
    10       Q. Sir, are distributors allowed            10   could go to find out whether a DEA license is
    11   to see patient information that's protected     11   still active or not?
    12   from disclosure by the HIPAA laws?              12        A. I think there's a service you
    13       A. No. But it would be easy for             13   can subscribe and pay to that you can do
    14   them to request a report and not have that      14   that, but I don't pay for that service.
    15   information appear.                             15        Q. Okay. You haven't done that
    16       Q. On pages -- so let's return to           16   for this case?
    17   that.                                           17        A. I have not.
    18             So the report that the                18        Q. Earlier today you mentioned a
    19   distributor could ask for from a pharmacy       19   long-term care -- pharmacies that supply to
    20   would have less information on it than the      20   long-term care facilities, correct?
    21   report that DEA would have, correct?            21        A. Yes, sir.
    22             MR. FULLER: Form.                     22        Q. Just in simple laymen's terms,
    23             MR. PYSER: I'll rephrase in           23   what is a long-term care facility?
    24       response to --                              24        A. That's usually an in-house --
    25             THE WITNESS: No, I can answer         25   not a hospital, but it could be like a
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     1   long-term care, assisting living center,         1   that -- or you claim that Cardinal continued
     2   incapacitated people, senior people, people      2   to ship the same base codes to many of those
     3   unable to fully care for themselves.             3   customers.
     4       Q. Could it also include hospice             4             Do you see that?
     5   care?                                            5        A. Yes.
     6            MR. FULLER: Form.                       6        Q. In reaching that opinion, you
     7       A. That typically wouldn't be                7   assume that every customer had an accrual
     8   referred to as a long-term care facility         8   cycle that ends on the 21st of the month?
     9   because hospice is not long-term care.           9             Do you remember that work?
    10   BY MR. PYSER:                                   10        A. I did state that, and I believe
    11       Q. Do long-term care facilities             11   I gained that information through a review of
    12   typically have higher distributions of          12   one of the depositions.
    13   controlled substances than your average         13        Q. So it's your belief that the
    14   retail pharmacy?                                14   21st is the dividing line for Cardinal
    15            MR. FULLER: Form.                      15   Health, correct?
    16   BY MR. PYSER:                                   16        A. No, sir. I believe that
    17       Q. In your experience?                      17   Cardinal Health had, I think, three different
    18       A. I can't comment one way or the           18   dividing lines so that all of the reports --
    19   other on that because in my experience          19   I believe the statement was so that all of
    20   there's small to very large. So it's            20   the resets didn't occur at the same time. So
    21   possible for me to answer either way on that.   21   I think the 21st was the one in the
    22       Q. On kind of a percentage of               22   deposition I reviewed for that particular
    23   controlled substances versus noncontrolleds,    23   facility.
    24   do long-term care facilities have a higher      24        Q. That facility being the
    25   percentage of controlleds than an average       25   Wheeling facility?
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     1   retail pharmacy, generally?                      1        A. Yes, sir.
     2       A. I would say lower, general                2        Q. And that's the basis for your
     3   statement.                                       3   claim here?
     4       Q. But there may be exceptions to            4        A. Yes.
     5   that?                                            5        Q. Okay. You also note that in
     6       A. Sure, there's always the                  6   the 2012 through '15 time frame, a Cardinal
     7   possibility of an exception.                     7   Health employee testified that Cardinal
     8       Q. Are distributors allowed to               8   Health failed to report to the DEA
     9   change their policies over time?                 9   approximately 14,000 orders it flagged as
    10       A. Yes, they are. In fact, I                10   suspicious across the country.
    11   would expect it, as the industry changes and    11            Do you see that?
    12   their operations could potentially change.      12        A. What page are you on, please?
    13       Q. So if you're looking to compare          13        Q. Fair question.
    14   whether a distributor followed its own          14            Well, do you remember making
    15   policies, it would be important to make sure    15   a -- drawing a conclusion that Cardinal
    16   that the policies you're looking at are from    16   Health -- here we go -- page 68, last
    17   the right time period, correct?                 17   paragraph.
    18       A. Yes, sir.                                18            Also during the 2012 through
    19       Q. On page 67 of your report, you           19   '15 time frame, Cardinal's employee testified
    20   discuss 147 suspicious orders for Summit and    20   that Cardinal failed to report to the DEA
    21   Cuyahoga Counties from January 1st, 2013 to     21   approximately 14,000 separate suspicious
    22   present. That's in the last paragraph on        22   orders.
    23   page 67.                                        23            Do you see that?
    24       A. Yes, sir.                                24        A. Yes.
    25       Q. Now, in reaching that, you note          25        Q. Did you review the letter that
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     1   Cardinal Health provided to the DEA informing    1   one of those 14,000 suspicious orders
     2   them of this issue?                              2   shipped?
     3       A. I do recall reviewing some                3       A. I don't have a recollection of
     4   documentation on that.                           4   reading that document, no, sir.
     5       Q. So you're aware that not a                5       Q. And do you know how many of
     6   single one of those orders actually shipped?     6   those 14,000 unshipped suspicious orders were
     7       A. It was my impression from                 7   for customers in Cuyahoga or Summit County?
     8   reviewing the documents that they had shipped    8       A. No, sir. I don't think there
     9   and they found out of their failure to           9   was information provided that I could make
    10   monitor and post distribution.                  10   that determination.
    11       Q. So it's your belief that some            11       Q. So counsel never told you that
    12   or all of those 14,000 suspicious orders did    12   there were only four unreported unshipped
    13   ship on page 68?                                13   suspicious orders for customers in Cuyahoga
    14       A. Hold on one second, please.              14   and Summit County? They never provided you
    15            (Document review.)                     15   that information?
    16       A. I'd like to review the                   16       A. Well, I don't know that it
    17   deposition with the pages, and I didn't bring   17   would have or not been provided to me. I
    18   the depositions, just the other records.        18   don't recall reviewing it myself, no, sir.
    19   BY MR. PYSER:                                   19            MR. PYSER: Okay. In deference
    20       Q. Well, you don't cite in your             20   to my colleagues, I'm going to stop here.
    21   report to the letter that Cardinal Health       21   I'm not going to ask any more questions. We
    22   provided to DEA informing them of this issue,   22   did not have time to get through all the
    23   do you?                                         23   questions I had for you. Your opinion covers
    24       A. I do not. I cite the                     24   13 separate defendants; therefore, I reserve
    25   deposition testimony.                           25   my right to come back and ask you additional
                                              Page 331                                            Page 333
     1        Q. And you also don't cite to               1   questions at a later point in time.
     2   Cardinal Health's 30(b)(6) response that also    2            THE WITNESS: Thank you, sir.
     3   explained that not a single one of those         3            THE VIDEOGRAPHER: Going off
     4   14,000 orders shipped?                           4       the record, 4:46 p.m.
     5        A. I don't recall ever reading              5            (Recess taken, 4:46 p.m. to
     6   that. I just recall the testimony in the         6       4:49 p.m.)
     7   deposition.                                      7            THE VIDEOGRAPHER: We're back
     8        Q. So you never read the Cardinal           8       on the record at 4:49 p.m.
     9   Health testimony on behalf of --                 9              EXAMINATION
    10        A. I'm not saying --                       10   BY MR. EPPICH:
    11        Q. -- their 30(b)(6) corporate             11       Q. Good evening, Mr. Rafalski. My
    12   representative on this, correct?                12   name is Chris Eppich. I represent the
    13        A. I'm not saying I didn't read            13   McKesson defendant in this litigation.
    14   it. I don't recall that statement.              14       A. Good evening.
    15        Q. Okay. And you don't cite it in          15       Q. Thanks for being here today.
    16   the report?                                     16            Mr. Rafalski, you joined the
    17             MR. FULLER: I'm sorry, I just         17   DEA in 2004, correct?
    18        want to clarify. You said read the         18       A. Yes, sir.
    19        deposition testimony. Ms. Norris           19       Q. Do you have any personal
    20        didn't testify about 14,000 orders. I      20   knowledge about McKesson's suspicious order
    21        think a written response was included      21   monitoring program from before 2004?
    22        that may have addressed that.              22       A. No, I have no information or
    23   BY MR. PYSER:                                   23   knowledge prior to that date.
    24        Q. You never read Cardinal                 24       Q. Did you attend the distributor
    25   Health's written response that not a single     25   briefing given to McKesson?

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     1       A. No, sir, I did not.                       1       A. But I had some discussion. I
     2       Q. Now, you didn't attend DEA's              2   don't want to think that -- make sure I have
     3   distributor briefing training until 2008,        3   a complete answer that --
     4   correct?                                         4       Q. Did you discuss McKesson's
     5       A. That's correct.                           5   suspicious order monitoring program during
     6       Q. Did you have any personal                 6   that visit?
     7   involvement with McKesson's suspicious order     7       A. I think there was some broad
     8   monitoring programs before 2008?                 8   discussion about it.
     9       A. No, sir.                                  9       Q. And when would that have
    10       Q. What personal knowledge do you           10   occurred?
    11   have about Mister -- about McKesson's           11       A. 2014.
    12   suspicious order monitoring program between     12       Q. So at least for the time period
    13   2004 and 2007?                                  13   between 2004 and -- or pardon me, strike
    14            MR. FULLER: Counsel, when you          14   that.
    15       say personal knowledge, you mean from       15            The opinions that you express
    16       outside the scope of this litigation?       16   in your report for McKesson's suspicious
    17            MR. EPPICH: I'm talking about          17   order monitoring program from 1997 to 2007,
    18       his personal knowledge, his own             18   those opinions are based only on the
    19       personal knowledge.                         19   documents and the portions of deposition
    20            MR. FULLER: Object to the              20   transcripts that you reviewed as identified
    21       form. Anything that you acquired in         21   in Appendix I to your report?
    22       the scope of work or internal               22       A. Yes, sir.
    23       communications, your Touhy                  23       Q. Let's go ahead and turn to
    24       authorization doesn't allow you to          24   page 70 of your report, sir. Are you on
    25       discuss, unless it's public                 25   page 70?
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     1       information.                                 1        A. I am, sir.
     2       A. I have no knowledge.                      2        Q. I noticed that your report has
     3   BY MR. EPPICH:                                   3   page numbers on it. The report produced to
     4       Q. Have you ever visited a                   4   us does not have page numbers. When did you
     5   McKesson distribution center?                    5   last update your report, sir?
     6       A. Yes, sir.                                 6        A. Yeah, I'm aware that you
     7       Q. When was the first time you               7   probably have one that does have page
     8   visited a McKesson distribution center?          8   numbers, but it has page 1.
     9       A. I've only been there once.                9        Q. Yes, sir. They're page 1 all
    10       Q. When was that, sir?                      10   the way down sequentially throughout the
    11       A. I believe it was in early 2014.          11   report.
    12       Q. As a diversion investigator              12             MR. FULLER: So every page is
    13   have you ever conducted an audit or cyclic      13        page 1.
    14   investigation of a McKesson distribution        14        A. So when I submitted my report,
    15   center?                                         15   the explanation that I received, because my
    16       A. No, sir.                                 16   original one came back as page 1, is that
    17       Q. Have you ever interviewed                17   there was some kind of a conversion to a PDF
    18   persons in McKesson's regulatory affairs        18   or something that was done in order to submit
    19   department?                                     19   it to the court, and that's what caused the
    20       A. No, sir. Well, can I maybe               20   pages to change.
    21   make an explanation for that? So when I was     21             So subsequent to that, I asked
    22   on-site, I had discussions with the             22   to have one with the page numbers.
    23   regulatory affairs person, so I don't know if   23   BY MR. EPPICH:
    24   that would be considered questioning them.      24        Q. And other than the update of
    25       Q. Did you -- pardon me.                    25   the page numbers to the proper page numbers,

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     1   are there any other changes between the          1   here, what we call the Section 55 program,
     2   report that you have in front of you and the     2   you're aware that this program, the McKesson
     3   report that was produced in this litigation?     3   Section 55 program, operated in a similar way
     4       A. No, sir, I made no changes.               4   to ABDC's program that we heard about
     5            MR. EPPICH: I'm going to go             5   earlier?
     6       ahead and mark as Exhibit 15 the             6       A. I'm not sure I would agree with
     7       report that was produced in this             7   that statement. McKesson generated five
     8       litigation to counsel.                       8   different reports, although the only report
     9            (Whereupon, Deposition Exhibit          9   that -- well, I referenced the five different
    10       Rafalski-15, Rafalski Expert Report,        10   reports, but the DU-45 was the report that
    11       was marked for identification.)             11   was generated and sent to the DEA post
    12            MR. EPPICH: I'll hand you a            12   distribution.
    13       copy of that and you can set it aside.      13       Q. And the DU-45 is what has been
    14   BY MR. EPPICH:                                  14   called a so-called excessive purchase report,
    15       Q. And simply because we don't              15   correct?
    16   have a copy of that report that's in front of   16       A. That or ingredient limit
    17   you, let's go ahead and mark your binder as     17   report, those are two names that they have
    18   Exhibit 17. And we can just mark the outside    18   been referred to, yes, sir.
    19   of the binder -- pardon me, Exhibit 16. And     19       Q. Both McKesson and ABDC's
    20   we'll go ahead and give this to the court       20   systems, they used a multiplier of the
    21   reporter at the end for copying.                21   customer's prior monthly purchase averages to
    22            Thank you so much.                     22   detect suspicious orders, correct?
    23       A. Sure.                                    23       A. They did use a multiplier. I'm
    24            (Whereupon, Deposition Exhibit         24   not acknowledging that I accept that, the use
    25       Rafalski-16, Witness' Copy of Rafalski      25   of that multiplier, but they do use a
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     1       Expert Report, was marked for                1   multiplier.
     2       identification.)                             2        Q. They both use a multiplier.
     3   BY MR. EPPICH:                                   3             And both McKesson and ABDC's
     4       Q. All right. Back to page 70.               4   systems, they report suspicious orders on a
     5   Now, Section 2 of page 70 -- this is in the      5   daily or monthly basis after the order has
     6   McKesson-specific section -- is titled SOMS      6   been shipped.
     7   Corporate Policy Disclosed.                      7             That was part of the old
     8           Do you see that heading?                 8   program, right?
     9       A. I do, sir.                                9        A. Well, based on that algorithm,
    10       Q. And here you discuss McKesson's          10   they were reporting -- making reports on a
    11   so-called excessive purchase reports            11   monthly basis to the DEA, yes, sir.
    12   described in McKesson Drug Operations Manual,   12        Q. And it's really no surprise
    13   Section 55, correct?                            13   that McKesson's Section 55 program is similar
    14       A. Yes, sir.                                14   to ABDC's program that we discussed earlier,
    15       Q. You state -- and this is about           15   is it?
    16   halfway down that paragraph, sir: McKesson      16        A. I have no comment on that, that
    17   created daily and monthly reports that          17   it would be similar. There are some programs
    18   documented retrospective sales of controlled    18   that are very similar and maybe there's some
    19   substances, including opioids, when those       19   affiliation and then there's others that are
    20   sales exceeded three times of that customer's   20   completely different. So I don't know that
    21   12-month purchase average for that base code.   21   it's by coincidence or if it's structured
    22           Did I read that correctly?              22   that way.
    23       A. You did.                                 23        Q. Well, distributors were all
    24       Q. Now, this -- this suspicious             24   receiving guidance from DEA at the same time
    25   order monitoring system that's described        25   during presentations and conferences, right?

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     1       A. Well, that was one of the                        1       Q. And between 2004 and 2007, you
     2   sources of some of the decisions. I also --             2   testified that you didn't visit a McKesson
     3   my experience says they belong to HDMA, NWDA.           3   facility?
     4   I went over -- had various names over various           4       A. Yes, sir.
     5   time periods. They were also receiving                  5       Q. Are you aware of any DEA
     6   guidance, I believe, or conducting meetings             6   personnel that told McKesson between --
     7   with them where they were maybe collaborating           7   between 1997 and 2007 that its Section 55
     8   or sharing information.                                 8   program was violating the CSA and its
     9       Q. So if McKesson's Section 55                      9   regulations?
    10   program had been out of compliance with                10       A. I'm not aware that anyone ever
    11   federal regulations and DEA was conducting             11   told them, made that statement to McKesson.
    12   audits of the McKesson facilities, wouldn't            12       Q. Now, McKesson operated a
    13   DEA have told McKesson during its annual               13   distribution center here in Detroit during
    14   audits that its program was out of                     14   this time, right?
    15   compliance?                                            15       A. Livonia, Michigan, I believe.
    16       A. I would have an expectation                     16       Q. Yes, sir. And in not telling
    17   that if a person was to go on site and                 17   McKesson that the DEA believed its system was
    18   actually review the system, that I would have          18   violating the CSA, was the DEA contributing
    19   an expectation that there -- maybe should              19   to the cause of the opioid crisis?
    20   make some comment or do some corrective                20       A. I don't really have an opinion
    21   action.                                                21   on that one way or the other. I just want to
    22             Now, I don't know if an on-site              22   go back and reaffirm my earlier statement is
    23   visit, they actually reviewed it and                   23   what the DEA did or didn't do, that didn't
    24   secondly, even if they went on-site and                24   diminish or take away the regulatory and
    25   missed it or did review it and issued or made          25   legal -- the law requirements for what
                                                   Page 343                                              Page 345
     1   some corrective action, that doesn't mitigate           1   McKesson should have done.
     2   the responsibilities of the registrant.                 2       Q. But you have no opinion sitting
     3        Q. And that's fair, but it's one                   3   here today as to whether or not the DEA's
     4   of the purposes of this audit for DEA to go             4   failure to tell distributors whether or not
     5   to the facility of the distributor to review            5   their compliance programs violated the CSA
     6   the SOM system and to provide feedback,                 6   contributed to the opioid crisis; is that
     7   correction -- corrective feedback to the                7   correct?
     8   distributor, if corrective feedback is                  8       A. That's an accurate statement,
     9   needed?                                                 9   yes, sir.
    10        A. So can I describe a little bit                 10       Q. And why haven't you formed that
    11   further what an on-site visit is? It's not a           11   opinion?
    12   checklist type of a visit. It's a                      12       A. Well, because the corporations
    13   three-pronged investigation: security,                 13   or the companies that distribute drugs, their
    14   recordkeeping and accountability. Every DEA            14   responsibility is clearly stated in the law
    15   investigator conducts it in whatever manner            15   and within the regulations. If the DEA was
    16   they see fit as long as they cover those               16   to come out and make an error, that doesn't
    17   three areas or prongs of activity.                     17   mitigate their needs to make compliance.
    18            So it's -- there's nothing in                 18             So -- and along the way,
    19   the DEA's requirement that they would                  19   there's -- a lot of times where McKesson gets
    20   specifically have to look at that or take              20   guidance through industry conferences, I
    21   action, although I would say my expectation            21   think you stated, distributor briefings, they
    22   is they should.                                        22   have the ability to write or ask questions to
    23        Q. Now, you were a DEA diversion                  23   the policy section of the DEA.
    24   investigator between 2004 and 2017, correct?           24             So just for clarification, I
    25        A. Yes, sir.                                      25   don't know if anyone ever reviewed or
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     1   commented on that system, and it doesn't         1   don't -- a corporate relations --
     2   diminish their responsibility under the law      2        Q. Is there anything beyond
     3   and under the regulations.                       3   Section 1301.74(b)?
     4        Q. But you agree that DEA is the            4        A. Well, there's many. There's a
     5   agency in the federal government that has        5   security requirement just prior to that where
     6   authority and responsibility for the             6   it requires a registrant to make a good
     7   controlled system of drug distribution in        7   faith -- a good-faith inquiry before
     8   this country, correct?                           8   distributing a controlled substance to ensure
     9        A. In -- yes, sir. In regards to            9   that the person has a -- as a registrant has
    10   the regulation, they're delegated that by the   10   a valid DEA registration.
    11   Attorney General, by Congress to the Attorney   11             There's extensive amount of
    12   General, so I agree with that statement, yes,   12   regulations in regards to security of cages
    13   sir.                                            13   and vaults, very detailed. The type of gauge
    14        Q. Let me --                               14   of wire, the distance of the posts, ceilings,
    15        A. And let me just clarify.                15   self-closing doors. There's vault
    16            MR. FULLER: Go ahead, finish.          16   requirements, the rebar.
    17            MR. EPPICH: I'm really on a            17             It's a whole extensive list of
    18        limited amount of time here, sir.          18   security requirements and the security -- the
    19            MR. FULLER: But you can finish         19   suspicious order systems within that section.
    20        and clarify your answer.                   20        Q. So on page 9 of your report, if
    21        A. Just a quick clarification. I           21   you could turn there, we're in Section B
    22   don't want to misstate. I believe anybody       22   under Regulatory Duty?
    23   who had anything to be involved with the        23        A. Yes, sir.
    24   distribution of controlled substances during    24        Q. It says: The "security
    25   this whole time period should have taken        25   requirement" at the heart of this case
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     1   positive steps to prevent diversion. I don't     1   mandates the distributors "design and operate
     2   want you to think that I don't believe that      2   a system" to identify "suspicious orders of
     3   no one had that responsibility.                  3   controlled substances" and report those
     4   BY MR. EPPICH:                                   4   orders to DEA, quote, the Reporting
     5        Q. And that would include the DEA,          5   Requirement, 21 CFR 1301.74(b).
     6   correct?                                         6            In this paragraph, is the
     7        A. Everyone.                                7   security requirement that you're talking
     8        Q. Is that a yes, sir?                      8   about, is that Section 1301.74(b)?
     9        A. Yes, sir.                                9        A. Yes.
    10        Q. And I'd like to go back to our          10        Q. Okay. So in the security
    11   discussion earlier about the do not ship        11   requirement, my question for you is: Where
    12   requirements. You're familiar with              12   in the security department does it state the
    13   21 CFR 1301.74(b), correct?                     13   do not ship requirement?
    14        A. I am, sir.                              14            MR. FULLER: Form.
    15        Q. And that's the one -- that's            15        A. So the overarching right to
    16   the one -- that's the -- strike that.           16   regulation that's directly controlling this
    17            This is the regulation that you        17   is the maintenance of effective controls to
    18   call the security requirement, correct?         18   prevent diversion. It would be within that
    19        A. I don't call it a security              19   regulation which the do not ship decision --
    20   requirement. It falls under the security        20   or the do not ship requirement would fall.
    21   requirements of the CFR.                        21   BY MR. EPPICH:
    22        Q. What are the security                   22        Q. But you agree with me that the
    23   requirements of the CFR then, if you could      23   security requirement itself does not say the
    24   list them for us?                               24   words "do not ship," does it?
    25        A. Well, I'd need a CFR. I                 25        A. The security requirements do
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     1   not say those specific three words.              1   methodologies with plaintiffs' counsel?
     2       Q. And the security requirement              2       A. I don't believe so, telephone
     3   does not say "block orders," does it?            3   conversations.
     4       A. It doesn't -- the security                4       Q. Now, of the five methodologies,
     5   requirement doesn't specifically say that,       5   do you know which of these methodologies was
     6   but as I stated earlier, those are contained     6   used by McKesson, if any?
     7   within the maintenance of effective controls     7       A. The 8,000 -- D, the methodology
     8   to prevent diversion.                            8   with the maximum 8,000 dosage units monthly.
     9       Q. And my question, sir, was just            9       Q. Any others?
    10   that the words are not used.                    10       A. I think the -- if I remember
    11       A. Okay.                                    11   correctly, the three times.
    12       Q. Okay. If we could turn back to           12       Q. Now, the three times -- that's
    13   page 40 of your report.                         13   the third methodology -- do you know when
    14       A. I'm sorry, what page?                    14   McKesson in your opinion used that
    15       Q. 40. I'd like to turn to our              15   methodology?
    16   discussion of the five methodologies that       16       A. No, but I can review my report
    17   Dr. McCann used in his analysis. And you        17   if you'd like me to.
    18   mentioned earlier today that you came up with   18       Q. I don't believe it says it in
    19   the idea to use those five methodologies,       19   there.
    20   correct?                                        20       A. Okay. Mind if I look?
    21       A. Yes, sir.                                21       Q. No, I do mind.
    22       Q. And when did you come up with            22            Do you know when McKesson
    23   each of the five methodologies?                 23   used --
    24       A. I don't have a specific data.            24            MR. FULLER: Go ahead and take
    25   I know that I was told that I would have to     25       a look.
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     1   come up with five methodologies, so I elected    1            MR. EPPICH: I'll strike the
     2   to use the five that I was aware of in           2       question.
     3   conducting this review for my opinion.           3   BY MR. EPPICH:
     4        Q. Who told you to come up with             4       Q. Do you know when McKesson used
     5   the five methodologies?                          5   the 8,000 dosage unit methodology?
     6        A. I believe my first conversation          6       A. May of 2007 as part of their
     7   about this was with Paul Farrell.                7   Lifestyle Drug Monitoring Program.
     8        Q. And do you recall when that              8       Q. For about a year; is that
     9   first conversation was?                          9   correct?
    10        A. I do not.                               10       A. Yes, sir.
    11        Q. Was it last summer?                     11       Q. Now, you call this use of the
    12        A. No, it was a little later than          12   8,000 dosage units the McKesson Rule, do you
    13   last summer.                                    13   not?
    14        Q. Later than last summer.                 14       A. I don't believe I refer to that
    15            Did you communicate with any           15   in my report as the McKesson Rule.
    16   attorneys other than Paul Farrell in coming     16       Q. Have you heard of that slogan,
    17   up with these five methodologies?               17   the McKesson Rule?
    18        A. I'm not drawing any direct              18       A. No, I have not.
    19   recollection, but I'm hesitant to just say no   19       Q. Earlier today I believe you
    20   because I've talked about this matter, and I    20   mentioned that you saw some positive things
    21   would probably say it's more likely than not    21   from McKesson's suspicious order monitoring
    22   that I had some conversation about my           22   programs.
    23   methodology.                                    23            Do you remember that testimony?
    24        Q. And did you have any written            24       A. Yes, sir.
    25   conversations or communications about these     25       Q. What positive things did you

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     1   see in McKesson's suspicious order monitoring    1   third paragraph from the top of the page, you
     2   program?                                         2   say: The ARCOS data, defendant transactional
     3       A. At the very end of the time               3   data, and the SLCG reports generated
     4   period, they contracted or -- a company          4   therefrom are consistent with the types of
     5   called AGI, and AGI did a -- was designing a     5   data, facts, information, and reports I would
     6   model for them, and I thought just by looking    6   typical rely on in conducting the analysis
     7   what limited information I got, that I           7   and reaching the opinions contained therein.
     8   thought there was some potential for that.       8            Do you see that?
     9            I'm not saying that I'm                 9       A. I do, sir.
    10   approving it, and without actually doing a      10       Q. Now, is it your opinion that
    11   lot more analysis, but I thought that that      11   Dr. McCann's five threshold-based
    12   was -- had the potential for a good system.     12   methodologies can be used to identify
    13       Q. As you sit here today, do you            13   suspicious orders under Section 1301.74?
    14   have any opinions on whether McKesson's AGI     14            MR. FULLER: Form, compound.
    15   suspicious order monitoring program complies    15       A. You're asking this question
    16   with the CSA and its regulations?               16   about Dr. McCann in regards to this
    17       A. No, I did not evaluate it                17   paragraph?
    18   because it was at the end of the time frame.    18   BY MR. EPPICH:
    19       Q. Do you have any plans to make            19       Q. I can rephrase it.
    20   that evaluation before trial?                   20            Is it your opinion that the
    21       A. If required or requested.                21   five threshold-based methodologies used by
    22       Q. Has anyone requested that you            22   Dr. McCann and cited by yourself, that those
    23   do so today?                                    23   methodologies can be used to identify
    24       A. No, sir.                                 24   suspicious orders under Section 1301.74?
    25       Q. So currently, as you sit here            25       A. No, I think my opinion is clear
                                             Page 355                                              Page 357
     1   today, you have no opinion about whether or      1   that they aren't suitable suspicious order
     2   not McKesson's AGI suspicious order              2   systems.
     3   monitoring program complies with or does not     3        Q. Is it your opinion that
     4   comply with the CSA, correct?                    4   Dr. McCann's -- and I quote -- "flagged
     5       A. I did not offer opinion on that           5   orders" are suspicious orders under
     6   matter, sir.                                     6   Section 1301.74(b)?
     7       Q. You testified earlier about               7        A. Are you jumping back to the
     8   ARCOS. Are you familiar with the reports         8   methodologies?
     9   generated from the ARCOS database?               9        Q. I'm just asking you a question,
    10       A. What type of reports are you             10   sir.
    11   speaking of, sir? Could you clarify?            11             MR. FULLER: You can clarify
    12       Q. The reports that a diversion             12        the question if you don't understand.
    13   investigator can request from the ARCOS         13   BY MR. EPPICH:
    14   database?                                       14        Q. But, yes, under the
    15       A. Oh, so generated pursuant to a           15   methodologies. Under the methodologies, yes,
    16   request? Yes, sir.                              16   sir.
    17       Q. Okay. And you saw those kind             17        A. No, those aren't suspicious
    18   of reports while you were a DEA diversion       18   orders under the methodologies. Those are
    19   investigator, correct?                          19   dosage units.
    20       A. I requested those type of                20        Q. While you were at the DEA, and
    21   reports as a diversion investigator.            21   the DEA was analyzing ARCOS data, did DEA use
    22       Q. On page 15 of your report --             22   any of Dr. McCann's five methodologies to
    23       A. 15?                                      23   identify suspicious orders?
    24       Q. 15.                                      24        A. When I was at the DEA?
    25            You discuss ARCOS, and in the          25        Q. Yes, sir.

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     1       A. I was gone from the DEA prior             1   diligence was insufficient.
     2   to Dr. McCann looking at that data. I guess      2   BY MR. EPPICH:
     3   I don't understand the question.                 3       Q. And your opinions are based on
     4       Q. While you were at the DEA, did            4   your review of McKesson's documents that were
     5   the DEA analyze ARCOS data using the             5   produced in this case, correct?
     6   methodologies that Dr. McCann presented and      6       A. Yes, sir.
     7   you also presented in your report?               7       Q. You have no personal knowledge
     8       A. No, sir.                                  8   about whether or not McKesson did any due
     9            DEFENSE COUNSEL: We understand          9   diligence before at least 2014 when you
    10       the phone line has been disconnected.       10   visited their -- the McKesson distribution
    11            MR. EPPICH: Let's go off the           11   center, correct?
    12       record.                                     12       A. Say that question one more
    13            THE VIDEOGRAPHER: Going off            13   time. I'm sorry.
    14       record at 5:13 p.m.                         14       Q. I'm going to strike the
    15            (Recess taken, 5:13 p.m. to            15   question.
    16       5:18 p.m.)                                  16            Now, you -- it's true that
    17            THE VIDEOGRAPHER: We're back           17   McKesson may have discarded diligence files,
    18       on the record at 5:18 p.m.                  18   correct?
    19   BY MR. EPPICH:                                  19            MR. FULLER: Object to form,
    20       Q. Mr. Rafalski, before the break,          20       speculation.
    21   we were talking about Mr. McCann's analysis     21       A. Just so I understand, it's true
    22   on page 40 of your report. If you could turn    22   that they may have discarded due diligence
    23   there.                                          23   files?
    24       A. Sure.                                    24   BY MR. EPPICH:
    25       Q. Earlier today -- let me strike           25       Q. Yes.
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     1   that.                                            1       A. I don't know that to be a
     2             You're aware that Dr. McCann's         2   factually accurate statement.
     3   results rest on the assumption the               3       Q. Well, it's possible that
     4   distributors did not conduct any diligence on    4   McKesson may have discarded diligence files,
     5   the first flagged suspicious order, correct?     5   correct?
     6       A. Yes, sir.                                 6             MR. FULLER: Form.
     7       Q. Is it your opinion that                   7       A. All I make comment on is
     8   McKesson did not conduct any diligence of any    8   whether or not they were provided to me. I
     9   customer ever identified in its suspicious       9   have no way to know if there was any
    10   order reports?                                  10   explanation outside of that.
    11       A. I'm going to just confirm my             11   BY MR. EPPICH:
    12   statement on that, whether it was sufficient    12       Q. Your opinions are based solely
    13   or no.                                          13   on the documents that were provided to you in
    14             (Document review.)                    14   this litigation, correct?
    15       A. In reviewing my report, my               15       A. Or the lack of documents or the
    16   report states and my recollection is, is        16   content of the documents, yes, sir.
    17   there was no due diligence conducted between    17       Q. And you have no personal
    18   the time period of '97 and 2007, at least no    18   knowledge about McKesson's due diligence,
    19   evidence indicating that or records             19   correct?
    20   indicating that.                                20       A. No, sir.
    21             And then in the time periods          21       Q. What is your personal
    22   following that, there was insufficient due      22   knowledge?
    23   diligence. There was level one due              23       A. I have no personal knowledge.
    24   diligence, but there was no subsequent level    24       Q. Thank you.
    25   two and level three, and the level of due       25       A. That's what I was saying no,

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     1   sir, to.                                         1            MR. FULLER: Form.
     2        Q. So if McKesson did conduct due           2       A. Well, if that did occur, then
     3   diligence on the first flagged suspicious        3   the analysis would stop and it would start
     4   order under its Section 55 program, you'd        4   again from that point forward.
     5   agree that Dr. McCann's analysis is based on     5   BY MR. EPPICH:
     6   a faulty assumption, correct?                    6       Q. You'd agree that at least
     7            MR. FULLER: Form.                       7   Dr. McCann's results would change in that
     8        A. Well, I'm not sure it's a                8   circumstance?
     9   faulty assumption. I guess it would be the       9       A. Yes, I would agree with that.
    10   level and whether it was sufficient due         10       Q. And you'd agree that if
    11   diligence. Just conducting a due diligence      11   McKesson conducted sufficient due diligence
    12   investigation doesn't itself meet the           12   on the first flagged suspicious order under
    13   requirements of maintenance of effective        13   its LDMP program, that McKesson's results
    14   controls, so -- and I think my statement is     14   would change, correct?
    15   the review of the level ones were               15       A. I want to clarify my answer on
    16   insufficient due diligence.                     16   the last one.
    17   BY MR. EPPICH:                                  17            So I would suspect that in the
    18        Q. And the level of sufficiency of         18   course of all of the suspicious orders, that
    19   the due diligence is based on your review of    19   maybe there could be one due diligence file.
    20   McKesson documents alone, correct?              20   But I think until there would actually be a
    21        A. Yes, and my experience in -- as         21   consistent review of orders -- so -- and I
    22   a DEA investigator of due diligence files.      22   know that probably needs a little
    23        Q. And what is sufficient due              23   clarification.
    24   diligence in your mind?                         24            Just say that one employee
    25        A. Well, I think it has to be a            25   became very interested and did a thorough due
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     1   sufficient investigation to remove any           1   diligence, but that wasn't the program, and
     2   suspicion that the drugs could be potentially    2   it was just one occurrence, then I don't
     3   diverted and if they're intended for a           3   think it's really faulty.
     4   legitimate source, a legitimate use. So it       4             I think it requires that the
     5   would be those actions that they would take      5   company acted -- actually had to have some
     6   to be able to confirm that and document it so    6   procedure in place to actually do due
     7   I would be able to review it.                    7   diligence investigations, not just one
     8       Q. And what is sufficient?                   8   instance.
     9       A. Well, to merely say increase in           9       Q. But in your report you assume
    10   volume would not be sufficient due diligence.   10   that there was no due diligence and that
    11   I think every circumstance is a little bit      11   Dr. McCann then relied on that assumption,
    12   different, so I guess I would have to look at   12   correct?
    13   the records.                                    13             And so my question is very
    14            I don't know that I could say          14   specific: If McKesson conducted sufficient
    15   that there's a check -- I could provide a       15   due diligence on that first flagged order
    16   checklist, but I don't know if that would be    16   under its LDMP program, its CSMP program, its
    17   sufficient, because it's dependent on the       17   Section 55 program, you would agree sitting
    18   scope of the business and what their needs      18   here today that the results that we see from
    19   are and what's been established as usual or     19   Dr. McCann's analysis, they would be
    20   what's normal.                                  20   different?
    21       Q. So if McKesson conducted                 21             MR. FULLER: Object to form,
    22   sufficient due diligence on the first flagged   22       misstates the fact. The witness
    23   suspicious order under its Section 55           23       didn't make the assumption there was
    24   program, you'd agree that Dr. McCann's          24       no due diligence. He's testified
    25   analysis is based on a faulty assumption?       25       based on his opinion there's not

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     1       adequate due diligence.                      1   There is no more effective control to prevent
     2       A. That's hypothetical. I                    2   diversion than blocking a suspicious order
     3   wouldn't say one -- one due diligence would      3   before it is shipped.
     4   reset it if the company's conduct continued      4            Did I read that correctly?
     5   along the same, the same level, so -- and        5        A. You did, sir.
     6   my -- and my requirement to Dr. McCann was       6        Q. And that's because a blocked
     7   that during the entire time period, I did not    7   order of opioids remains safely in the vault
     8   see a sufficient due diligence to satisfy the    8   of the distributor's warehouse, correct?
     9   regulatory requirements, so that's why it was    9        A. I guess you could make that
    10   ran during the whole time frame.                10   assumption. It doesn't leave the control of
    11   BY MR. EPPICH:                                  11   the distributor and have the potential to be
    12       Q. How many due diligence                   12   diverted, so I think that's probably the same
    13   investigations or analyses would be enough to   13   statement, yes, sir.
    14   be sufficient due diligence?                    14        Q. You'd agree that reporting the
    15       A. Every one of the suspicious              15   blocked order to DEA in a suspicious order
    16   orders.                                         16   report does not prevent the blocked order
    17       Q. Did you review any of the                17   from being diverted, correct?
    18   flagged orders from Dr. McCann's analysis of    18        A. Well, that hypothetical
    19   McKesson?                                       19   wouldn't occur because if you block an order
    20       A. No, sir.                                 20   and report it, that doesn't -- unless you're
    21       Q. Do you intend to offer any               21   saying that that causes a distribution, and
    22   opinions on whether the orders flagged by       22   if that causes the distribution without the
    23   Dr. McCann are legitimate or suspicious?        23   effective due diligence, then no, that would
    24       A. If that requirement is required          24   not be true.
    25   of me by the attorneys in the case, I would     25            I would say that it would
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     1   complete that analysis. I don't have any         1   probably be more prone to be diverted than
     2   independent intentions of doing that.            2   not diverted because you've already
     3       Q. Sitting here today, you have no           3   identified it as a suspicious order.
     4   opinions about the legitimacy of the flagged     4       Q. Would you agree that a
     5   orders from Dr. McCann's analysis, correct?      5   suspicious order monitoring program that does
     6            MR. FULLER: That misstates his          6   not report suspicious orders but blocks
     7       report.                                      7   suspicious orders can be effective in
     8       A. It's -- Dr. McCann's report               8   preventing diversion?
     9   doesn't report orders, it just reports dosage    9       A. It doesn't meet the regulatory
    10   units. It doesn't say how many orders. It       10   requirement.
    11   doesn't say there was an analysis of each       11       Q. But can it be effective in
    12   individual order.                               12   preventing diversion?
    13            It looked at them whether or           13       A. That's a hypothetical I'm not
    14   not they violated the trigger that was          14   going to comment on.
    15   provided for each one of them, and if it --     15       Q. You don't have any opinion on
    16   and then it moved forward without the --        16   whether or not a suspicious order monitoring
    17   because already knowing that there was          17   program that does not report suspicious
    18   insufficient due diligence.                     18   orders but blocks suspicious orders can be
    19   BY MR. EPPICH:                                  19   effective in preventing diversion?
    20       Q. And you reviewed -- let me               20            MR. FULLER: Object to form.
    21   strike that.                                    21       A. I don't really have an opinion
    22            Let's turn to page 74 of your          22   because it's -- it wouldn't be something that
    23   report. On page 74, I'm looking at              23   would be evaluated as regards to the -- to
    24   Section 6, the second paragraph in              24   the regulation.
    25   particular. The first sentence there says:      25            If hypothetically the --

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     1   McKesson decided not to ship any more            1   BY MR. EPPICH:
     2   controlled substances, that would -- you         2        Q. If we could turn to page 78 of
     3   know, there would be no diversion, so it's       3   your report. You state -- and I'm under
     4   just a hypothetical that --                      4   Section (a), Policy Period #1. There's a
     5   BY MR. EPPICH:                                   5   statement about six lines, seven lines down,
     6        Q. Yes, and you're an expert in             6   it says: Multiple McKesson regulatory
     7   this case, sir.                                  7   employees have acknowledged that the DU-45
     8        A. I don't have an opinion.                 8   reports were not meant to detect true
     9        Q. So hypothetically, if there is           9   suspicious orders.
    10   a suspicious order monitoring program --        10            Do you see that?
    11        A. Okay.                                   11        A. Yes, sir.
    12        Q. -- that reports a suspicious            12        Q. What do you mean by true
    13   order -- or excuse me, that does not block --   13   suspicious orders?
    14   let me strike that.                             14        A. Well, true suspicious orders
    15            If there is a suspicious order         15   would be based upon a properly designed
    16   monitoring program that does not report         16   suspicious order system, and which they would
    17   suspicious orders but blocks suspicious         17   actually be suspicious orders.
    18   orders, that program can be effective in        18            If a system is in place that
    19   preventing diversion?                           19   discloses orders to the DEA and the employees
    20        A. So the mere act of doing that           20   believe they're not suspicious, then it
    21   is in violation of the regulation, but the      21   wouldn't be a true suspicious order system --
    22   outcome of blocking the order would obviously   22   or suspicious order.
    23   keep it from being distributed and it would     23        Q. So by true suspicious orders,
    24   not lead to diversion.                          24   are you referring to suspicious orders
    25        Q. Blocking the order of the               25   according to the definition that we see in
                                             Page 371                                              Page 373
     1   opioid pills before shipment is what prevents    1   Section 1301.74(b)?
     2   diversion from occurring, correct?               2        A. A true suspicious order is, you
     3       A. Yes, sir.                                 3   know, a result of a system that's in place --
     4            MR. FULLER: Form.                       4   an effective system that's in place by a
     5   BY MR. EPPICH:                                   5   registrant under the guidelines of
     6       Q. Not the reporting of the                  6   1301.74(b).
     7   suspicious order to DEA, correct?                7        Q. And so a true suspicious order
     8       A. But we were discussing the                8   is one that is an order of unusual size or an
     9   regulatory requirement, so it's to design and    9   order that is of an unusual pattern or of an
    10   operate a system to disclose suspicious         10   unusual frequency; is that what you're
    11   orders, and upon disclosure, be reported to     11   saying?
    12   the DEA. Under the maintenance of effective     12        A. That's one -- that's three of
    13   controls, it's to stop the shipment.            13   the general parameters that the DEA -- that's
    14            Now, just the mere fact of             14   listed in the regulation, but there are other
    15   stopping a shipment when you've identified it   15   things that could occur that could make it a
    16   as a potential suspicious order would prevent   16   suspicious order.
    17   diversion.                                      17        Q. Did you write this sentence?
    18       Q. My question was a little                 18        A. Which sentence?
    19   different, and so let me rephrase it.           19        Q. The sentence that we just read:
    20            You'd agree that not reporting         20   Multiple McKesson regulatory employees have
    21   the suspicious order to DEA is not what         21   acknowledged that the DU-45 reports were not
    22   causes diversion?                               22   meant to detect true suspicious orders?
    23       A. That's correct.                          23        A. Yes, sir.
    24            MR. FULLER: Object to form.            24        Q. Did you use the word "true"
    25            ///                                    25   yourself?

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     1       A. Yes, sir.                                 1        A. I think he did the analysis at
     2       Q. If we could turn to page 80.              2   my request, as the footnote states from --
     3   Now, in section -- on page 80 under the          3   yes, if I was to review Section III of my
     4   section titled Reporting Requirement, you        4   report. So it's not something he did
     5   state that McKesson reported less than           5   independent.
     6   one-half of 1% of orders from Cuyahoga and       6             I guess maybe I don't clearly
     7   Summit Counties.                                 7   understand the question.
     8             Do you see that? It's at the           8        Q. What is your basis for the
     9   very bottom of the paragraph under Reporting     9   opinion -- your opinion that it is apparent
    10   Requirement.                                    10   McKesson failed to report thousands of
    11       A. I'm sorry, what page are you             11   suspicious orders arising out of Cuyahoga
    12   on?                                             12   County and Summit County?
    13       Q. I'm right here on page 80 in             13        A. Well, first, just based on the
    14   Reporting Requirement.                          14   first system in place from '97, the DU-45s,
    15       A. Okay.                                    15   and then the subsequent, the 8,000 policy
    16       Q. And I'm looking at the very              16   that followed that, the lifestyle, and then
    17   last -- last line of that -- or                 17   the policy that followed there -- followed
    18   second-to-last line.                            18   there that's ineffective.
    19       A. Okay. I'm sorry.                         19        Q. How did you arrive at the
    20       Q. You see where you say that               20   number thousands?
    21   you -- that McKesson reported less than         21        A. Well, that calculation was done
    22   one-half of 1% of orders from Cuyahoga and      22   by Dr. McCann.
    23   Summit Counties?                                23        Q. Do you have any other basis for
    24       A. Yes, sir.                                24   your determination that thousands of
    25       Q. Now, you go on to claim that             25   suspicious orders were not reported by
                                             Page 375                                              Page 377
     1   using any of the methodologies as described      1   McKesson in these counties?
     2   in the expert report of Craig McCann, it is      2       A. No, other than just my review
     3   apparent McKesson failed to report thousands     3   of the policies and the procedures of
     4   of suspicious orders arising out of Cuyahoga     4   McKesson, the lack of due diligence, and
     5   County and Summit County.                        5   their suspicious order systems they had in
     6       A. Yes, sir.                                 6   place.
     7       Q. Do you see that?                          7       Q. Let's turn back to page 80, and
     8       A. Yes, sir.                                 8   I'm looking under the Shipping Requirement.
     9       Q. Now, your opinion that McKesson           9       A. Yes, sir.
    10   failed to report thousands of suspicious        10       Q. You say there that McKesson's
    11   orders is entirely dependent on Dr. McCann's    11   blocking of 2,907 out of 772,976 opioid
    12   analysis, correct?                              12   orders from Summit and Cuyahoga County
    13            MR. FULLER: Form.                      13   customers is minuscule.
    14       A. You have to repeat that                  14            Do you see that?
    15   question. I'm sorry.                            15       A. Yes, sir.
    16   BY MR. EPPICH:                                  16       Q. You also say that those numbers
    17       Q. Yes. No problem. Let me                  17   make it apparent that McKesson's system have
    18   clarify it.                                     18   not been properly designed to block
    19            Is your opinion that's                 19   suspicious orders; is that true?
    20   expressed on page 80 and that I just            20       A. Yes, sir.
    21   mentioned, that McKesson failed to report       21       Q. Let me ask you: How many
    22   thousands of suspicious orders arising out of   22   orders should McKesson's suspicious order
    23   Cuyahoga County and Summit County -- is that    23   monitoring system have blocked in order for
    24   opinion based entirely on Dr. McCann's          24   you to consider McKesson's system to have
    25   analysis?                                       25   been properly designed?

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     1             MR. FULLER: Form.                      1   regulatory duties.
     2       A. That -- there's no answer to              2             Do you see that?
     3   that question because there was no proper        3       A. Yes, sir.
     4   system in place, so --                           4       Q. The manual you're referring to
     5   BY MR. EPPICH:                                   5   in that sentence, is that the DEA Diversion
     6       Q. Well, you're saying 2900 is too           6   Investigator's Manual?
     7   low.                                             7       A. Yes, sir.
     8       A. Well, I'm just saying --                  8       Q. You agree that the DEA
     9       Q. So I'm asking how many is the             9   Diversion Investigator's Manual is not
    10   right -- just give me a ballpark.               10   available to registrants?
    11       A. I don't have a ballpark. All I           11             MR. FULLER: Form, misstates
    12   know is by evaluating the system that was in    12       the evidence.
    13   place that McKesson had through the time        13       A. I believe it was provided to
    14   period of my evaluation, in my opinion, they    14   registrants.
    15   had an insufficient system, and it's based      15   BY MR. EPPICH:
    16   against the total number of distributions.      16       Q. So if a registrant asked in
    17       Q. So you have no opinion, sitting          17   1996 for a copy of DEA's Diversion
    18   here today, how many orders McKesson should     18   Investigator's Manual, you as a DEA diversion
    19   have blocked during this time period from       19   investigator could hand over that manual; is
    20   Summit and Cuyahoga Counties?                   20   that what you're saying?
    21       A. Every one that they identified           21       A. I'm not saying that. I'm
    22   with their suspicious order system, which I     22   saying that I have knowledge that in 1996, a
    23   believe was ineffective, should have been       23   DEA registrant asked -- I believe requested
    24   blocked when it was identified.                 24   it and it was provided to him.
    25       Q. Do you think 80% of orders               25       Q. Which registrant?
                                             Page 379                                             Page 381
     1   should have been blocked?                        1        A. Cardinal.
     2        A. I think every order identified           2        Q. Do you have any knowledge of
     3   by the McKesson system should have been          3   McKesson receiving a DEA Diversion
     4   blocked. I don't think that allowing 20% of      4   Investigator's Manual?
     5   the orders that are identified as suspicious     5        A. No, sir.
     6   to flow outside of McKesson's control would      6        Q. Now, I'd like to look at the
     7   have been appropriate action.                    7   quote that you have excerpted on page 15 of
     8        Q. How do you know that 20% of              8   your report. You're familiar with that --
     9   McKesson's orders flowed?                        9   with that excerpt, aren't you?
    10        A. Based on your previous                  10            MR. FULLER: I'm sorry, what
    11   question. You -- I think you referenced 20%     11        page, Counsel?
    12   amount, if only 80% were blocked, if that       12            MR. EPPICH: On page 15.
    13   would be sufficient. Unless I misunderstood     13        A. The bold section, the italics?
    14   your question.                                  14   BY MR. EPPICH:
    15        Q. We're going to move on. Let's           15        Q. The entire quote, sir.
    16   turn to page 15 of your report.                 16        A. Yes, sir.
    17        A. 15?                                     17        Q. Do you know where that quote
    18        Q. Yes, sir.                               18   comes from?
    19            Now, on page 15 of your report,        19        A. The manual.
    20   sir, under Section E, the DEA Diversion         20        Q. Which version of the manual,
    21   Investigator's Manual?                          21   sir?
    22        A. Yes, sir.                               22        A. I believe the 1996 manual.
    23        Q. Your first sentence says: The           23        Q. And it's from Section 5126,
    24   DEA published a manual which provides further   24   Requirements to Report Suspicious Orders; is
    25   guidance related to the statutory and           25   that correct?
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     1            MR. FULLER: If you recall. If           1   investigations of pharmacies, at least not in
     2       not, you can pull the document.              2   the Detroit division.
     3       A. I don't recall specifically.              3       Q. Your testimony here today is
     4   BY MR. EPPICH:                                   4   that they conduct on-site inspections of
     5       Q. Now, the excerpt that you have            5   distributors?
     6   provided in your report on page 15, this does    6       A. Yes, sir, and manufacturers
     7   not say do not ship an order reported to DEA     7   prior to approval of a registration.
     8   as a suspicious order, does it?                  8       Q. Why doesn't the DEA conduct
     9       A. Doesn't say the terms "do not             9   on-site inspections of pharmacies?
    10   ship," if that's your question, no, sir.        10            MR. FULLER: Object to form,
    11       Q. Thank you.                               11       remind you of your Touhy obligation
    12            MR. EPPICH: Why don't we go            12       and internal conversations.
    13       off the record for a really quick           13            THE WITNESS: On advice of my
    14       break.                                      14       counsel, I'm not going to answer that
    15            THE VIDEOGRAPHER: Going off            15       question.
    16       the record at 5:43 p.m.                     16   BY MR. EPPICH:
    17            (Recess taken, 5:43 p.m. to            17       Q. Does DEA discuss the
    18       5:45 p.m.)                                  18   regulations and security requirements with
    19            THE VIDEOGRAPHER: We're back           19   each pharmacy, distributor and manufacturer
    20       on the record at 5:45 p.m.                  20   applicant before registration?
    21   BY MR. EPPICH:                                  21       A. Affirmative to distributors and
    22       Q. If we could turn to page 10 of           22   manufacturers. No with pharmacies.
    23   your report. On page 10, the first full         23       Q. Why doesn't DEA discuss the
    24   paragraph at the top of the page says: The      24   regulations and security requirements with
    25   regulatory duty not difficult to understand,    25   pharmacy applicants before registration?
                                             Page 383                                               Page 385
     1   as one who voluntarily applies to become a       1            MR. FULLER: Objection and the
     2   registrant must submit an application and        2       same Touhy reminder.
     3   undergo a preregistration investigation. The     3            THE WITNESS: On advice of
     4   preregistration investigation involves a         4       counsel, I'm not going to answer that
     5   thorough on-site inspection of the               5       question.
     6   registrant's facilities as well as extensive     6   BY MR. EPPICH:
     7   discussions of the applicable regulations and    7       Q. Now, you're familiar with 21
     8   the security requirements that must be           8   CFR Section 1301.74(a), correct?
     9   followed.                                        9       A. Yes, sir.
    10             Did I read that correctly?            10       Q. Now, Section 1301.74(a)
    11       A. Yes, you did.                            11   requires registrants to check the
    12       Q. Now, it's true that each                 12   registration status of its customers before
    13   pharmacy, distributor and manufacturer must     13   distributing a controlled substance to that
    14   register with the DEA in order to lawfully      14   customer, correct?
    15   handle controlled substances in the closed      15       A. Yes, I believe it says to make
    16   system of distribution, correct?                16   a good-faith effort to check.
    17       A. Yes, sir.                                17       Q. And DEA conducts all of this
    18       Q. Each pharmacy, distributor and           18   diligence on applicants so the distributors
    19   manufacturer must submit an application to      19   can rely on the DEA registrations when
    20   DEA?                                            20   complying with 1301.74(a), correct?
    21       A. Yes, sir.                                21       A. I'm sorry, you have to say it
    22       Q. The DEA then conducts an                 22   one more time.
    23   on-site inspection of each applicant's          23       Q. You'd agree with me that DEA
    24   facilities, correct?                            24   conducts diligence on its applicants so that
    25       A. They do not conduct on-site              25   distributors can rely on the DEA
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     1   registrations when complying with 1301.74(a)?    1   Systems Inc.
     2       A. Whether or not they posses a              2            Do you understand that?
     3   valid DEA registration, is that what you're      3       A. Yes, sir, good evening.
     4   asking? Yes, sir.                                4       Q. Good evening.
     5       Q. Let me make sure my question              5            You mentioned earlier when you
     6   was clear. You would agree that DEA conducts     6   were asked to kind of allot the amount of
     7   diligence, reviews applications, looks at the    7   time that you've spent in looking at the
     8   background of these applicants so that           8   various defendants; and you mentioned Henry
     9   distributors can rely on the DEA                 9   Schein earlier.
    10   registrations when complying with 1301.74(a)?   10            Do you remember that?
    11            MR. FULLER: Object to form.            11       A. Yes, sir.
    12       A. So if your question is in                12       Q. And you mentioned that you
    13   regards to pharmacies, they don't conduct       13   hadn't spent as much time looking at them as
    14   those types of investigations, so I'm --        14   the other defendants, correct?
    15   maybe I'm still confused by the question.       15       A. In proportion to the larger
    16   BY MR. EPPICH:                                  16   distributors, yes, sir.
    17       Q. My apologies for that.                   17       Q. And in your report, you make
    18            It's true that distributors are        18   reference to the CT1 cases?
    19   to rely on active DEA registrations when        19       A. Yes, sir.
    20   complying with 1301.74(a)?                      20       Q. And it's the Track 1 cases?
    21       A. Yes, sir. They are required by           21       A. (Nods head.)
    22   regulation to make a good-faith effort to       22       Q. And what do you understand
    23   confirm that the person that they're going to   23   those cases to be?
    24   distribute drugs to has a valid DEA             24       A. Distributions into the two
    25   registration.                                   25   counties, Cuyahoga County and the other
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     1       Q. And that's actually the only              1   county.
     2   requirement under Section 1301.74(a),            2        Q. Summit?
     3   correct?                                         3        A. Yeah, Summit County, thank you.
     4       A. Yes, it is.                               4        Q. And you understand that each of
     5            MR. EPPICH: Mr. Rafalski, I             5   those is a separate lawsuit and Henry Schein
     6       appreciate your time today. It's been        6   is only named to one of those lawsuits?
     7       short, and there are a lot of                7        A. Yes, sir.
     8       questions that McKesson has for you          8        Q. Do you know which one?
     9       that we won't be able to get in the          9        A. I don't recall right off the
    10       brief time I have, so we will reserve       10   top of my head, no, sir.
    11       our right to return and reopen this         11        Q. I'll tell you that's the Summit
    12       deposition if need be. Thank you so         12   County lawsuit.
    13       much. We're off the record.                 13        A. Okay.
    14            THE VIDEOGRAPHER: Going off            14        Q. If you would, you've got your
    15       the record at 5:50 p.m.                     15   report in front of you?
    16            (Recess taken, 5:50 p.m. to            16        A. Yes, sir.
    17       5:58 p.m.)                                  17        Q. If you would flip over to
    18            THE VIDEOGRAPHER: Back on the          18   page 40 of your report.
    19       record at 5:58 p.m.                         19        A. Back to the methodologies.
    20               EXAMINATION                         20   Okay.
    21   BY MR. JONES:                                   21        Q. And down there, Roman numeral
    22       Q. Good afternoon, Mr. Rafalski.            22   III, Identifying Suspicious Orders
    23   My name is Scott Jones. I'm going to ask you    23   Distributed in CT1.
    24   some questions for my clients, Henry            24            Do you see that?
    25   Schein Inc. and Henry Schein Medical            25        A. Yes, sir.
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     1       Q. And then on the next page are             1        A. Yes, sir.
     2   these five methodologies, right?                 2        Q. And Henry Schein isn't even
     3       A. Yes, sir.                                 3   named to the Cuyahoga County lawsuit as far
     4       Q. And listening today, I                    4   as you know, right?
     5   understand that these are your five              5        A. That's correct.
     6   methodologies, correct?                          6        Q. And you've been involved in
     7       A. Yes, sir.                                 7   this case, at least as a consultant or
     8       Q. You came up with these?                   8   otherwise, since 2017?
     9       A. Yes, sir.                                 9        A. Yes, sir.
    10       Q. And then you applied them --             10        Q. Did you ever ask, well, why
    11            MR. FULLER: Form.                      11   isn't Henry Schein named to both lawsuits?
    12   BY MR. JONES:                                   12        A. I did not, sir.
    13       Q. -- to particular defendants,             13        Q. Did anybody come to you and
    14   correct?                                        14   say, hey, do you think we ought to sue Henry
    15       A. I'm sorry. Ask that question             15   Schein in both lawsuits?
    16   again.                                          16        A. No, sir.
    17       Q. Sure.                                    17        Q. And when the opportunity came
    18            In looking at pages 41, 42, 43,        18   to amend the lawsuit, did you speak up and
    19   44, 45 --                                       19   say, hey, we ought to add Henry Schein to
    20       A. Yes, sir.                                20   that lawsuit?
    21       Q. -- and part of 46, there's               21        A. No.
    22   charts here laid out under these five           22            MR. FULLER: Form.
    23   methodologies.                                  23        A. My capacity, I don't make those
    24       A. Yes, sir.                                24   kind of decisions or statements.
    25       Q. And these are your                       25   BY MR. JONES:
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     1   methodologies?                                   1       Q. Okay. But you're the -- you're
     2       A. Yes, sir.                                 2   the guy, you're the expert on what's an
     3       Q. You came up with these?                   3   effective SOM system and what's not an
     4       A. Yes, sir. Well, came up based             4   effective SOM system for the plaintiffs,
     5   on the suspicious order systems in place by      5   right?
     6   these registrants, but, yes, sir.                6       A. I am.
     7       Q. Okay. And then you                        7       Q. And there's not another
     8   incorporated these into your report?             8   individual who's been designated as an expert
     9       A. Yes, sir.                                 9   by the plaintiffs to help you in analyzing
    10       Q. And then you applied them to             10   whether or not a SOM system is compliant or
    11   particular defendants, correct?                 11   noncompliant?
    12       A. I requested they be applied to           12       A. That is a correct statement,
    13   particular defendants, yes, sir.                13   yes, sir.
    14       Q. Okay. So you -- you selected             14       Q. Okay. And sitting here today,
    15   which defendants are named in each of these     15   you don't know the number of suspicious
    16   tables then?                                    16   orders that Henry Schein has distributed into
    17            MR. FULLER: Object to form.            17   Summit County?
    18       A. Yes.                                     18       A. If you're asking do I have a
    19   BY MR. JONES:                                   19   specific number of orders, I do not.
    20       Q. Okay. And in none of those               20       Q. Okay. In fact, you don't know
    21   tables is Henry Schein mentioned, right?        21   if any suspicious orders have been
    22       A. That's correct.                          22   distributed by Henry Schein into Summit
    23       Q. In fact, in each of these                23   County, do you?
    24   methodologies, it's broken out by Cuyahoga      24       A. I don't state that in my
    25   County and Summit County, correct?              25   report, no, sir.
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      1       Q. Okay. And similarly, you don't            1   will pend for review, closed quote.
      2   know what, if any, orders that Henry Schein      2       A. Yes.
      3   distributed into Summit County were diverted?    3       Q. And do you have an
      4            (Document review.)                      4   understanding as to what "pend" means?
      5       A. I do not have knowledge of any            5       A. Yes, be held or stop.
      6   drugs that were diverted.                        6       Q. Okay. Is that like being
      7   BY MR. JONES:                                    7   blocked?
      8       Q. As part of your work in this              8       A. Yes, sir, that could be another
      9   case, you reviewed Henry Schein's standard       9   term.
     10   operating procedures?                           10       Q. Okay. Which is something that
     11       A. Yes, sir.                                11   you talked about earlier when being
     12       Q. Or SOPs?                                 12   questioned by McKesson's lawyer?
     13       A. Yes, sir.                                13       A. I think I've discussed it all
     14       Q. You also reviewed Henry Schein           14   day long, but yes, also with McKesson.
     15   witness deposition testimony?                   15       Q. I think you have.
     16       A. I'm just checking. I don't               16           And if an order is blocked or
     17   have a recollection of that.                    17   pend or held, it's not being diverted, is it?
     18            (Document review.)                     18       A. That's correct.
     19       A. Yes, sir, I believe I did.               19       Q. And there you cite -- it's
     20   BY MR. JONES:                                   20   footnote 642.
     21       Q. Do you recall whose?                     21           Do you see that?
     22       A. Abreu.                                   22       A. Yes, sir.
     23       Q. Is that a man or a woman, do             23       Q. Do you know what you're
     24   you know?                                       24   referencing there?
     25       A. I don't recall. I remember the           25       A. I have to get the document.
                                               Page 395                                                Page 397
      1   name.                                            1       Q. Well, I will tell you that
      2       Q. Okay. And do you know what                2   you're referencing a standard operating
      3   Abreu's position was within Henry Schein?        3   procedure for Henry Schein. Do you remember
      4       A. I don't recall.                           4   the date?
      5       Q. Do you remember -- do you                 5       A. No, I'd like to get the
      6   remember anything from reading that witness'     6   document.
      7   deposition?                                      7       Q. Sure. If you'd like to take a
      8       A. I remember the name and looking           8   look at it, that's fine.
      9   at some of the -- you know, re-reviewing some    9            (Document review.)
     10   of the cites here in the deposition.            10       A. 404228 or 4226, I'm sorry?
     11       Q. Okay.                                    11   BY MR. JONES:
     12       A. But I don't have any direct              12       Q. 4228.
     13   recollection without getting out the            13       A. I have 4226. I do not have
     14   deposition and reviewing it.                    14   that document. I'll take a look one more
     15       Q. All right. If you would, would           15   time.
     16   you flip over to page 137 of your report, and   16       Q. I'll tell you what. I'll just
     17   if you look down, the last full paragraph       17   tear mine out and we'll use it as an exhibit,
     18   starting with Orders.                           18   if you don't mind.
     19            Do you see that?                       19            (Whereupon, Deposition Exhibit
     20       A. Yes, sir.                                20       Rafalski-17, Henry Schein SOP,
     21       Q. And there -- and you wrote               21       HSI-MDL-00404226 - HSI-MDL-00404228,
     22   this, correct?                                  22       was marked for identification.)
     23       A. Yes, sir.                                23   BY MR. JONES:
     24       Q. And there you wrote: Orders              24       Q. All right. I'm going to mark
     25   that are, quote, identified as suspicious       25   as Exhibit 17 kind of a ratty copy --

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      1       A. That's okay.                              1   ship, right?
      2       Q. -- of the document that we've             2        A. Yes, sir, maybe I misunderstood
      3   been talking about. Why don't you take a         3   the question. I'm sorry.
      4   look at that, and just so the record is          4        Q. I think you did. I think you
      5   clear, we're looking at page 137 of your         5   did.
      6   report in connection with the statement that     6            When Henry Schein sends their
      7   you write: Orders that are, quote,               7   pended order reports to the DEA on a monthly
      8   identified as suspicious will pend for           8   basis, those orders are pended, correct?
      9   review, closed quote.                            9        A. Held orders?
     10            And footnote 642, which                10        Q. Yes.
     11   references what I've marked as Exhibit 17.      11        A. Yes, sir.
     12   Does that comport with your understanding?      12        Q. So they're not being shipped,
     13       A. Yes, sir.                                13   are they, pending review?
     14       Q. And can you tell us what that            14        A. That would be a correct
     15   is?                                             15   assumption of this -- that statement, yes,
     16       A. What this is?                            16   sir.
     17       Q. Yeah.                                    17        Q. Okay. And do you know how long
     18       A. The title is Henry Schein Inc.           18   Henry Schein provided the monthly pended
     19   Verifications, and it says Procedures For       19   reports to DEA?
     20   Controlled Drug Orders. The date is             20            (Document review.)
     21   February 5th, 1998, document number             21   BY MR. JONES:
     22   RB-Verification.                                22        Q. If you don't mind, let me help
     23       Q. Okay.                                    23   you out just to kind of move things along.
     24       A. Approved by and there's a                24        A. Sure.
     25   signature.                                      25        Q. If I represented to you that
                                               Page 399                                             Page 401
      1        Q. Okay. But that's a 1998                  1   Henry Schein provided monthly pended reports
      2   standard operating procedure, correct?           2   to DEA from the mid to late 1990s up until
      3        A. Yes, sir.                                3   April 2015, sitting here today, do you have
      4        Q. And that's what you refer to as          4   any reason to disagree with that?
      5   part of Henry Schein's practice of pending       5       A. I would have no reason to
      6   orders that are deemed -- that are identified    6   accept it or disagree with it, sir.
      7   as suspicious, correct?                          7       Q. Okay. And they stopped in
      8        A. Yes, sir.                                8   April of 2015. Do you know why?
      9        Q. Okay. And your understanding             9       A. No, sir.
     10   in looking through Henry Schein's policies      10       Q. Would it surprise you to know
     11   and procedures and reviewing the deposition     11   that the reason why they stopped is because
     12   testimony is that Henry Schein would also       12   the DEA told them to stop sending them the
     13   provide monthly reports to DEA that             13   pended reports?
     14   identified all of the orders pended.            14       A. That would not -- if your
     15            Do you remember that?                  15   question is would that surprise me --
     16        A. Yes, sir.                               16       Q. Right.
     17        Q. And you're critical of that             17       A. -- it would not because if it
     18   because that's not done as promptly as you      18   was a communication to the DEA that was not a
     19   think it should?                                19   suspicious order and it was a held order, I
     20        A. That would be one of my                 20   would -- I would believe that the DEA would
     21   criticisms, that those orders are provided at   21   want a report of suspicious orders.
     22   a time that's after the shipment.               22       Q. Okay. Do you know whether or
     23        Q. No, let's back up a little bit.         23   not as part of the pended order reports that
     24            We just got through talking            24   were delivered monthly also included a list
     25   about how if an order is pended, it doesn't     25   of those orders deemed suspicious following

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      1   Henry Schein's investigation?                    1        A. I would have no reason not to
      2       A. Let me see if I state that in             2   believe your statement that that's what he
      3   my report. I don't have independent              3   said.
      4   recollection of that.                            4        Q. Do you know if DEA has ever
      5       Q. So you don't know one way or              5   expressed any criticisms about Henry Schein's
      6   the other?                                       6   suspicious order monitoring system?
      7       A. No, I'm not saying that.                  7        A. I'm not aware of any
      8       Q. Okay.                                     8   communication from the DEA to Henry Schein in
      9       A. I'm just saying I don't have a            9   regards to that topic.
     10   direct recollection when you state it that      10        Q. Mr. Rafalski, can reasonable
     11   way.                                            11   minds disagree as to whether or not an order
     12       Q. How is that different than what          12   is suspicious?
     13   I asked? Let me back up then.                   13        A. I think there's always the
     14            Sitting here today, do you know        14   potential for a disagreement of -- if you're
     15   one way or the other whether or not Henry       15   talking about designing a system and what's
     16   Schein provided monthly suspicious order        16   suspicious. I think it's the subsequent due
     17   reports along with the pended order reports?    17   diligence that confirms or not the accuracy
     18       A. The statement I make in my               18   of whether or not an order is suspicious.
     19   report is for the time period of 2009 to        19            So just the nature of an
     20   2018, that there were no suspicious orders      20   agreement or disagreement on what defines a
     21   reported in the CT1 jurisdiction.               21   suspicious order, you mean the definition of
     22       Q. Well, I know -- I --                     22   it or what it is, I guess?
     23       A. I --                                     23        Q. Can reasonable minds disagree
     24       Q. Mr. Rafalski, I get that.                24   as to whether or not a particular order is
     25       A. Okay.                                    25   suspicious?
                                              Page 403                                              Page 405
      1       Q. I mean, but that's specific to            1       A. I think, yes, I would answer
      2   Summit County, isn't it?                         2   yes to that question.
      3       A. Yes, sir.                                 3            MR. JONES: All right. No
      4       Q. That doesn't pertain to Henry             4       further questions. I'll pass the
      5   Schein and how they do business elsewhere,       5       witness. Thank you.
      6   does it?                                         6            THE VIDEOGRAPHER: Going off
      7       A. It does not.                              7       the record at 6:16 p.m.
      8       Q. And you're familiar with Craig            8            (Proceedings recessed at
      9   McCann's characterization of Henry Schein's      9       6:16 p.m.)
     10   business in Summit County, are you not?         10                --o0o--
     11       A. No, I'm not sure what statement          11
     12   you're making there.                            12
     13       Q. Okay. Are you familiar with --           13
     14   do you know that he gave a deposition last      14
     15   week?                                           15
     16       A. I -- he did give a deposition.           16
     17       Q. And you probably haven't had a           17
     18   chance to review the testimony yet, have you?   18
     19       A. I have not.                              19
     20       Q. Have you had a chance to talk            20
     21   to him about it?                                21
     22       A. No, sir.                                 22
     23       Q. Would it surprise you to know            23
     24   that he characterized Henry Schein's dealings   24
     25   with Summit County as de minimis?               25


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      1               CERTIFICATE                            1             ERRATA
      2           I, MICHAEL E. MILLER, Fellow of            2   PAGE LINE CHANGE
          the Academy of Professional Reporters,
      3   Registered Diplomate Reporter, Certified           3   ____ ____ _________________________________
          Realtime Reporter, Certified Court Reporter
      4   and Notary Public, do hereby certify that          4      REASON: _______________________________
          prior to the commencement of the examination,      5   ____ ____ _________________________________
      5   JAMES E. RAFALSKI was duly sworn by me to
          testify to the truth, the whole truth and          6      REASON: _______________________________
      6   nothing but the truth.
      7           I DO FURTHER CERTIFY that the              7   ____ ____ _________________________________
          foregoing is a verbatim transcript of the          8      REASON: _______________________________
      8   testimony as taken stenographically by and
          before me at the time, place and on the date       9   ____ ____ _________________________________
      9   hereinbefore set forth, to the best of my         10      REASON: _______________________________
          ability.
     10                                                     11   ____ ____ _________________________________
                  I DO FURTHER CERTIFY that pursuant
     11   to FRCP Rule 30, signature of the witness was     12      REASON: _______________________________
          not requested by the witness or other party       13   ____ ____ _________________________________
     12   before the conclusion of the deposition.
     13           I DO FURTHER CERTIFY that I am            14      REASON: _______________________________
          neither a relative nor employee nor attorney
     14   nor counsel of any of the parties to this         15   ____ ____ _________________________________
          action, and that I am neither a relative nor      16      REASON: _______________________________
     15   employee of such attorney or counsel, and
          that I am not financially interested in the       17   ____ ____ _________________________________
     16   action.
     17                                                     18      REASON: _______________________________
     18   __________________________________                19   ____ ____ _________________________________
          MICHAEL E. MILLER, FAPR, RDR, CRR
     19   Fellow of the Academy of Professional Reporters   20      REASON: _______________________________
          NCRA Registered Diplomate Reporter
     20   NCRA Certified Realtime Reporter                  21   ____ ____ _________________________________
          Certified Court Reporter                          22      REASON: _______________________________
     21
          Notary Public                                     23   ____ ____ _________________________________
     22   My Commission Expires: 7/9/2020                   24      REASON: _______________________________
     23   Dated: May 15, 2019
     24                                                     25
     25

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      1          INSTRUCTIONS TO WITNESS                     1        ACKNOWLEDGMENT OF DEPONENT
      2                                                      2
                                                             3
      3           Please read your deposition over           4         I, JAMES E. RAFALSKI, do hereby
      4   carefully and make any necessary corrections.        certify that I have read the foregoing pages
      5   You should state the reason in the                 5 and that the same is a correct transcription
      6   appropriate space on the errata sheet for any        of the answers given by me to the questions
      7                                                      6 therein propounded, except for the
          corrections that are made.
      8                                                        corrections or changes in form or substance,
                  After doing so, please sign the            7 if any, noted in the attached
      9   errata sheet and date it.                            Errata Sheet.
     10           You are signing same subject to            8
     11   the changes you have noted on the errata           9
     12                                                     10
          sheet, which will be attached to your
                                                            11
     13   deposition.                                       12   ___________________________________________
     14           It is imperative that you return                JAMES E. RAFALSKI           DATE
     15   the original errata sheet to the deposing         13
     16   attorney within thirty (30) days of receipt       14
     17   of the deposition transcript by you. If you       15   Subscribed and sworn to before me this
     18
                                                            16   _______ day of _______________, 20 _____.
          fail to do so, the deposition transcript may      17   My commission expires: _______________
     19   be deemed to be accurate and may be used in       18
     20   court.                                            19   _______________________________
     21                                                     20   Notary Public
     22                                                     21
                                                            22
     23
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     25                                                     25

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